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      STM Group, Inc., Emil Youssefzadeh and Umar Javed
  9
 10                               UNITED STATES DISTRICT COURT
 11                             CENTRAL DISTRICT OF CALIFORNIA
 12   STM ATLANTIC N.V., a Dutch             Case No. 2:18-cv-01269-JLS-JCG
      company; STM GROUP, INC., a
 13   Delaware corporation;
      EMIL YOUSSEFZADEH, an                  NOTICE OF MOTION AND MOTION
 14   individual; and UMAR JAVED, an         FOR LEAVE TO FILE [PROPOSED]
      individual,                            SECOND AMENDED COMPLAINT;
 15
                                             [PROPOSED SECOND AMENDED
                        Plaintiffs,          COMPLAINT]
 16
                  vs.
 17                                          [Filed concurrently with: (1) Declaration of
      DONG YIN DEVELOPMENT                   Jerome H. Friedberg and (2) [Proposed]
 18   (HOLDINGS) LIMITED, a Hong             Order]
      Kong unlimited company; CHINA
 19   ORIENT ASSET MANAGEMENT                Assigned to Hon. Josephine L. Staton
      (INTERNATIONAL) HOLDING
 20   LIMITED, a Hong Kong limited
      company; and LUDWIG CHANG,             HEARING
 21   an individual,                         Date:   September 7, 2018
                                             Time:   2:30 p.m.
 22                     Defendants.          Place:  Courtroom 10A
 23
                                             Complaint Filed:        Feb. 15, 2018
 24                                          FAC Filed:              Feb. 25, 2018
 25
 26
 27
 28

                   PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE
                            [PROPOSED] SECOND AMENDED COMPLAINT
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  1               TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
  2               PLEASE TAKE NOTICE that on September 7, 2018, at 2:30 p.m. or as soon
  3   thereafter as the matter may be heard, before the Honorable Josephine L. Staton, in
  4   Courtroom 10A of the Federal District Court for the Central District of California,
  5   located at 411 West Fourth Street, Santa Ana, California 92701, Plaintiffs
  6   STM Atlantic N.V., STM Group, Inc., Emil Youssefzadeh and Umar Javed, by and
  7   through their counsel of record, will and hereby do move this Court for leave to file
  8   their [Proposed] Second Amended Complaint (the “SAC”), a copy of which is attached
  9   to this Motion as Exhibit A.
 10               The SAC makes the following changes to the operative First Amended
 11   Complaint (“FAC”):
 12                     It removes one cause of action, the Eleventh Cause of Action for
 13                      Constructive Trust;
 14                     It adds the following additional four defendants: Milbank, Tweed,
 15                      Hadley & McCloy LLP, Shiwen Fan, Yuen Cheung (“Tony”) Wong and
 16                      Shiyue (“Bonnie”) Liu, all of whom are referenced but were not named as
 17                      Defendants in the original Complaint and the FAC;
 18                     It adds allegations regarding the contents of the Milbank Memo and the
 19                      Chen Memo; and
 20                     It adds, deletes, modifies and reorganizes specific allegations as a result of
 21                      Plaintiffs’ continuing investigation and analysis of this matter, and to
 22                      address issues raised in the meet and confer discussions between counsel
 23                      for Plaintiffs, COAMI and Chang.
 24               This Motion is made pursuant to Rule 15(a) of the Federal Rules of Civil
 25   Procedure on the following grounds: (1) the existing Defendants will not be prejudiced
 26   if leave to file the SAC is granted as none have answered or otherwise filed a
 27   responsive pleading to the initial Complaint or the SAC, discovery has not begun and
 28   no scheduling order has been issued. Furthermore, although the SAC includes
                                                 -2-
                      PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE
                                     FOURTH AMENDED COMPLAINT
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  1   additional allegations pertaining the Defendants, no new causes of action have been
  2   alleged against them, and the gravamen of the existing causes of action is the same;
  3   (2) the proposed amendments have been made in good faith; (3) Plaintiffs have not
  4   unduly delayed seeking leave to amend; (4) Plaintiffs have not repeatedly failed to cure
  5   a deficiency in the complaint or any of the causes of action at issue; and (5) granting
  6   leave to amend would not be a futile act.
  7               This motion is made following the conference of counsel pursuant to Local
  8   Rule 7-3, which took place on June 21, 2018. See Declaration of Jerome H. Friedberg,
  9   filed concurrently herewith. During the conference, Plaintiffs explained the nature of
 10   the proposed amendments, including that no new causes of action were being added
 11   against the current Defendants. Defendants indicated that, even though no new causes
 12   of action were being asserted against them, they were unable to stipulate to the filing of
 13   the SAC unless they had sufficient time to review the final draft of the proposed SAC
 14   and discuss it with their clients. Plaintiffs sent Defendants a draft SAC on
 15   July 5, 2018, but could not provide a final SAC seven or more days prior to the filing
 16   of this Motion, which was the deadline for meeting and conferring pursuant to the
 17   Local Rules. As the proposed SAC is now in final, the parties expect to conduct a
 18   further meet and confer after the filing of this Motion. Declaration of
 19   Jerome H. Friedberg, filed concurrently herewith (“Friedberg Dec.”), ¶¶ 4-5.
 20   //
 21   //
 22   //
 23   //
 24   //
 25   //
 26   //
 27   //
 28   //
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                                  FOURTH AMENDED COMPLAINT
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  1               This Motion is based upon this Notice of Motion; the accompanying
  2   Memorandum of Points and Authorities; the Declaration of Jerome H. Friedberg; and
  3   such further argument, evidence and authorities as may be presented at the hearing on
  4   this Motion.
  5   Dated: July 9, 2018                       ISAACS | FRIEDBERG LLP
  6
                                                /s/ Jerome H. Friedberg
  7                                             Jeffrey B. Isaacs, Esq.
  8                                             Jerome H. Friedberg, Esq.
                                                Paige Shen, Esq.
  9                                             Robert Gookin, Esq.
 10                                             Attorneys for Plaintiffs STM Atlantic N.V., STM
                                                Group, Inc., Emil Youssefzadeh and
 11                                             Umar Javed
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                   PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE
                                  FOURTH AMENDED COMPLAINT
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  1                       MEMORANDUM OF POINTS AND AUTHORITIES
  2               Plaintiffs STM Atlantic N.V. (“STM Atlantic”), STM Group, Inc.
  3   (“STM Group”), Emil Youssefzadeh (“Youssefzadeh”) and Umar Javed (“Javed”)
  4   (collectively, “Plaintiffs”) seek leave to file the [Proposed] Second Amended
  5   Complaint (the “SAC”), which is attached hereto as Exhibit A.
  6                                       I.   INTRODUCTION.
  7               Plaintiffs are seeking leave to file a Second Amended Complaint which names
  8   additional defendants, discusses the contents of memoranda which the Court has
  9   recently found were not privileged, deletes a cause of action, and makes other changes.
 10   The Second Amended Complaint does not add any new causes of action against the
 11   current defendants and the gravamen of the existing causes of action asserted against
 12   them is the same. Furthermore, defendants have not yet responded to the operative
 13   Complaint, so they will not be prejudiced by the proposed amendment. In addition,
 14   none of the other factors that, in an appropriate case, might justify denying leave to
 15   amend are present here: Plaintiffs are not acting in bad faith, they have not delayed
 16   seeking leave to amend, they have not repeatedly (or ever) failed to cure deficiencies in
 17   their Complaint, and granting leave to amend will not be futile. Consistent with the
 18   federal policy of granting leave to amend with great liberality, Plaintiffs should be
 19   granted leave to file the SAC.
 20                                 II.    PROCEDURAL HISTORY.
 21               Plaintiffs filed this action against defendants Dong Yin Development (Holdings)
 22   Limited (“Dong Yin”), China Orient Asset Management (International) Holding
 23   Limited (“COAMI”), and Ludwig Chang (“Chang”) (collectively, “Defendants”), on
 24   February 15, 2018. The initial Complaint (Dkt. No. 1) asserted causes of action for:
 25   civil conspiracy; fraud; civil theft in violation of California Penal Code section 496;
 26   Civil RICO in violation of 18 U.S.C. §§ 1962(b) and 1964(c); RICO Conspiracy in
 27   violation of 18 U.S.C. §§ 1962(d) and 1964(c); interference with prospective business
 28   advantage; unfair business practices under California Business & Professions Code
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                   PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE
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  1   § 17200; unjust enrichment; and imposition of constructive trust.
  2               In the Complaint, Plaintiffs did not include allegations regarding the contents of
  3   an April 25, 2017 memorandum prepared by Milbank, Tweed, Hadley & McCloy LLP
  4   (the “Milbank Memo”) or the June 14, 2017 memorandum prepared by General
  5   Counsel for Global-IP Cayman (“GIP-Cayman”) and Global-IP USA (“GIP-USA”)
  6   (collectively, (“GIP”), Chris Chen (the “Chen Memo”). Plaintiffs did not include such
  7   allegations out of an abundance of caution, given the contention by GIP (as intervening
  8   non-parties) that the Milbank and Chen Memos were privileged.
  9               Plaintiffs filed their First Amended Complaint (“FAC”) (Dkt. No. 14) on
 10   February 25, 2018. The FAC does not add any causes of action or any new defendants.
 11   Rather, it merely added factual allegations related to the previously asserted causes of
 12   action. As in the Complaint, Plaintiffs did not include specific allegations regarding
 13   the contents of the Milbank Memo or the Chen Memo.
 14               On March 19, 2018, GIP filed an ex parte application to seal the Complaint and
 15   FAC on the grounds that the Milbank Memo and the Chen Memo were subject to the
 16   attorney-client privilege and/or protected by the attorney work product doctrine.
 17   (Dkt. No. 16.) On March, 20, 2018, the Court granted GIP’s ex parte application in
 18   part, provisionally sealing the Complaint and the FAC pending a negotiated resolution
 19   by the parties, or further briefing and argument. (Dkt. No. 20.)
 20               On April 6, 2018, Plaintiffs filed their “Motion for Judicial Determination that
 21   the Milbank Memo, Chen Memo and Related Communications Are Not Subject to the
 22   Attorney-Client Privilege or Work Product Doctrine” (“Motion for Judicial
 23   Determination”). (Dkt. No. 29.)
 24               On May 10, 2018, counsel for Plaintiffs, COAMI and Chang engaged in a meet
 25   and confer regarding those defendants’ anticipated motions to dismiss the FAC.
 26   During the meet and confer, counsel for Plaintiffs indicated that Plaintiffs were
 27   contemplating filing an SAC. (Dkt. No. 51.)
 28               On May 14, 2018, the parties filed a Stipulation to extend the time in which
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                   PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE
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  1   Defendants would respond to the FAC. The Stipulation stated that Plaintiffs were
  2   contemplating filing an SAC and that the parties believed it would be beneficial if they
  3   had the benefit of the Court’s ruling on the Motion for Judicial Determination prior to
  4   the filing of the contemplated SAC. (Dkt. No. 51.)
  5               On May 18, 2018, the Court entered a modified Order on the Stipulation, which
  6   granted Defendants an extension time to respond to the FAC. The Order also stated
  7   that Plaintiffs were contemplating filing an SAC and that the pending Motion for
  8   Judicial Determination may affect the anticipated SAC, as well as Defendants’
  9   contemplated motions to dismiss. (Dkt. No. 52.)
 10               On June 8, 2018, this Court granted in part Plaintiffs’ Motion for Judicial
 11   Determination, finding that the Milbank Memo and the Chen Memo are not privileged
 12   and ordering the record in this action, which included unredacted copies of those
 13   memos, to be unsealed. (Dkt. No. 56.)
 14               On June 14, 2018, the parties filed a Stipulation further extending the date by
 15   which Defendants had to respond to the FAC. The also Stipulation stated that
 16   Plaintiffs intended to file a Second Amended Complaint, and set July 9 2018 as the
 17   deadline for filing a stipulation or motion for leave to file the SAC. (Dkt. No. 62.) On
 18   June 26, 2018, the Court entered an order on the Stipulation. (Dkt. No. 64.)
 19               As a result, to date, none of the Defendants have answered or otherwise filed a
 20   responsive pleading. Further, no discovery has been served by any party as the Court
 21   has not issued a scheduling order or set a trial date. (Friedberg Dec., ¶ 6.)
 22                   III.     THE [PROPOSED] SECOND AMENDED COMPLAINT.
 23               The SAC does not add any causes of action against the defendants named in the
 24   FAC. Rather, the SAC:
 25                         Removes one cause of action, the Eleventh Cause of Action for
 26                          Constructive Trust;
 27                         Adds the following additional four defendants: Milbank, Tweed,
 28                          Hadley & McCloy LLP, Shiwen Fan, Yuen Cheung (“Tony”) Wong and
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                      PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE
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  1                      Shiyue (“Bonnie”) Liu, all of whom are referenced but were not named as
  2                      Defendants in the original Complaint and the FAC;
  3                     Adds allegations regarding the contents of the Milbank Memo and the
  4                      Chen Memo; and
  5                     Adds, deletes, modifies and reorganizes specific allegations as a result of
  6                      Plaintiffs’ continuing investigation and analysis of this matter, and to
  7                      address issues raised in the meet and confer discussions between counsel
  8                      for Plaintiffs, COAMI and Chang.
  9                                          IV.    ARGUMENT.
 10   A.          The Standard for Leave to Amend at this Early Stage of the Proceeding is
 11               Exceedingly Liberal.
 12               Federal Rule of Civil Procedure 15(a)(2) provides that after a party has amended
 13   its pleading once as a matter of course, or its time to do so has expired, “a party may
 14   amend its pleading only with the opposing party’s written consent or the court’s leave.
 15   The court should freely give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2)
 16   (emphasis added).
 17               The Supreme Court has emphasized that “this mandate is to be heeded,” such
 18   that “[i]f the underlying facts or circumstances relied upon by a plaintiff may be a
 19   proper subject of relief, he ought to be afforded an opportunity to test his claim on the
 20   merits.” Foman v. Davis, 371 U.S. 178, 182 (1962). The Ninth Circuit has likewise
 21   stated that the policy favoring leave to amend “is to be applied with extreme
 22   liberality,” Owens v. Kaiser Foundation Health Plan, Inc., 244 F.3d 708, 712
 23   (9th Cir. 2001), and that “[t]he standard for granting leave to amend is generous,”
 24   Balistreri v. Pacifica Police Dept., 901 F.2d 696, 701 (9th Cir. 1990).
 25               In determining whether to grant leave to amend, courts consider five factors
 26   (known as the “Foman factors”): (1) prejudice to the opposing party; (2) the presence
 27   of bad faith; (3) undue delay; (4) whether the plaintiff has previously amended the
 28   complaint; and (5) the futility of amendment. See U.S. v. Corinthian Colleges, 655
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  1   F.3d 984, 995-95 (9th Cir. 2011) (citing Foman, 371 U.S. at 182). While the
  2   determination of whether to grant leave to amend is committed to the sound discretion
  3   of the district court, courts may decline to grant leave to amend “only if there is strong
  4   evidence” of one or more of the Foman factors. Sonoma County Ass'n of Retired
  5   Employees v. Sonoma County, 708 F.3d 1109, 1117 (9th Cir. 2013); see M.H. v.
  6   County of Alameda, 2012 WL 5835732, *3 (N.D. Cal. Nov. 16, 2012) (granting leave
  7   to amend to add new allegations and observing that “[c]ourts routinely allow parties to
  8   amend their pleadings”).
  9   B.          Defendants Will Not Be Prejudiced By the Proposed Amendments.
 10               Of the five Foman factors, “the consideration of prejudice to the opposing party
 11   carries the greatest weight.” Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048,
 12   1052 (9th Cir. 2003). “The party opposing amendment bears the burden of showing
 13   prejudice.” DCD Programs, Ltd. v. Leighton, 833 F.2d 183, 187 (9th Cir. 1987).
 14   Furthermore, the opposing party must demonstrate that the prejudice is “substantial,”
 15   such that it will alter “the nature of the litigation” or require defendants to undertake,
 16   “at a late hour, an entirely new course or defense.” Morongo Band of Mission
 17   Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990).
 18               In this case, Defendants will not suffer any prejudice if leave to amend is
 19   granted. None of the Defendants have answered or otherwise filed a response to the
 20   Complaint or the FAC, discovery has not yet begun and the scheduling order has not
 21   yet been issued. Courts have routinely found a lack of substantial prejudice under far
 22   more compelling circumstances. See, e.g., Scott v. Family Dollar Stores, Inc., 733
 23   F.3d 105, 119 (4th Cir. 2013) (defendant not unduly prejudiced by amendment even
 24   though plaintiff had waited three years to seek leave to amend, where discovery was
 25   still open and case was “many steps removed from trial”); Dixon v. Magna-RX, Inc.,
 26   2016 WL1397584 (C.D. Cal., Mar. 31, 2016) (granting motion for leave to file second
 27   amended complaint more than a year and a half after filing of initial complaint and five
 28   months before trial upon finding that defendant was not unduly prejudiced, because
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1    while the amended complaint added new parties, it did not add any new causes of
2    action against existing defendants and did not “alter the nature of the litigation”);
3    Miramontes v. Mills, 2015 WL13609449 (C.D. Cal. May, 18, 2015) (granting leave to
4    amend to add two new causes of action and finding defendant not unduly prejudiced
5    because fact discovery cut-off date was still nearly three months away and claims
6    plaintiff sought to add were “based on the factual allegations that underlie the fraud
7    claims asserted in the original complaint”).
8                Accordingly, the first and most important Foman factor militating against
9    granting leave to amend is entirely absent from this case.
10   C.          The Remaining Foman Factors Also Support Granting Leave to Amend.
11               Absent prejudice, “there exists a presumption under Rule 15(a) in favor of
12   granting leave to amend,” unless there is a “strong showing” that the four remaining
13   Foman factors make leave to amend inappropriate. Eminence Capital, 316 F.3d at
14   1052 (emphasis in original). In this case, the opposite is true: an analysis of the
15   remaining Foman factors further demonstrates that leave to amend should be granted.
16               1.    Plaintiffs’ Motion Is Not Made in “Bad Faith.”
17               Plaintiffs are not requesting leave to amend in bad faith or for dilatory reasons.
18   As noted, one of the principal reasons for the proposed SAC is that the parties were
19   awaiting the Court’s ruling on the Motion for Judicial Determination, both with respect
20   to the privileged status of the Milbank and Chen Memos, and the sealing or unsealing
21   of the court file. Moreover, the proposed amendment will not delay this action, as
22   discovery has not begun in any event, and is not being sought for any improper
23   purpose. (Friedberg Dec., ¶ 8.)
24               2.    Plaintiffs Did Not “Unduly Delay” Seeking Leave to Amend.
25               There has been no undue delay here. This action was filed only a few months
26   ago, in February 2018. The Defendants have not had to respond to the Complaint or
27   the FAC, no discovery has been conducted, the scheduling order has not yet issued and
28   no trial date has been set.
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1                Furthermore, the Court issued its Order regarding the Motion for Judicial
2    Determination just a month ago, on June 8, 2018. Prior to that, it would not have been
3    appropriate for Plaintiffs to allege the contents of the Milbank and Chen Memos in a
4    complaint given GIP’s assertion of privilege.
5                Far longer delays than any which apply here have been found not to constitute
6    an “undue delay” justifying denial of leave to amend. See Morongo Band of Mission
7    Indians, 893 F.2d at 1079 (delay of nearly two years after filing original complaint
8    before seeking leave to file amended complaint was “not alone enough to support
9    denial” of motion for leave to amend); Scott, 733 F.3d at 119 (granting leave to amend
10   even though plaintiff waited three years to file amended complaint); cf. Jackson v.
11   Bank of Hawaii, 902 F.2d 1385, 1388 (9th Cir. 1990) (undue delay where plaintiffs
12   informed the court of intention to file an amended complaint in March 1987, but
13   delayed offering amended complaint until May 1988).
14               Moreover, even a finding of delay would not by itself be grounds for denying
15   Plaintiffs’ leave to amend. See Bowles v. Reade, 198 F.3d 752, 758 (9th Cir. 1999)
16   (undue delay factor “by itself . . . is insufficient to justify denying a motion to amend”).
17               3.    Plaintiffs Have Not “Repeatedly Failed to Cure Deficiencies” Through
18                     Prior Amendments.
19               Under the next Foman factor, courts assess whether a party has “repeated[ly]
20   fail[ed] to cure deficiencies by previous amendments.” Moore v. Kayport Package
21   Express, Inc., 885 F.2d 531, 538 (9th Cir. 1989) (citing Foman, 371 U.S. at 182).
22               This Foman factor does not apply; the Court has had no occasion to consider the
23   sufficiency of either the Complaint or the FAC previously. (Friedberg Dec., ¶ 6.)
24               4.    Amendment Is Not Futile.
25               Finally, the proposed amendment is not futile. Before discovery is complete, a
26   proposed amendment is “futile” only if it is “clear . . . that the complaint could not be
27   saved by any amendment.” Krainski v. State of Nevada ex rel. Bd. of Regents of
28   Nevada System of Higher Ed., 616 F.3d 963, 972 (9th Cir. 2010). Absent clear futility,
                                            - 11 -
                  PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE
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1    challenges to the legal sufficiency of a proposed amendment should be “raised in a
2    motion to dismiss rather than in an opposition to a motion for leave to amend.”
3    SAES Getters S.p.A. v. Aeronex, Inc., 219 F. Supp. 2d 1081, 1086 (S.D. Cal. 2002).
4    Thus, “[d]enial of leave to amend on this ground is rare.” Netbula, LLC v. Distinct
5    Corp., 212 F.R.D. 534, 539 (N.D. Cal. 2003).
6                Here, Plaintiffs are not repleading a cause of action which this Court has found
7    deficient, but rather removing one cause of action, adding four new defendants and
8    pleading additional factual allegations to causes of action which have never been
9    challenged. Furthermore, the parties being added are all major participants in the
10   alleged fraudulent and illegal conduct underlying this action are all referenced in the
11   Complaint and FAC, although not sued in either. Accordingly, there is no basis for
12   denying leave to amend based on futility.
13                                        V.     CONCLUSION.
14               Under Rule 15(a), and given the absence of any of the five Foman factors,
15   Plaintiffs’ respectfully request leave to file their proposed Second Amended
16   Complaint, a copy of which is attached hereto as Exhibit A.
17
18   Dated: July 9, 2018                         Respectfully submitted,
19                                               ISAACS | FRIEDBERG LLP
20
21                                               /s/ Jerome H. Friedberg
                                                 Jeffrey B. Isaacs, Esq.
22
                                                 Jerome H. Friedberg, Esq.
23                                               Paige Shen, Esq.
                                                 Robert Gookin, Esq.
24
                                                 Attorneys for Plaintiffs STM Atlantic N.V.,
25                                               STM Group, Inc., Emil Youssefzadeh and
                                                 Umar Javed
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             Exhibit A
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                                   #:2249


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 7

 8   Attorneys for Plaintiffs STM Atlantic N.V.,
     STM Group, Inc., Emil Youssefzadeh and
 9   Umar Javed
10
                                 UNITED STATES DISTRICT COURT
11
                               CENTRAL DISTRICT OF CALIFORNIA
12

13
     STM ATLANTIC N.V., a Dutch                    Case No. 2:18-cv-01269-JLS-JCG
14   company; STM GROUP, INC., a
     Delaware corporation;
     EMIL YOUSSEFZADEH, an individual;             [PROPOSED] SECOND AMENDED
15                                                 COMPLAINT FOR MONETARY
     and UMAR JAVED, an individual,
                                                   AND OTHER RELIEF FOR:
16
                       Plaintiffs,
17                                                 1)   CIVIL CONSPIRACY;
                 vs.
18                                         2)           FRAUD;
     DONG YIN DEVELOPMENT
19   (HOLDINGS) LIMITED, a Hong Kong       3)           CIVIL THEFT
     unlimited company; CHINA ORIENT                    (CAL. PEN. CODE § 496);
20   ASSET MANAGEMENT
     (INTERNATIONAL) HOLDING               4)           VIOLATION OF RACKETEER
21   LIMITED, a Hong Kong limited company;              INFLUENCED AND CORRUPT
     and LUDWIG CHANG, an individual,                   ORGANIZATIONS ACT
22                                                      (18 U.S.C. §§ 1962(b), 1964(c));
                       Defendants.
23                                                 5)   VIOLATION OF RACKETEER
                                                        INFLUENCED AND CORRUPT
24                                                      ORGANIZATIONS ACT
                                                        (18 U.S.C. §§ 1962(c), 1964(c));
25
                                                   6)   CONSPIRACY TO VIOLATE
26                                                      RACKETEER INFLUENCED
                                                        AND CORRUPT
27                                                      ORGANIZATIONS ACT
                                                        (18 U.S.C. §§ 1962(d), 1964(c));
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 1
                                            7)   INTERFERENCE WITH
 2                                               PROSPECTIVE ECONOMIC
                                                 ADVANTAGE;
 3
                                            8)   VIOLATION OF CALIFORNIA
 4                                               UNFAIR COMPETITION LAW
                                                 (CAL. BUS. & PROF. CODE
 5                                               § 17200); and
 6                                          9)   UNJUST ENRICHMENT.
 7

 8                                          DEMAND FOR JURY TRIAL

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 1               Plaintiffs STM Atlantic N.V. (“STM Atlantic”), STM Group, Inc.
 2   (“STM Group”), Emil Youssefzadeh and Umar Javed (collectively, “Plaintiffs”),
 3   complain in this Second Amended Complaint (“SAC”) against defendants Dong Yin
 4   Development (Holdings) Limited (“DONG YIN”), China Orient Asset Management
 5   (International) Holding Limited (“COAMI”), Ludwig Chang (“CHANG”),
 6   Yuen-Cheung (Tony) Wong (“WONG”), Bonnie Shiyue Liu (“LIU”), Shiwen Fan
 7   (“FAN”) and Milbank, Tweed, Hadley & McCloy LLP (“MILBANK”) (collectively,
 8   “Defendants”), as follows:
 9                               I.    PRELIMINARY STATEMENT.
10               1.    Beginning in 2008, Plaintiffs undertook an ambitious project to develop,
11   launch and operate a state-of-the art communications satellite (the “Satellite”) that
12   would provide High Speed Internet Access (“HSIA”) to under-served parts of Africa
13   (the “Satellite Project” or the “Project”). Plaintiffs spent several years and millions of
14   dollars of their own funds developing the Satellite Project and formed Global-IP
15   Cayman (“GIP-Cayman”) as the entity through which they would bring the Satellite
16   Project to fruition.
17               2.    Satellites typically require several hundred million dollars in financing to
18   design, build, launch and operate. In June 2016, Plaintiffs sold a majority interest in
19   GIP-Cayman to Bronzelink Holdings Ltd. (“Bronzelink”) to obtain the first tranche of
20   funding needed for the Satellite Project. In the guise of providing debt financing to
21   Bronzelink, DONG YIN, through its agents and co-conspirators, fraudulently and
22   wrongfully obtained, and have maintained, control of the Satellite Project.
23               3.    DONG YIN is owned and controlled by an instrumentality and/or agency
24   of the People’s Republic of China (the “PRC”). Through its agents and together with
25   its co-conspirators, DONG YIN agreed, conspired and schemed to obtain control of
26   the Satellite Project from Plaintiffs by various dishonest means, including false and
27   fraudulent representations and promises and the concealment of material facts, in
28   order to: (a) obtain access to confidential and sensitive satellite and launch technology
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 1   and data, subject to U.S. export control laws; and (b) ultimately cause the ownership
 2   of the Satellite to be transferred to a company that it secretly dominates and controls,
 3   in violation of U.S. export control laws that preclude any PRC-affiliated entity from
 4   directly or indirectly owning or controlling a satellite.
 5               4.   Because DONG YIN is owned and controlled by the PRC, and because
 6   the transfer of such technology and data to the PRC or its foreign agents is a violation
 7   of U.S. export control laws (and, if done willfully, a violation of federal criminal law),
 8   DONG YIN could not openly pursue and maintain its control of the Satellite Project.
 9   It therefore sought to conceal and disguise its true relationship to the Satellite Project
10   by engaging in acts of fraud, theft and deception and by curtailing Mr. Youssefzadeh’s
11   and Mr. Javed’s efforts to ensure that the Project was in compliance with U.S. laws
12   and regulations prohibiting the transfer of satellite and launch technology and data to
13   the PRC, eventually forcing Mr. Youssefzadeh and Mr. Javed to resign their positions
14   and cease their involvement with the Project.
15               5.   The persons primarily responsible for the fraudulent and other wrongful
16   conduct described in this SAC include (but are not necessarily limited to):
17                   Defendant DONG YIN, a wholly owned subsidiary of China Orient
18                    Asset Management Corporation (“COAMC”), an agency and
19                    instrumentality of the PRC;
20                   Defendant COAMI, a subsidiary and co-conspirator of DONG YIN with
21                    offices and assets in New York state;
22                   Defendant CHANG, the Executive Director and Co-President of COAMI
23                    and an agent and co-conspirator of DONG YIN at the time of the events
24                    in question;
25                   China Orient Smart Ecotech Investment Group Limited (“COSEIG”), a
26                    British Virgin Islands Company and the original entity to which
27                    DONG YIN proposed to lend funds to invest in the Satellite Project;
28   //
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 1                  Amore Resources Ltd. (“Amore”), a British Virgin Islands company
 2                   wholly owned by DONG YIN, which is, and at all relevant times has
 3                   been, acting as an agent and co-conspirator of DONG YIN;
 4                  Global-IP Cayman (“GIP-Cayman”), a Cayman Islands company with its
 5                   principal place of business in El Segundo, California, that Plaintiffs
 6                   formed for purposes of completing the Satellite Project and eventually
 7                   owning and operating the Satellite;
 8                  Global-IP USA (“GIP-USA”), a Delaware corporation with its principal
 9                   place of business in El Segundo, California, and a wholly owned
10                   subsidiary of GIP-Cayman;
11                  Bronzelink, a British Virgin Islands Company and purportedly
12                   independent investment vehicle, to which DONG YIN lent funds through
13                   Amore to invest in the Satellite Project;
14                  Hoiying Charles Yiu (“Yiu”), a resident of Hong Kong SAR and the
15                   nominal owner of Bronzelink who, at all relevant times answered to and
16                   took direction from DONG YIN;
17                  Defendant FAN, a PRC citizen, attorney for DONG YIN and member of
18                   the Bronzelink and GIP-Cayman Boards of Directors, who is, and at all
19                   relevant times has been, acting as an agent and co-conspirator of
20                   DONG YIN;
21                  Defendant WONG, a resident of Hong Kong SAR and member of the
22                   Bronzelink, GIP-Cayman and GIP-USA Boards of Directors, who is, and
23                   at all relevant times has been, acting as an agent and co-conspirator of
24                   DONG YIN;
25                  Defendant LIU, a member of the Bronzelink, GIP-Cayman and GIP-USA
26                   Boards of Directors and Controller of GIP-Cayman and GIP-USA, who
27                   is, and at all relevant times has been, acting as an agent and
28                   co-conspirator of DONG YIN;
                                             10
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 1                    Defendant MILBANK, a Washington D.C. law firm, which at various
 2                     times relevant to the events in question has represented STM Group,
 3                     DONG YIN, Amore and GIP-Cayman, and has been a co-conspirator of
 4                     DONG YIN; and
 5                    Dara Panahy (“Panahy”), a MILBANK partner responsible for its
 6                     representation of STM Group, DONG YIN, Amore and GIP-Cayman.
 7               6.    Defendants’ fraud and theft, and the substantial losses of money and
 8   property that that conduct has caused Plaintiffs, is described in detail below.
 9                                       II.   THE PARTIES.
10   A.          Plaintiffs.
11               7.    Plaintiff STM Atlantic is a company organized under the laws of the
12   Netherlands, with its principal place of business located in El Segundo, California.
13   Prior to April 2016, STM’s principal place of business was in Irvine, California.
14               8.    Plaintiff STM Group is a Delaware corporation, with its principal place
15   of business in El Segundo, California. STM Group is the parent corporation of
16   plaintiff STM Atlantic.
17               9.    Plaintiff Emil Youssefzadeh is an individual residing in Los Angeles
18   County, California. Mr. Youssefzadeh is the founder of STM Group, and his family
19   trust owns a majority interest in STM Group. He is also one of the founders of
20   GIP-Cayman.
21               10.   Mr. Youssefzadeh holds master degrees in electrical engineering from
22   Stanford University, with a focus on information theory and satellite communications.
23               11.   Mr. Youssefzadeh is a pioneer in the satellite industry. From 1979 to
24   1982, he worked as a satellite systems engineer for Hughes Aircraft, which is now
25   Boeing Satellite Systems International, Inc. (“Boeing”). His responsibilities included
26   research and development programs for advanced satellite communications payloads
27   and system design of commercial satellite programs.
28   //
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 1               12.   In 1982, Mr. Youssefzadeh founded STM Wireless, Inc.
 2   (“STM Wireless”), which was engaged in the manufacturing of satellite ground
 3   terminals. STM Wireless helped launch the first advanced digital cellular network in
 4   Malaysia. From 2003 to the present, he has been Chairman of STM Group, which
 5   acquired the assets of STM Wireless and was engaged in the development of
 6   technology, products and services in the communications satellite sector.
 7               13.   While at STM Wireless and STM Group, Mr. Youssefzadeh was
 8   involved in matters of corporate governance under the laws of Brazil, France, India,
 9   Mexico, Morocco, Nepal, Norway and the United States.
10               14.   Plaintiff Umar Javed is an individual residing in Orange County,
11   California. He holds a master’s degree in business administration, and has over
12   20 years of experience in management and business development in the technology
13   and satellite industry.
14               15.   From 1999 to 2002, Mr. Javed held various positions including
15   commercial manager, sales and marketing director and vice president of sales at
16   STM Wireless. From 2003 to the present, he has served as President of STM Group,
17   leading the business as it made a number of mergers and acquisitions in Europe,
18   the Americas, the Middle East and Latin America. While at STM Group, he headed
19   the creation of start-up companies in Brazil and Spain, offering satellite-based
20   solutions and services to the government, enterprise, mobility and maritime sectors.
21               16.   While at STM Wireless and STM Group, Mr. Javed was involved in
22   matters of corporate governance under the laws of Brazil, the Cayman Islands, Chad,
23   the European Union, Indonesia, the Netherlands, Norway, Spain, the United Arab
24   Emirates and the United States. Mr. Javed was a member of the board of STM
25   subsidiary companies in all these jurisdictions, and worked with counsel in each of
26   those jurisdictions on matters involving compliance with United States,
27   United Nations and local laws. Mr. Javed also worked with management executives
28   in each subsidiary to ensure proper corporate governance and compliance with
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 1   applicable laws and regulations.
 2               17.   From their years of experience in the technology and satellite industry,
 3   Mr. Youssefzadeh and Mr. Javed knew that the export of satellite and launch
 4   technology and data to foreign persons and countries is subject to U.S. export control
 5   laws, including the International Traffic In Arms Regulations (“ITAR”) and the
 6   Export Administration Regulations (“the EAR”). They understood that the
 7   consequences of a violation of ITAR or the EAR are potentially severe and could
 8   result in criminal sanctions. They were also aware that a company with compliance
 9   issues may find it difficult or impossible to contract with American companies that are
10   subject to ITAR and the EAR and truthfully make the certifications required by those
11   companies
12               18.   In 2013, Mr. Youssefzadeh and Mr. Javed founded GIP-Cayman as a
13   corporate entity to own and carry out the Satellite Project. GIP-Cayman is
14   incorporated under the laws of the Grand Caymans, but its principal place of business
15   is in El Segundo, California.
16   B.          Defendants.
17               19.   Defendant DONG YIN is a company organized under the laws of
18   Hong Kong SAR, with its principal place of business in Hong Kong SAR.
19               20.   DONG YIN is a subsidiary of China Orient Asset Management Company
20   (“COAMC”), an agency and/or instrumentality of the PRC.
21               21.   Defendant COAMI is a Hong Kong limited company, organized under
22   the laws of Hong Kong SAR, and a subsidiary of DONG YIN. Its principal place of
23   business is in Hong Kong SAR, but it maintains a United States presence and operates
24   through an office located at 1114 Avenue of the Americas, Suite 3405, New York,
25   New York 10036.
26               22.   DONG YIN is the 100% owner of and controls Wise Leader Assets Ltd.
27   (“Wise Leader”), a company formed in the British Virgin Islands. DONG YIN and
28   Wise Leader each is a 50% owner of, and together control, defendant COAMI, as a
                                                13
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 1   result of which DONG YIN has 100% control over COAMI.
 2               23.   Defendant CHANG was the Executive Director and Co-President of
 3   COAMI until at least on or about August 26, 2016. He was also a Director of
 4   Amore. At all relevant times, CHANG operated from his executive office, located at
 5   1114 Avenue of the Americas, Suite 3405, New York, New York 10036, which is the
 6   same address as COAMI. CHANG is, and at all relevant times was, an agent of
 7   COAMI and DONG YIN, acting within the scope of that dual agency and with the
 8   intent to benefit COAMI and DONG YIN in whole or in part.
 9               24.   Defendant FAN is, and at all relevant times was, a citizen of the PRC and
10   an attorney practicing law in Beijing, China. FAN is, and at all relevant times was, a
11   member of the Boards of Directors of Bronzelink and GIP-Cayman.
12               25.   In the negotiations leading up to Bronzelink’s investment in
13   GIP-Cayman, FAN was introduced to Mr. Youssefzadeh and Mr. Javed as an attorney
14   and representative of DONG YIN. He is, and at all relevant times was, an agent of
15   DONG YIN, acting in whole or in part within the scope of that agency and with the
16   intent to benefit DONG YIN.
17               26.   Plaintiffs are informed and believe, and based thereon allege, that prior to
18   his appointment to the GIP-Cayman Board of Directors, FAN did not have any
19   experience directing, managing, or governing a company involved in the design,
20   ownership, or operation of satellites or satellite technology.
21               27.   Defendant WONG is resident of Hong Kong SAR and a relative of
22   Xinyi Dong, who is a Director of DONG YIN and Amore. In addition, WONG is,
23   and at all relevant times was, a member of the Boards of Directors of Bronzelink,
24   GIP-Cayman and GIP-USA. In or about April 2017, WONG was appointed
25   Executive Director of GIP-Cayman. In or about July 2017, he was appointed
26   Chairman of the Board of Directors of GIP-Cayman. WONG is, and at all relevant
27   times was, an agent of DONG YIN, acting in whole or in part within the scope of that
28   agency and with the intent to benefit DONG YIN.
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 1               28.   Plaintiffs are informed and believe, and based thereon allege, that prior to
 2   his appointment to the GIP-Cayman Board of Directors, WONG did not have any
 3   experience directing, managing, or governing a company involved in the design,
 4   ownership and operation of satellites or satellite technology.
 5               29.   Defendant LIU is, and at all relevant times was, a member of the Boards
 6   of Directors of Bronzelink, GIP-Cayman and GIP-USA, and the controller of
 7   GIP-Cayman and GIP-USA. In or about July 2017, LIU was appointed Secretary of
 8   the Board of Directors of GIP-Cayman. LIU is, and at all relevant times was, an agent
 9   of DONG YIN, acting in whole or in part within the scope of that agency and with the
10   intent to benefit DONG YIN.
11               30.   Plaintiffs are informed and believe, and based thereon allege, that prior to
12   her appointment to the GIP-Cayman Board of Directors, LIU did not have any
13   experience directing, managing, or governing a company involved in the design,
14   ownership and operation of satellites or satellite technology.
15               31.   Defendant MILBANK is a New York limited liability partnership with a
16   principal executive office located at 1 Chase Manhattan Plaza, New York, New York,
17   10005-1413. At various times relevant to the events in question, MILBANK and
18   Dara Panahy, a MILBANK partner, represented STM Group, DONG YIN, Amore and
19   GIP-Cayman. Panahy, who is based in the Washington D.C. office of MILBANK,
20   holds himself out as having particular expertise in the area of U.S. export control laws
21   and the structuring of transactions involving those laws.
22                               III.   JURISDICTION AND VENUE.
23   A.          Subject Matter Jurisdiction.
24               32.   This Court has subject matter jurisdiction over this action pursuant to
25   Title 28, United States Code, section 1331, in that it includes claims that arise under
26   the laws of the United States, and pursuant to Title 28, United States Code,
27   section 1367, in that the claims arising under state law are so related to the claims
28   arising under federal law that they form part of the same case or controversy under
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 1   Article III of the United States Constitution.
 2   B.          Personal Jurisdiction.
 3               33.   This Court has personal jurisdiction over Defendants in this action
 4   pursuant to Federal Rule of Civil Procedure 4(k)(1)(A) and California Code of
 5   Civil Procedure section 410.10 in that: (a) Defendants, and each of them, have
 6   purposefully directed their activities and consummated transactions in and with
 7   residents of California and have purposefully availed themselves of the privilege of
 8   conducting activities in California, invoking the benefits and protections of its laws;
 9   (b) the claims against Defendants, and each of them, arise out of and relate to each
10   Defendants’ California-related activities; and (c) the exercise of jurisdiction over
11   Defendants, and each of them, comports with fair play and substantial justice.
12               34.   More specifically, and as described in detail below, this Court has
13   personal jurisdiction over Defendants, and each of them, because, among other things:
14               (a)   Plaintiffs resided in California at all relevant times, and Defendants, and
15                     each of them, made false and fraudulent representations and promises to
16                     Plaintiffs in furtherance of the conspiracy and scheme to defraud
17                     Plaintiffs, while Plaintiffs were physically located in California;
18               (b)   Defendants made false and fraudulent representations and promises to
19                     Plaintiffs in furtherance of the conspiracy and scheme to defraud
20                     Plaintiffs, while Defendants were physically located in California;
21               (c)   Some of the property that Defendants obtained by fraud and theft,
22                     including Plaintiffs’ confidential business plan, was located in California
23                     at the time;
24               (d)   The fraud and theft was carried out in part through agreements that were
25                     executed by Mr. Youssefzadeh and Mr. Javed while physically located in
26                     California, and which they executed, based in whole or in part, on false
27                     and fraudulent representations and promises made to them while they
28                     were physically located in California;
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 1               (e)   One of the contracts was also executed by FAN while he was physically
 2                     located in California;
 3               (f)   The principal place of business of GIP-Cayman is El Segundo,
 4                     California;
 5               (g)   The principal place of business of GIP-USA is also El Segundo,
 6                     California;
 7               (h)   LIU worked in the GIP-USA offices in El Segundo, California and lived
 8                     in Southern California while the controller for GIP-Cayman and
 9                     GIP-USA, and while acting as an agent of DONG YIN in furtherance of
10                     the conspiracy and scheme to defraud Plaintiffs;
11               (i)   FAN and WONG often travelled to and visited the GIP-USA offices in
12                     El Segundo, California, and on these trips as agents of DONG YIN in
13                     furtherance of the conspiracy and scheme to defraud Plaintiffs;
14               (j)   FAN, WONG and LIU attended meetings of the GIP-Cayman Board of
15                     Directors in California while acting as agents of DONG YIN in
16                     furtherance of the conspiracy and scheme to defraud Plaintiffs;
17               (k)   CHANG, in his capacity as the Executive Director and Co-President of
18                     COAMI and an agent of DONG YIN, had numerous contacts with
19                     Plaintiffs while they were in California in furtherance of the conspiracy
20                     and scheme to defraud Plaintiffs;
21               (l)   In or about August 2016, GIP-Cayman entered into a contract with
22                     Boeing to manufacture the Satellite and provide other services for the
23                     Satellite Project, which was executed and to be performed in California;
24               (m)   In or about March 2017, GIP-Cayman entered into a contract with
25                     Space Explorations Technology Corp. (“SpaceX”) to launch the Satellite,
26                     which was executed and to be performed in part in California;
27               (n)   Defendants caused a false certification to be sent to SpaceX, located in
28                     Hawthorne, California, falsely certifying that GIP-Cayman was not
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 1                     “owned or controlled, or acting on behalf of, directly or indirectly, any
 2                     individuals or entities domiciled, headquartered, incorporated, residing in
 3                     or otherwise affiliated with [the PRC or other specified countries],” in
 4                     furtherance of the conspiracy and scheme to defraud Plaintiffs;
 5               (o)   DONG YIN caused GIP-Cayman to open at least one bank account at the
 6                     HSBC Bank branch office in Irvine, California, which was used in
 7                     furtherance of the conspiracy and scheme to defraud Plaintiffs;
 8               (p)   In or about May and June 2017, WONG had extensive communications
 9                     and contacts with Chris Chen (“Chen”), General Counsel for GIP-
10                     Cayman and GIP-USA, who was in California at the time, which
11                     Plaintiffs are informed and believe, and based thereon allege, were in
12                     furtherance of the conspiracy and scheme to defraud Plaintiffs;
13               (q)   In or about June 2017, after Plaintiffs raised the issue of whether
14                     Defendants were violating U.S. export control laws, WONG travelled to
15                     El Segundo, California, and sought to pressure Mr. Youssefzadeh and
16                     Mr. Javed to keep silent about the compliance problems they had
17                     discovered;
18               (r)   In or about November 2017, two DONG YIN consultants travelled to
19                     California and offered to pay Mr. Youssefzadeh and Mr. Javed to keep
20                     silent about the compliance problems they had discovered;
21               (s)   At all relevant times, MILBANK has conducted business in California
22                     and maintained an office in Los Angeles, California, at 2029 Century
23                     Park East, 33rd Floor, Los Angeles, California 90067-3019;
24               (t)   MILBANK had extensive communications and contacts with
25                     Mr. Youssefzadeh and Mr. Javed while they were physically located in
26                     California, in furtherance of the conspiracy and scheme to defraud
27                     Plaintiffs;
28   //
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 1               (u)   MILBANK had communications and contacts with Chen, while he was
 2                     physically located in California, in furtherance of the conspiracy and
 3                     scheme to defraud Plaintiffs;
 4               (v)   Beginning in or about July 2016, MILBANK ostensibly represented
 5                     GIP-Cayman, and, in the course of that representation, Panahy travelled
 6                     to El Segundo, California, on more than one occasion, in furtherance of
 7                     the conspiracy and scheme to defraud Plaintiffs; and
 8               (w)   In or about April 2017, MILBANK caused a misleading memorandum
 9                     concerning compliance issues to be circulated to Mr. Youssefzadeh,
10                     Mr. Javed and LIU, while they were physically located in California, in
11                     furtherance of the conspiracy and scheme to defraud Plaintiffs.
12   C.          Venue.
13               35.   Venue for this matter properly lies within the Central District of
14   California pursuant to Title 18, United States Code, section 1391(b)(2), in that a
15   substantial part of the events and omissions giving rise to Plaintiffs’ claims occurred
16   in this district.
17                             IV.    U.S. EXPORT CONTROL LAWS.
18               36.   To safeguard national security, a comprehensive series of federal
19   regulations provide that certain confidential and sensitive technology and data
20   involved in the construction and launch of satellites cannot be exported or provided to
21   specified foreign countries, including the PRC. These regulations include the ITAR
22   and the EAR.
23   A.          The International Traffic In Arms Regulations.
24               37.   ITAR is a series of import/export regulations established under the
25   U.S. Arms Export Control Act, Title 22, United States Code, section 2751, et seq.
26               38.   ITAR provides that it is the policy of the U.S. to deny licenses and other
27   approvals for exports and imports of defense articles and defense services, including
28   satellite technology, to the PRC (the “PRC Proscription”). (Title 22, Code of Federal
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 1   Regulations, section 126.1(d).)
 2               39.   The transfer of control of a satellite subject to ITAR to a “foreign person”
 3   is considered an “export” under ITAR. (Title 22, Code of Federal Regulations,
 4   section 120.17(c).)
 5               40.   ITAR defines “foreign person” to include natural persons who are not
 6   lawful permanent U.S. residents, foreign corporations and business associations, as
 7   well as any agency or subdivision of a foreign government. (Title 22, Code of
 8   Federal Regulations, section 120.16.)
 9               41.   ITAR further provides that the transfer of certain designated technical
10   data to a foreign person is deemed to be an export to all countries in which the foreign
11   person has held or holds citizenship or holds permanent residency. (Title 22, Code of
12   Federal Regulations, sections 120.17 and 120.50.) The satellite and launch
13   technology involved in the Satellite Project includes “technical data” subject to ITAR.
14               42.   Any person, including a corporation, that engages in the U.S. in the
15   business of manufacturing or exporting, or temporarily importing, defense articles, or
16   furnishing defense services, is required to register with the Directorate of Defense
17   Trade Controls. If the intended registrant is foreign owned, or foreign controlled, the
18   certification must include an explanation of such ownership or control, including the
19   identities of the foreign person or persons who ultimately own or control the
20   registrant. (Title 22, Code of Federal Regulations, section 122.2.)
21               43.   Under ITAR, “foreign ownership” means that more than 50% of the
22   outstanding voting securities of the company are owned by one or more foreign
23   persons. (Title 22, Code of Federal Regulations, section 120.16.) “Foreign control”
24   means one or more foreign persons have the authority or ability to establish or direct
25   the general policies or day-to-day operations of the company. Foreign control is
26   presumed to exist where a foreign person or persons own 25% or more of the
27   outstanding voting securities of the company, unless one U.S. person controls an equal
28   or larger percentage. (Title 22, Code of Federal Regulations, section 120.37.)
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 1               44.   The penalties for violating ITAR are severe. Any person who knowingly
 2   violates any provision of the Arms Control Act could be sentenced to 20 years in
 3   federal prison and fined for each violation as much as $1,000,000. (Title 22,
 4   United States Code, section 2778; Title 22, Code of Federal Regulations, section
 5   127.3.) A violation of ITAR may also result in civil penalties and debarment from
 6   participating in any activities that are subject to ITAR. (Title 22, Code of
 7   Federal Regulations, sections 127.7 and 127.10.)
 8   B.          The Export Administration Regulations.
 9               45.   The EAR are a set of regulations issued by the U.S. Department of
10   Commerce’s Bureau of Industry and Security for the purpose of implementing the
11   U.S. Export Administration Act of 1979, Title 50, United States Code, section 4601,
12   et seq.
13               46.   The Export Administration Act of 1979 (the “EAA”), as amended
14   authorizes the Department of Commerce, in consultation with other appropriate
15   agencies, to regulate the export or re-export of U.S.-origin dual-use goods, software,
16   and technology. The Department of Commerce implements this authority through the
17   EAR.
18               47.   The export control provisions of the EAR are intended to further national
19   security, foreign policy, nonproliferation of weapons of mass destruction, and other
20   such interests of the U.S. The EAR controls are designed, in part, to restrict access to
21   items subject to EAR by countries or persons that might apply such items to uses
22   inimical to U.S. interests. (Title 15, Code of Federal Regulations, section 730.6.)
23               48.   Like ITAR, the EAR contains a PRC Proscription, which prohibits
24   certain technology from being exported to the PRC. Any license application seeking
25   to export items or services to the PRC that may compromise national security is
26   subject to a policy of denial. (Title 15, Code of Federal Regulations, section
27   742.4(b)(1)(iii).) The satellite and launch technology involved in the Satellite Project
28   includes technology that falls within this proscription.
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 1               49.   The EAR provides that satellites cannot be exported to the PRC. (Title
 2   15, Code of Federal Regulations, section 772.1.) The EAR also prohibits the transfer
 3   of registration, ownership, or control of a satellite to a PRC entity or national, or to an
 4   entity directly or indirectly controlled by a PRC entity or national. (Title 15, Code of
 5   Federal Regulations, section 734.13)
 6               50.   The EAR provides that it is unlawful to “engage in any conduct
 7   prohibited by or contrary to, or refrain from engaging in any conduct required by, the
 8   EAA, the EAR, or any order, license or authorization issued thereunder.” In addition,
 9   “[n]o person may cause or aid, abet, counsel, command, induce, procure, or permit the
10   doing of any act prohibited, or the omission of any act required, by the EAA, the
11   EAR, or any order, license or authorization issued thereunder.” Further, “[n]o person
12   may conspire or act in concert with one or more persons in any manner or for any
13   purpose to bring about or to do any act that constitutes a violation of the EAA, the
14   EAR, or any order, license or authorization issued thereunder.” (Title 15, Code of
15   Federal Regulations, section 764.2(a, (b), (d)).
16               51.   As with ITAR, violations of the EAR carry significant criminal and civil
17   penalties, including, for a willful violation of the EAR, imprisonment for up to ten
18   years. (Title 50, United States Code, section 4610.)
19               52.   Depending upon the facts of the particular case, conduct that constitutes a
20   violation of ITAR or the EAR also often involves a violation of another federal
21   criminal law, such as Title 18, United States Code, sections 371 (criminal conspiracy),
22   1001 (false statements to a federal agency), 1341 (mail fraud), 1343 (wire fraud) and
23   1956 and 1957 (money laundering).
24               53.   Three recent cases demonstrate the potentially serious consequences of
25   violating the export control laws:
26               (a)   In U.S. v. Zuccarelli, U.S. District Court for the Eastern District of Texas,
27                     Case No. 4:17-cr-00117-ALM-KPJ, a Texas man was sentenced to 46
28                     months in prison, a $50,000 fine and three years of supervised release for
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 1                     violating U.S. export control laws by conspiring to illegally export
 2                     radiation hardened integrated circuits to Russia and China for use in their
 3                     space programs.
 4               (b)   In U.S. v. Xu, U.S. District Court for the Southern District of New York,
 5                     Case No. 7:16-cr-00010-KMK, a Chinese national was sentenced to five
 6                     years in prison, pursuant to a plea agreement, for stealing proprietary
 7                     source code from his former employer with the intent of benefitting the
 8                     PRC.
 9               (c)   In U.S. v. Shih, U.S. District Court for the Central District of California,
10                     Case No. 2:18-cr-00050-JAK, two Southern California men were arrested
11                     in January 2018 for conspiring to cause a U.S. company to make special
12                     high-speed computer chips that were then exported to a Chinese
13                     company, in violation of the export control laws.
14                                 V.     FACTUAL ALLEGATIONS.
15   A.          The Satellite Project.
16               1.    STM Atlantic.
17               54.   STM Atlantic was founded by Mr. Youssefzadeh in 2003.
18   STM Atlantic’s original business was to manufacture and sell very small aperture
19   terminal (“VSAT”) equipment, which is a two-way ground station that transmits and
20   receives data from satellites. STM Atlantic was successful in manufacturing and
21   selling VSAT equipment.
22               55.   In the mid-2000s, STM Atlantic began to transition into the business of
23   providing satellite services, creating the Satellite Project with the goal of designing,
24   financing, fabricating, launching, operating and owning communications satellites that
25   provided HSIA and other Broadband services to portions of Africa and elsewhere.
26               2.    The Orbital Slot Licenses.
27               56.   In or about August 2008, as an initial step in bringing the Satellite Project
28   to fruition, STM Group, through its subsidiary STM Norway, made its first regulatory
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 1   filing for Orbital Slots with the International Telecommunications Union (“ITU”) in
 2   Switzerland and the government of Norway.
 3               57.   The ITU is a specialized agency of the United Nations that coordinates
 4   the shared global use of the radio spectrum, promotes international cooperation in
 5   assigning satellite orbit positions, works to improve telecommunication infrastructure
 6   in the developing world, and assists in the development and coordination of
 7   worldwide technical standards.
 8               58.   A key function of the ITU is to assign and coordinate Orbital Slots for
 9   geosynchronous satellites. Geosynchronous satellites are satellites that have an orbital
10   period that is the same as the Earth’s rotation period. As a result, they stay in the
11   same place in the sky, relative to a position on the ground, which makes them useful
12   for communications, television broadcasting and providing HSIA.
13               59.   Any company or government that wants to place a satellite in
14   geosynchronous orbit is required to obtain a license, known as an Orbital Slot License,
15   from the ITU. Among other things, this requirement prevents satellites from
16   interfering with each other.
17               60.   In 2012, STM Group, through STM Norway, applied to the government
18   of Norway for Orbital Slot Licenses. STM Group chose Norway for their filing
19   because it had a strong presence in that country, employed qualified technical staff
20   there, and intended to manage and control the satellite through its presence in Norway.
21               61.   To obtain the desired Orbital Slot Licenses, STM Norway needed to pay
22   filing fees to the ITU and to the government of Norway. STM Norway also needed to
23   demonstrate that it had sufficient expertise in the satellite field to convince the
24   government of Norway that it would be able to launch a satellite during the license
25   period. Finally, STM Norway needed to demonstrate that its proposed satellite would
26   not interfere with any existing satellites. Plaintiffs made the necessary payments and
27   were able to satisfy each of these conditions.
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 1               62.   In or about June 2012, STM Norway obtained Orbital Slot Licenses for
 2   18W and 15.5W (the “STM Orbital Slots”). The STM Orbital Slots were extremely
 3   valuable because they were in a priority position relative to others for the expected
 4   time the proposed satellite could be Brought Into Use (“BIU”); had a good view
 5   towards the earth in relation to the target coverage area (sub-Saharan Africa); and
 6   could be coordinated with other adjacent satellites in frequency to be able to access
 7   the largest amount of frequency spectrum over the coverage area.
 8               63.   Orbital Slot Licenses are valid for a period of seven years. If they are not
 9   used during that time frame, they expire and have no value. The STM Project Orbital
10   Slot Licenses expire in June 2019.
11               64.   In 2013, STM Norway transferred its rights in the Orbital Slot Licenses
12   to Dub Dub, a Norwegian Company that in 2015 became a wholly owned subsidiary
13   of GIP-Cayman.
14               3.    The Satellite Project Concept and Business Plan.
15               65.   In or about 2009 and 2010, as part of the Satellite Project, STM Group
16   and STM Atlantic further developed their business concept of providing
17   communication satellite services to sub-Saharan Africa. Their goal was to design,
18   fabricate and launch a satellite that would make them a dominant provider of
19   Broadband services, including HSIA, in sub-Saharan Africa. Internet service in
20   Africa is typically limited to the largest cities. But approximately 70% of Africa’s
21   population does not live in the cities. Accordingly, Plaintiffs wanted to become the
22   driver for providing, and bringing down costs for, Broadband services and HSIA in
23   those unserved, or under-served, parts of Africa.
24               66.   Plaintiffs planned to profit from the Satellite Project by leasing capacity
25   on the satellite to governments and private HSIA providers. The Satellite Project was
26   projected to earn approximately US$1.5 billion in profits over the life of the satellite.
27               67.   STM Atlantic commissioned and paid for marketing studies, identifying
28   their biggest competitors and attempting to ascertain potential customers for the
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 1   Satellite Project. The target customers were governments, mobile network operators
 2   and Internet Service Providers.
 3               68.   In or about 2010, STM Atlantic started discussions with various
 4   companies, including Mitsubishi (in Japan), Space Systems Loral (in Palo Alto),
 5   Thales (in France) and Boeing (in El Segundo) to manufacture the satellite.
 6               69.   In or about 2010, STM Group engaged MILBANK to provide legal
 7   services involving regulations and financing for the Satellite Project. Panahy was
 8   STM Group’s primary contact at MILBANK and the attorney with whom Plaintiffs
 9   worked most closely and developed a relationship of trust.
10               70.   In or about February 2012, Plaintiffs completed their first business plan
11   for the Satellite Project. The plan needed to, and did, address every component of the
12   Project, including: (a) financing; (b) development; (c) manufacture; (d) delivery;
13   (e) launch; (f) maintenance, control and operation; (g) satellite control facilities;
14   (h) orbital locations; (i) ground system and gateways; and (j) required launch and
15   in-orbit insurance. This was an extremely involved process that required significant
16   time, money and expertise.
17               71.   A key component of the business plan was the technical design of the
18   satellite. Plaintiffs prepared the initial design for a state-of-the-art 7.7-ton
19   solar-powered satellite, with maximum Broadband capacity and a 15-year anticipated
20   lifespan. The design had to factor in the weight, power and performance of the
21   satellite, and had to provide sufficient capacity in the specific markets and at
22   geographic locations where the capacity would be needed. The design also had to
23   consider the whereabouts of approximately a dozen gateways to the Internet cloud to
24   be established in Europe in such a way that interference with the satellite could be
25   minimized.
26               72.   The satellite design work was begun at STM Group in or about 2011. It
27   involved significant amounts of Mr. Youssefzadeh’s time and expertise, the
28   participation of the STM Atlantic engineering staff, and the work of a satellite expert
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 1   hired by STM Atlantic and supervised by Mr. Youssefzadeh.
 2               73.   In or about 2013, STM Atlantic sold its operating assets so it could focus
 3   exclusively on the Satellite Project. In or about April 2013, Plaintiffs incorporated
 4   GIP-Cayman under the laws of the Grand Caymans. GIP-Cayman became a
 5   subsidiary of STM Atlantic. Plaintiffs created GIP-Cayman to be the company that
 6   owned and operated the satellite.
 7               74.   After GIP-Cayman was incorporated, Mr. Youssefzadeh became the sole
 8   director. He remained a director of GIP-Cayman until his resignation following the
 9   filing of this lawsuit, on or about February 25, 2018.
10               75.   In or about July 2012, Mr. Youssefzadeh and Mr. Javed recruited
11   Bahram Pourmand (“Pourmand”) to become part of the Satellite Project. At that time,
12   Pourmand was an executive with Hughes Communications, Inc. (“Hughes”), and was
13   well-known in the satellite industry. At the time, Mr. Youssefzadeh and Mr. Javed
14   believed that Pourmand could be instrumental in raising funds to further finance the
15   Satellite Project. Accordingly, they offered to give him a 37% share of GIP-Cayman
16   after it was incorporated. Pourmand agreed, acquiring and holding his interest in
17   GIP-Cayman through his company Steadyspace Limited (“Steadyspace”).
18               76.   Mr. Javed became a director of GIP-Cayman in November 2015, along
19   with Pourmand. Mr. Youssefzadeh, Mr. Javed and Pourmand were the only three
20   directors of GIP-Cayman until June 3, 2016, when Bronzelink acquired a majority
21   interest in GIP-Cayman, as discussed below. Mr. Javed remained a director of
22   GIP-Cayman from November 2015 until his resignation following the filing of this
23   lawsuit, on or about February 25, 2018.
24               77.   Mr. Javed also served as GIP-Cayman’s President and Chief Operating
25   Officer (COO) from November 15, 2015 until June 3, 2016 and was subsequently
26   reappointed to those positions by the full Bronzelink-controlled GIP-Cayman Board
27   of Directors.
28   //
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 1   B.          Introduction to DONG YIN.
 2               78.   Satellite projects typically require several hundred million dollars in
 3   financing to build, launch and operate the satellite. Plaintiffs sought to sell an equity
 4   interest in GIP-Cayman to obtain the first tranche of funding needed for the next steps
 5   in the Satellite Project.
 6               79.   In or about July 2015, Mr. Youssefzadeh, Mr. Javed and Pourmand were
 7   contacted by China Orient Asset Management Company (“COAMC”) and
 8   DONG YIN, both of whom expressed an interest in providing financing for the
 9   Satellite Project. COAMC is a State Owned Enterprise created and owned by the
10   PRC to participate in commercial activities on behalf of the PRC.
11               80.   At around this time, Mr. Javed first met in person with FAN, who was
12   introduced to him as an attorney in the PRC and a representative of DONG YIN.
13               81.   On or about August 1, 2015, David Zhang of DONG YIN sent an email
14   to Panahy. Plaintiffs are informed and believe, and based thereon allege, that Zhang
15   contacted Panahy on behalf of DONG YIN to obtain his assistance in structuring a
16   deal for the Satellite Project. Panahy responded on September 1, 2015, touting
17   MILBANK’s “broad-based experience with HK-based investment transactions,
18   including in the satellite industry,” and indicating that he would “be pleased to discuss
19   the options of representing your team as investors, as well as the SPV [special purpose
20   vehicle] for structuring, procurement, etc. as well as fee considerations.” Panahy
21   further responded that he understood CHANG wanted to speak to him about this
22   matter and indicated that he would “try him shortly.”
23               82.   Panahy spoke with CHANG on or about September 2, 2015. He
24   followed up that conversation with an email to CHANG and Zhang, in which he
25   scheduled a meeting with “the team” for September 9, 2015, in Washington, D.C.
26   Those preliminary negotiations were discontinued shortly thereafter, however,
27   because Plaintiffs determined that they could not lawfully pursue any business
28   relationship in which COAMC or DONG YIN would obtain control of GIP-Cayman.
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 1               83.   On or about September 9, 2015, Pourmand met with Hady Hartanto
 2   (“Hartanto”) and Charles Lau (“Lau”) of TechCap, a company that had expressed an
 3   interest in helping Plaintiffs obtain financing for the Satellite Project. That meeting
 4   was also attended by Yang Zeng, the Chairman of the DONG YIN Board of Directors;
 5   Din Yi Dong, DONG YIN’s Vice Managing Director; Terry Long (“Long”), a
 6   DONG YIN executive; and CHANG, in his capacity as COAMI’s Executive Director
 7   and Co-President.
 8               84.   Mr. Youssefzadeh, Mr. Javed and Pourmand provided a draft financing
 9   agreement to TechCap. On or about September 10, 2015, Lau sent a revised draft of
10   that agreement back to Mr. Youssefzadeh, Mr. Javed and Pourmand, proposing to
11   acquire 75% of GIP-Cayman in return for a $100 million investment.
12               85.   On or about September 10, 2015, Pourmand responded to Hartanto’s
13   email, rejecting the proposed terms.
14   C.          Defendants Undermine Plaintiffs’ Deal with CCTG.
15               86.   As of September 2015, Plaintiffs had come to believe that Hartanto and
16   his partner had misrepresented their ability to provide and/or raise financing for the
17   Satellite Project. While they had initially represented themselves as businessmen and
18   investors, it became clear that they were just middlemen looking to connect Plaintiffs
19   with potential funding sources in the PRC. As a result, Plaintiffs began to seriously
20   question Hartanto’s and Lau’s ability to actually structure a viable financing
21   transaction, and decided that they did not want to have any further business
22   involvement with TechCap. Accordingly, in or about August 2015, Plaintiffs entered
23   into direct negotiations with another potential financing source, Huaxun
24   Shenzhen/CCT Group (“CCTG”).
25               87.   The negotiations with CCTG gained momentum in or about
26   September 2015, and, on or about September 12, 2015, Mr. Youssefzadeh and
27   Mr. Javed signed a Memorandum of Understanding (“MOU”) with CCTG.
28   //
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 1               88.   Pursuant to the terms of the MOU, CCTG assumed responsibility for
 2   securing equity and debt financing for the Satellite Project in return for 63% of the
 3   shares in GIP-Cayman.
 4               89.   On September 17, 2015, Pourmand sent an email to Mr. Youssefzadeh
 5   and Mr. Javed, referring to the CCTG deal as “a dream,” and indicating that he was no
 6   longer interested in working with Hartanto.
 7               90.   On or about September 19, 2015, Lau sent an email to Pourmand,
 8   Mr. Youssefzadeh and Mr. Javed, copying Hartanto, stating that “[w]e have come this
 9   far and really hate to see this project go.” Lau then proposed certain steps to preserve
10   TechCap’s participation in the project, including producing a letter from COAMC
11   confirming its “in-principle approval for the $200m loan.”
12               91.   In or about late September 2016, CCTG’s representative informed
13   Mr. Youssefzadeh and Mr. Javed that CCTG had to withdraw from the deal. The
14   CCTG representative indicated that he had been pressured by Hartanto and Lyu, as
15   well as persons representing COAMC and DONG YIN, to withdraw.
16   D.          The COSEIG Joint Venture Agreement.
17               92.   On or about October 5, 2015, Mr. Youssefzadeh received an email from
18   Ivan Chow, who introduced himself as “the sole representative of Mr. Geng Zhiyuan
19   and Yang Zeng of Dong Yin Development (Holdings) Limited regarding the business
20   dealings related to the [sic] Global IP.”
21               1.    The October 14, 2015 Letter of Intention.
22               93.   On or about October 14, 2015, DONG YIN provided a Letter of
23   Intention to Mr. Youssefzadeh and Mr. Javed. That letter certified that DONG YIN
24   “intends to provide a total budget of up to USD200 million to the SPC, China Orient
25   Smart Ecotech Investment Group Limited (“COSEIG”) and authorizes Mr. Fan
26   Shiwen to represent our company for the negotiations with relevant parties to the
27   transaction regarding the specific terms and conditions.”
28   //
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 1               94.   On or about October 15, 2015, Mr. Javed sent an email to Ivan Chow,
 2   asking for additional information regarding COSEIG, as well as information regarding
 3   FAN and his involvement in any deal with COSEIG.
 4               95.   Ivan Chow responded to Mr. Javed’s email, representing that:
 5   (a) COSEIG was a Special-Purpose Vehicle for investment; (b) its attorney had
 6   advised it against releasing COSEIG’s company registration documents “at the current
 7   initial stage of contact,” but that it would fully disclose its registry documents
 8   (registration certificate, Memorandum and Articles of Association, directors,
 9   shareholders and beneficiaries) once both parties were ready to pursue a deal;
10   (c) DONG YIN was COSEIG’s financial partner; (d) DONG YIN has sent FAN to
11   work with Ivan Chow at COSEIG and that FAN “worked for DONG YIN as its
12   lawyer”; and (e) Ivan Chow’s role was “to identify, evaluate and negotiate with the
13   potential companies to invest in as the fund is already sitting in a bank in Hong
14   Kong.”
15               2.    Ivan Chow Repeatedly Represents that COSEIG Is Independent.
16               96.   In or about October 2015, Ivan Chow travelled to California to meet with
17   Mr. Youssefzadeh and Mr. Javed. In the course of arranging this meeting, both
18   Ivan Chow and FAN confirmed to Mr. Youssefzadeh and Mr. Javed that they were
19   acting as representatives of DONG YIN.
20               97.   During that October 2015 visit, Ivan Chow met with Mr. Youssefzadeh
21   and Mr. Javed in Newport Beach, California. In that meeting, Mr. Youssefzadeh
22   asked for assurances that DONG YIN did not own or control COSEIG, and
23   Ivan Chow responded by providing those assurances. In fact, contrary to Ivan Chow’s
24   representation, COSEIG was under the control, dominance and direction of
25   DONG YIN.
26               98.   Ivan Chow further represented to Mr. Youssefzadeh and Mr. Javed that
27   COSEIG was solely owned by Pok Kit Chow, a wealthy Hong Kong businessman and
28   investor who intended to borrow money from DONG YIN to invest in GIP-Cayman,
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 1   and that COSEIG was completely independent of PRC influence and control. In fact,
 2   these representations were false and misleading: among other things, Ivan Chow did
 3   not disclose that Pok Kit Chow was his brother and that Pok Kit Chow had recently
 4   obtained ownership of COSEIG when Hoi Ying (Charles) Yiu (“Yiu”) transferred the
 5   ownership of all 50,000 shares of COSEIG stock to him, at a nominal price of $1 per
 6   share, in or about August 2015.
 7               3.    The Parties Enter into the COSEIG JVA.
 8               99.   During a meeting in Irvine, California, on or about December 3, 2015,
 9   Ivan Chow represented to Mr. Youssefzadeh and Mr. Javed that COSEIG was a
10   special purpose investment company with no desire or intent to become engaged in
11   the operations of GIP-Cayman. In fact, COSEIG was under the control, dominance
12   and direction of DONG YIN and DONG YIN planned and intended to use COSEIG
13   as a vehicle to gain and maintain dominance and control of the governance,
14   management and operations of GIP-Cayman.
15               100. On or about December 3 and 4, 2015, Mr. Youssefzadeh and Mr. Javed
16   attended meetings at STM Atlantic’s offices in Irvine, California. Those meetings
17   were also attended by FAN, Ivan Chow, Pourmand and Amir Irani (“Irani”),
18   Pourmand’s stepson. The purpose of those meetings was to finalize the terms of a
19   Joint Venture Agreement between COSEIG, Plaintiffs, Pourmand and Steadyspace
20   (the “COSEIG JVA”).
21               101. During these meetings, FAN asked if there would be any compliance
22   issues under U.S. export control laws given that COSEIG intended to borrow money
23   from DONG YIN. Mr. Youssefzadeh and Mr. Javed told FAN that DONG YIN’s
24   involvement as a lender would not create a compliance problem provided that:
25   (a) DONG YIN’s role was limited to providing debt financing; (b) COSEIG was truly
26   independent; and (c) the GIP-Cayman Board of Directors would be independent and
27   free of any PRC influence. FAN expressly represented and promised
28   Mr. Youssefzadeh and Mr. Javed that a structure that complied with U.S. export
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 1   control laws was being put into place.
 2               102. In fact, the representations that FAN made to Plaintiffs were false and
 3   misleading in that DONG YIN’s role was not limited to providing debt financing.
 4   Rather, it planned and intended to gain and maintain control of the Satellite Project
 5   through its dominance and control of the GIP-Cayman Board of Directors, which
 6   would enable it to obtain access to confidential and sensitive satellite and launch
 7   technology and data. Furthermore, at all relevant times, COSEIG was controlled by
 8   DONG YIN and DONG YIN had merely arranged for Pot Kit Chow to be the nominal
 9   owner of COSEIG, for purposes of concealing and disguising its plan and intention to
10   obtain ownership and control of the Satellite Project.
11               103. On or about December 4, 2015, FAN signed the COSEIG JVA on behalf
12   of COSEIG. The COSEIG JVA was executed in Irvine, California. STM Atlantic,
13   Mr. Youssefzadeh and Mr. Javed all signed the COSEIG JVA in reliance on the false
14   and fraudulent representations and promises that COSEIG was, and would remain, an
15   independent company and that it was not under DONG YIN’s control.
16               104. The COSEIG JVA provided that, subject to certain “due diligence
17   conditions and other conditions for Completion,” COSEIG would make a $175
18   million dollar equity investment in GIP-Cayman in return for 30,000,000 newly issued
19   shares in GIP-Cayman, which would give COSEIG a 75% ownership interest in
20   GIP-Cayman. The COSEIG JVA further provided that COSEIG would have the right
21   to appoint six directors to the nine-member GIP-Cayman Board of Directors.
22               4.    Plaintiffs Enlist MILBANK to Ensure that the COSEIG JVA Provides
23                     Sufficient Firewalls to Avoid Violating U.S. Export Control Laws.
24               105. Subsequent to entering into the COSEIG JVA, Mr. Youssefzadeh and
25   Mr. Javed asked Panahy to review the JVA to determine if it created sufficient
26   safeguards to ensure compliance with export control laws considering that
27   DONG YIN was the lender that would be providing the financing.
28   //
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 1               106. In or about early December 2015, after reviewing the COSEIG JVA,
 2   Panahy told Mr. Youssefzadeh and Mr. Javed that he could help ensure compliance
 3   with the applicable export control laws if MILBANK represented DONG YIN in the
 4   transaction. That way, according to Panahy, MILBANK could make sure that
 5   DONG YIN knew and complied with the limits on its participation as a lender to
 6   COSEIG. Plaintiffs agreed with this approach, and, based on Panahy’s
 7   representations, trusted MILBANK to ensure that DONG YIN’s role in the transaction
 8   was appropriately limited. In fact, rather than assisting Plaintiffs in making sure that
 9   COSEIG would be an effective firewall between DONG YIN and GIP-Cayman, as
10   described further below, MILBANK and Panahy actively conspired with and assisted
11   DONG YIN in its effort to obtain dominance and control over the Satellite Project by
12   furthering DONG YIN’s deception of Plaintiffs.
13               5.    The Parties Conduct Their Due Diligence.
14               107. On or about January 5, 2016, Panahy sent an email to Mr. Javed. In that
15   email, Panahy indicated that MILBANK had set up a data room for the COSEIG due
16   diligence in the DONG YIN offices in Hong Kong. Panahy further noted that, “[o]ne
17   other item we should cover is what discussions have occurred with COSEIG and/or
18   U.S. satellite manufacturers in connection with the contemplated HK/PRC significant
19   investment in GIP (as ‘purchaser’ of the satellite) from an [sic] U.S. export
20   compliance standpoint. If GIP is majority owned, even if indirectly by a PRC entity,
21   there could be significant issues. If the investment is indeed sourced and made from
22   bona fide HK entity or investors, then it should be okay.”
23               108. After entering into the COSEIG JVA, COSEIG proposed conducting due
24   diligence jointly with DONG YIN. That due diligence took place in Dubai on or
25   about January 11 and 12, 2016. Mr. Youssefzadeh and Mr. Javed arranged for
26   COSEIG and DONG YIN to meet with a potential customer. The attendees at these
27   meetings were FAN; CHANG, in his capacity as COAMI’s Executive Director and
28   Co-President; Yang Zeng, Chairman of the DONG YIN Board; Xinyi Dong, Vice
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 1   Managing Director of DONG YIN; Zhanyu (“David”) Zhang, a DONG YIN
 2   executive; Terry Long, also a DONG YIN executive; Zhaohui Sui and Senlin Liang,
 3   DONG YIN representatives; Ivan Chow, on behalf of COSEIG; and Mr. Javed.
 4               109. During the January 11 and 12, 2016 due diligence meetings in Dubai,
 5   FAN; CHANG, acting on behalf of COAMI; and Ivan Chow, Yang Zeng, David
 6   Zhang and Xinyi Dong repeatedly represented to Mr. Javed that COSEIG was
 7   independent from DONG YIN and that DONG YIN was only a lender. In fact, these
 8   representations were false and misleading because, at all relevant times, COSEIG was
 9   controlled by DONG YIN and it was always DONG YIN’s plan and intent to obtain
10   and maintain control of the Satellite Project.
11               110. On or about January 28, 2016, Ivan Chow emailed Mr. Youssefzadeh,
12   Mr. Javed and Pourmand, on behalf of FAN, that COSEIG’s $250 million financial
13   proposal had been formally approved by DONG YIN, adding to the false and
14   misleading impression that DONG YIN was only a lender and that COSEIG and
15   DONG YIN were independent, unrelated entities, when, in reality, DONG YIN was
16   more than a lender and COSEIG was under the control of DONG YIN.
17               111. In or about early February 2016, Ivan Chow suddenly disappeared from
18   the transaction. Mr. Youssefzadeh and Mr. Javed attempted to locate him, but they
19   were told by FAN to cease their efforts.
20               6.    COSEIG is Replaced by Bronzelink.
21               112. On or about February 7, 2016, Mr. Youssefzadeh and Mr. Javed attended
22   a meeting arranged by FAN at the offices of a law firm in Washington, D.C. The
23   meeting was also attended by, among others, FAN; Panahy, acting as DONG YIN’s
24   counsel; and Henry Fan, who was a paid advisor to DONG YIN and FAN. At that
25   meeting, Panahy told Plaintiffs that COSEIG was being replaced in the joint venture
26   by a different entity, later identified as Bronzelink.
27               113. Panahy explained that the change from COSEIG to Bronzelink was being
28   made at DONG YIN’s behest. At that time, FAN falsely represented to Plaintiffs that
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 1   Bronzelink, like COSEIG, was owned by “wealthy” Hong Kong investors, including
 2   Yiu, the prior owner of COSEIG, who had no affiliation to DONG YIN. In fact Yiu
 3   was only a nominal owner of Bronzelink who answered to and took his directions
 4   from DONG YIN; (b) Bronzelink’s Board of Directors was selected by DONG YIN;
 5   (c) DONG YIN’s true role in the Satellite Project was more than that of a lender; and
 6   (d) DONG YIN’s plan and intent was to gain dominance and control over
 7   GIP-Cayman and the Satellite Project and to use that dominance and control to obtain
 8   access to confidential and sensitive satellite and launch technology and data subject to
 9   ITAR, the EAR and the PRC Proscription.
10               114. On or about February 11, 2016, FAN emailed Plaintiffs a “bridge”
11   document identifying terms of the then-existing COSEIG – GIP-Cayman Agreement
12   that had to be revised and eventually separated into an investment agreement and a
13   shareholder agreement with the new, yet to be identified, Hong Kong entity
14   (“NewCo”). The “bridge” document included terms allowing COSEIG/NewCo to
15   have the right to appoint a majority of the directors to GIP-Cayman’s Board, and
16   provided that this right attached to the terms of the stock in GIP-Cayman that
17   COSEIG/NewCo was to receive, such that if DONG YIN foreclosed on the shares, it
18   would have the right to control the Board.
19               115. On or about February 16, 2016, during an in-person meeting at the
20   offices of Bronzelink’s Washington, D.C. attorneys, CHANG, acting in his capacity
21   as COAMI’s Executive Director and Co-President, falsely represented and promised
22   to Mr. Youssefzadeh (participating telephonically from California), Mr. Javed and
23   Pourmand that: (a) after the closing, DONG YIN would have no control of
24   GIP-Cayman; and (b) DONG YIN had no intention of controlling or seeking to
25   influence GIP-Cayman and was relying on the founders, including Mr. Youssefzadeh
26   and Mr. Javed, to oversee completion of the Satellite Project after the closing.
27               116. On or about February 18, 2016, Bronzelink issued an authorization that
28   “Mr. FAN Shiwen be [the] authorized representative to sign the agreement related to
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 1   equity investment into GLOBAL-IP CAYMAN.” That authorization was executed by
 2   Yiu, acting as the nominal owner of Bronzelink.
 3               117. On or about February 21, 2016, Panahy, acting as a MILBANK partner
 4   and as counsel for DONG YIN, emailed Mr. Youssefzadeh, Mr. Javed, FAN and
 5   others, noting that, as a general matter, the parties needed “to be mindful of any
 6   direct/indirect PRC (not HK) influence or control of GIP, via Board Members or
 7   otherwise, and need to be accordingly careful as regards the identity, domicile and
 8   bona fides of the Board Members.” At the time Panahy made those comments, he
 9   intentionally concealed and knowingly failed to disclose that MILBANK was
10   representing DONG YIN in negotiating the Amore Facility Agreement, which would
11   give DONG YIN the ability to appoint and exercise dominance and control over the
12   Bronzelink Board of Directors and, through Bronzelink, over the GIP-Cayman Board
13   of Directors.
14               118. On or about February 23, 2016, during a meeting at the offices of
15   Bronzelink’s Washington, D.C. attorneys, FAN and Henry Fan falsely represented to
16   Plaintiffs that Bronzelink was an independent, stand-alone entity with no affiliation to
17   DONG YIN.
18   E.          The Bronzelink Joint Venture Agreement.
19               119. On or about February 25, 2016, the COSEIG JVA was terminated. It was
20   replaced by the Bronzelink Joint Venture Agreement (“Bronzelink JVA”), dated
21   February 25, 2016, which was virtually the same as the COSEIG JVA, except for the
22   name change. Bronzelink, like COSEIG, did not intend to passively allow Plaintiffs
23   to manage GIP-Cayman and rely upon them to complete the Satellite Project, but
24   instead would demand a role in the governance, management and operations of
25   GIP-Cayman.
26               120. Prior to entering into the Bronzelink JVA, Mr. Youssefzadeh and
27   Mr. Javed were falsely assured by DONG YIN’s agents and representatives, on
28   multiple occasions, that Bronzelink was fully independent of DONG YIN. By way
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 1   of example:
 2               (a)   In or about early 2016, Panahy telephoned Mr. Javed in California and
 3                     represented that COSEIG would be swapped out in the Joint Venture
 4                     Agreement for another company, which was yet to be identified, because
 5                     COSEIG’s name was too similar to COAMC. In this and other telephone
 6                     conversations during this time period, Panahy, acting as DONG YIN’s
 7                     counsel, falsely promised Plaintiffs that DONG YIN would not be
 8                     permitted to gain control or direct the governance, management, or
 9                     operations of GIP-Cayman.
10               (b)   On or about February 16, 2016, during a meeting in Washington, D.C.,
11                     CHANG, acting in his capacity as COAMI’s Executive Director and
12                     Co-President, falsely represented to Mr. Youssefzadeh, Mr. Javed and
13                     Pourmand that after the closing DONG YIN had no intention to assert,
14                     and would not seek to assert, control over GIP-Cayman or the Satellite
15                     Project. FAN was present when this statement was made and did not
16                     disagree with it.
17               121. The terms and language of the proposed Bronzelink JVA also conveyed
18   the false and misleading impression that Bronzelink was a stand-alone and legitimate
19   investment vehicle, independent of DONG YIN. In the JVA, Bronzelink represented
20   that it was an independent entity that “has the power to execute, perform its
21   obligations under and enter into all transactions contemplated by this Agreement,” and
22   that “the execution and performance of this Agreement . . . do not violate . . . any
23   agreement or instrument to which it is subject.” This representation was false and
24   misleading in that it omitted material information concerning Bronzelink’s true
25   relationship with DONG YIN.
26               122. As a result of these falsehoods and half-truths, Plaintiffs believed that
27   Bronzelink was an independent stand-alone and legitimate investment vehicle not
28   subject to DONG YIN’s dominance and control. In fact, however, DONG YIN was
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 1   using Bronzelink, like COSEIG, as a fraudulent device that DONG YIN was using to
 2   further its plans and efforts to gain and maintain dominance and control over
 3   GIP-Cayman and the Satellite Project, and to use that dominance and control to obtain
 4   access to confidential and sensitive satellite and launch technology and data.
 5               123. In or about February and March 2016, Mr. Youssefzadeh and Mr. Javed
 6   were told by FAN and Panahy, acting as DONG YIN’s counsel, that the Bronzelink
 7   JVA was essentially a “placeholder” agreement that would eventually be superseded
 8   by a Share Purchase Agreement (“SPA”) and a Shareholders Agreement (“SHA”).
 9   F.          The Amore Facility Agreement and the Secret Facility Agreement Terms.
10               124. Amore was incorporated in the British Virgin Islands on
11   January 11, 2016.
12               125. At all relevant times, Amore was controlled by DONG YIN. As of
13   March 10, 2016, Amore’s Board of Directors was comprised of at least two high level
14   DONG YIN executives, including Yang Zeng, Chairman of the DONG YIN Board,
15   and Xinyi Dong, a DONG YIN executive. CHANG and Guoxing Zhong, who were
16   both directors of COAMI, were also members of the Amore Board of Directors.
17               126. Unbeknownst to Plaintiffs, on or about March 15, 2016, Bronzelink
18   entered into a Facility Agreement with Amore (the “Facility Agreement”), the
19   material terms of which were intentionally concealed from Plaintiffs (the “Secret FA
20   Terms”). Xinyi Dong of DONG YIN signed the Facility Agreement on behalf of
21   Amore.
22               127. MILBANK represented both DONG YIN and Amore in the negotiations
23   and preparation of the Facility Agreement. Plaintiffs are informed and believe, and
24   based thereon allege, that MILBANK and Panahy knew of, and were responsible for,
25   the terms of the Facility Agreement, including the terms by which DONG YIN
26   exercised control over Amore, and through Amore, Bronzelink and GIP-Cayman.
27   //
28   //
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 1               128. The Facility Agreement gave Amore control over Bronzelink. But
 2   because Amore was at all times controlled by DONG YIN, the Facility Agreement
 3   also gave DONG YIN control over Bronzelink, and, therefore, GIP-Cayman, once
 4   Bronzelink acquired its majority ownership interest in GIP-Cayman. Among other
 5   things:
 6               (a)   Part 3 of Schedule 2 to the Facility Agreement provides that Amore has
 7                     the right to approve the appointment of four members to the five-member
 8                     Bronzelink Board of Directors, all of whom would then be appointed as
 9                     GIP-Cayman Board members.
10               (b)   Paragraph 3.1(a)(ii) of the Facility Agreement provides that Bronzelink
11                     shall use the funds it borrows from Amore for “investing in the preferred
12                     equity of [GIP-Cayman] on terms satisfactory to [Amore].”
13               (c)   In Paragraph 14.3 of the Facility Agreement, Bronzelink represents that
14                     the “entry into and performance by it of, and the transactions
15                     contemplated by [the Facility Agreement],” do not and will not conflict
16                     with “any law or regulation applicable to it” or “any agreement or
17                     instrument binding upon it.” (Emphasis added.)
18               129. The result of these relationships and transactions was to secretly
19   eliminate the firewall between GIP-Cayman, the Satellite Project and the Satellite, on
20   the one hand, and DONG YIN and the PRC, on the other hand.
21               130. On or about March 15, 2016, Panahy emailed Mr. Youssefzadeh and
22   Mr. Javed, stating that his law firm was DONG YIN’s counsel and could not act for
23   Bronzelink, adding to the false and misleading impression that DONG YIN and
24   Bronzelink were independent entities.
25               131. On or about the same day, March 15, 2016, Panahy confirmed that his
26   partner in MILBANK’s Hong Kong office had coordinated the Facility Agreement
27   between Amore and Bronzelink, that it had been signed and that funding was
28   “imminent.” These representations were misleading in that they concealed and failed
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 1   to disclose that: (a) certain terms of the Facility Agreement were in conflict with the
 2   pending agreement between Bronzelink and Plaintiffs; and (b) DONG YIN and
 3   Bronzelink were not independently owned and controlled entities that dealt with each
 4   other at arms’ length, but rather Bronzelink was a fraudulent device for DONG YIN to
 5   gain and maintain dominance and control over GIP-Cayman and the Satellite Project.
 6               132. As Panahy well knew, the Secret FA Terms effectively gave DONG YIN
 7   control over the Bronzelink and GIP-Cayman Boards of Directors, notwithstanding
 8   that Panahy had previously warned Mr. Youssefzadeh and Mr. Javed that even
 9   indirect control over GIP-Cayman by a PRC-related entity could create “significant
10   issues.”
11               133. Notwithstanding numerous requests, Panahy refused to provide
12   Mr. Youssefzadeh or Mr. Javed with a copy of the Facility Agreement.
13   G.          The Secret Amore Share Charge Over Bronzelink.
14               134. To further solidify its control over Bronzelink, GIP-Cayman and the
15   Satellite Project, DONG YIN required Charles Yiu, the (nominal) owner of
16   Bronzelink, to execute a Share Charge (the “Secret Charge”) that, among other things,
17   pledged Yiu’s interest in Bronzelink to Amore as security for its loan to Bronzelink
18   and gave Amore virtually unfettered authority to assume full control of Bronzelink in
19   the event of any default of either the Facility Agreement or the Secret Charge.
20               135. Yiu executed the Secret Charge on March 11, 2016. As security for
21   Bronzelink’s obligations under the Facility Agreement, Yiu agreed to charge his
22   interest in all of his Bronzelink shares to Amore.
23               136. The Secret Charge defines an “Event of Default” as “any breach by [Yiu]
24   of any of the provisions of the Loan Agreement or this Charge.”
25               137. The Secret Charge provides that if an “Event of Default” occurs, Amore
26   has the right to remove Yiu, with or without cause. In conjunction with the
27   Secret Charge, Yiu provided (a) a signed “Share Transfer Form” in favor of Amore,
28   which provided that in the Event of Default, all of Yiu’s shares in Bronzelink would
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 1   be sold, transferred or assigned to Amore; (b) a signed “Proxy,” giving Amore his
 2   proxy to vote on his behalf at any meeting of the Bronzelink shareholders, or to
 3   execute a written resolution as the sole shareholder of Bronzelink; (c) a signed but
 4   undated Letter of Resignation and Release; (d) a signed “Authority to Date Letter of
 5   Resignation and Release,” irrevocably authorizing Amore to date and submit the
 6   Letter of Resignation and Release” on behalf of Yiu; (e) a signed “Undertaking” from
 7   Bronzelink to register transfers of the charged shares to Amore; and (f) an irrevocable
 8   letter of instruction to Bronzelink’s registered agent.
 9               138. The existence of the Secret Charge was intentionally concealed and
10   knowingly withheld by MILBANK, DONG YIN and the other Defendant from
11   Plaintiffs.
12   H.          The Discussions Leading up to the Series A Share Purchase Agreement.
13               139. On or about March 28, 2016, Mr. Youssefzadeh sent an email to Panahy
14   requesting a “source of funds” letter for the funds that were to be used to pay for
15   Bronzelink’s investment in GIP-Cayman. Panahy initially refused to provide the
16   letter, stating that “[g]iven our stated concerns regarding the role of DY as a lender,
17   and the need to attenuate PRC interests in both Bronzelink and GIP, having a letter
18   from DY or its counsel ‘on the record’ does not serve the interests of any of the parties
19   to this transaction.”
20               140. On or about April 5, 2016, Panahy, acting as DONG YIN’s counsel,
21   provided his comments to a draft of the SPA by email, representing that he had
22   intended to align the conditions precedent in the SPA with the terms of the Facility
23   Agreement between Amore and Bronzelink. These representations were, at a
24   minimum, misleading in that other material terms of the SPA were contrary to,
25   undermined by, or otherwise subject to the terms of the Facility Agreement.
26               141. On or about April 5, 2016, David Zhang of DONG YIN hand delivered
27   to Mr. Youssefzadeh and Mr. Javed in Washington, D.C. a copy of a letter from
28   DONG YIN to Bronzelink, stating that DONG YIN, acting through Amore, had
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 1   provided debt financing to Bronzelink. The letter further stated that the proceeds of
 2   the loan were being used by Bronzelink to make a $175 million investment in
 3   GIP-Cayman, in accordance with the SPA and the Bronzelink JVA, dated
 4   February 25, 2016. The letter and the cover email were, at a minimum, misleading in
 5   that neither disclosed that Bronzelink was dominated and controlled by DONG YIN,
 6   and was not the independent and stand-alone investment vehicle it had been
 7   represented to be.
 8               142. On or about April 15, 2016, CHANG, using his COAMI email and acting
 9   in his capacity as COAMI’s Executive Director and Co-President, emailed Mr. Javed,
10   whom CHANG knew was in California at the time. CHANG indicated that “we are
11   unable to ask Bronzelink to dispense funds without a much more detailed operating
12   plan. For this we would need, [sic.] including but not limited to a schedule of tasks
13   and critical path to be met, timing and the personnel involved. We can’t disperse
14   funds without knowing specific uses and the milestones and condition to be reached
15   before each payment is made.”
16               143. On or about April 27, 2016, Calvin Tang (“Tang”), a Bronzelink and
17   Plaintiffs are informed and believed, and based thereon allege, a DONG YIN agent,
18   emailed documents to Mr. Javed relating to Amore, including the Certificate of
19   Incorporation and the Certificate of Incumbency. Tang noted that the documents were
20   from DONG YIN with instructions that they were only for opening a HSBC bank
21   account for GIP-Cayman.
22               144. On or about April 27, 2016, CHANG, acting in his capacity as COAMI’s
23   Executive Director and Co-President, spoke by telephone with Mr. Youssefzadeh,
24   who was in Los Angeles County, California, and Mr. Javed, who was in
25   Orange County, California, at that time. CHANG informed Mr. Youssefzadeh and
26   Mr. Javed that DONG YIN wished to hire consultants that CHANG knew and
27   recommended to assist in the operation of GIP-Cayman. Mr. Youssefzadeh and
28   Mr. Javed told CHANG that this was not acceptable and refused to have anyone
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 1   appointed by COAMI or DONG YIN involved in the Satellite Project.
 2               145. On or about April 27 or 28, 2016, David Zhang of DONG YIN and
 3   Panahy, acting as DONG YIN’s counsel, represented to Plaintiffs that Amore was a
 4   wholly-owned subsidiary of DONG YIN.
 5               146. On or about April 28, 2016, Zhang sent an email to Mr. Javed confirming
 6   that DONG YIN owned 100% of Amore.
 7   I.          The Series A Share Purchase Agreement.
 8               147. On or about May 11, 2016, the various parties signed the SPA, the SHA
 9   and the First Amendment to the SHA (the “SHA Amendment”). The parties to those
10   agreements were: GIP-Cayman, Bronzelink, STM Atlantic, Steadyspace, Pourmand
11   (as an individual), Mr. Youssefzadeh (as an individual), Mr. Javed (as an individual)
12   and Irani (as an individual). FAN signed the SPA, the SHA and the SHA Amendment
13   on behalf of Bronzelink; however he is not a party to these agreements and did not
14   sign them in his individual capacity. Neither DONG YIN, COAMI, CHANG,
15   WONG, nor LIU are signatories or parties to the SPA, the SHA, or the
16   SHA Amendment.
17               148. Mr. Youssefzadeh signed all of these documents in California.
18               149. To induce Plaintiffs to enter into the SPA, DONG YIN’s agents and
19   representatives continued to falsely represent to Plaintiffs that DONG YIN would
20   have no control over GIP-Cayman or the Satellite Project, and that Bronzelink was a
21   stand-alone, fully independent investment vehicle, thus ensuring compliance with U.S.
22   export control laws. By way of example:
23               (a)   On or about February 23, 2016, during a meeting in Washington, D.C.,
24                     FAN falsely represented to Mr. Youssefzadeh, Mr. Javed, Pourmand and
25                     Irani that Bronzelink was an independent, stand-alone entity with no
26                     affiliation to DONG YIN.
27               (b)   On or about May 11, 2016, the day after the signing of the SPA, during a
28                     dinner in Hong Kong organized by Bronzelink, Yang Zeng of
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 1                     DONG YIN falsely confirmed that DONG YIN was merely a lender, and
 2                     that it would have no control or influence over GIP-Cayman or the
 3                     Satellite Project.
 4               150. As a result of these false representations, Plaintiffs continued to believe
 5   that DONG YIN was merely a lender and that Bronzelink was an independent entity
 6   that was not and would not be subject to DONG YIN’s control or influence.
 7               151. Pursuant to the SPA, GIP-Cayman agreed to issue and sell to Bronzelink
 8   an aggregate of 30,000,000 newly issued Series A convertible preferred shares (the
 9   “Series A Preferred Shares”). These Series A Preferred Shares represented a 75%
10   ownership interest in GIP-Cayman. At the same time, the SPA reduced Plaintiffs’
11   controlling ownership interest in GIP-Cayman from 63% to a minority interest of
12   15.75%. Plaintiffs understood, based on the false representations and promises made
13   to them by DONG YIN’s agents, that GIP-Cayman would be under the control of an
14   independent Board of Directors and managed by a CEO approved by Plaintiffs,
15   without any control or influence by DONG YIN or its representatives. In fact, not
16   only was the Board dominated and controlled by DONG YIN, but it ultimately did not
17   allow Plaintiffs to have any say in the governance of GIP-Cayman.
18               152. Bronzelink agreed to purchase the Series A Preferred Shares for a lump
19   sum payment of US$175,000,000, paid to GIP-Cayman (the “Equity Investment”).
20   Bronzelink also agreed to provide a US$25,000,000 line of credit to GIP-Cayman. As
21   a result of these transactions, and the false and fraudulent representations and
22   promises and concealment of material facts described above, Plaintiffs parted with
23   their controlling ownership interest in the Satellite Project without receiving any
24   remuneration under the SPA.
25               153. In addition, as a condition to the closing between Bronzelink and
26   GIP-Cayman, Plaintiffs were required to provide Bronzelink with confidential,
27   proprietary and valuable documents, information and data that had been created as
28   part of the Satellite Project, including:
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 1               (a)   A signed Letter of Intent (“LOI”) for entering into a Satellite
 2                     Manufacture Agreement between GIP-Cayman and a reputable satellite
 3                     manufacturer (such as SSL-Loral, Boeing, or Airbus), along with a draft
 4                     agreement;
 5               (b)   A signed insurance rate-locking instrument issued by a reputable
 6                     insurance broker to GIP-Cayman;
 7               (c)   The “High Throughput Ka-Band Satellite Project for Africa Demand and
 8                     Supply Analysis and Outline Project for Africa Demand and Supply
 9                     Analysis and Outline Project Assessment,” conducted by COMSYS of
10                     the United Kingdom;
11               (d)   A “Milestones of Progress” document setting forth in detail planning
12                     schedules, payment schedules, timetables, milestones and documents for
13                     the development, fabrication and launch of the satellite;
14               (e)   GIP-Cayman’s confidential marketing plan for the Pre-Launch Market
15                     Development;
16               (f)   A comfort letter from the satellite manufacturer that it will support an
17                     application for a loan from EXIM Bank; and
18               (g)   Written confirmation from Norwegian counsel for GIP-Cayman, in form
19                     and substance reasonably satisfactory to Bronzelink and its lenders,
20                     confirming that the ownership of Dub Dub had been properly transferred
21                     to GIP-Cayman, and that the transfer did not invalidate, or in any way
22                     otherwise adversely affect, Dub Dub’s rights to the Orbital Slots and
23                     associated radio-frequency use licenses.
24               154. As a further condition to the closing, STM Group was required to assign
25   the valuable Global-IP trademark to GIP-Cayman.
26               155. All of these deliverables were of tremendous value, representing years of
27   work and millions of dollars of investment by Plaintiffs. They were all transferred or
28   conveyed to Bronzelink or GIP-Cayman prior to the closing, in reliance on
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 1   Defendants’ false pretenses, representations, promises and concealment of material
 2   facts.
 3               156. At all relevant times, Plaintiffs maintained their share certificates in
 4   GIP-Cayman and the confidential and proprietary documents, information and data
 5   that they provided to Bronzelink in California.
 6   J.          The Shareholders Agreement.
 7               157. On or about June 1, 2016, GIP-Cayman amended and restated its
 8   Memorandum of Association and Articles of Association to reflect the terms of the
 9   SHA.
10               158. On or about June 2, 2016, during a Skype call amongst FAN, WONG,
11   Yiu, Tang and Mr. Javed, FAN began requesting additional materials that were not
12   deliverables under the SHA. FAN indicated that these materials were requested by
13   DONG YIN. Mr. Javed objected because DONG YIN was only the lender and had no
14   right to, or any need for, any of these materials. FAN later telephoned Mr. Javed to
15   convince him to proceed with the closing, again falsely representing and promising
16   that DONG YIN and Bronzelink were, and would remain, two completely distinct and
17   unrelated entities, and that after the closing DONG YIN would not have any control
18   over or say in the governance, management, or operations of GIP-Cayman. Further,
19   FAN falsely assured Mr. Javed that after the closing, Bronzelink would have an
20   independent Board of Directors, which would make all decisions free of
21   DONG YIN’s influence.
22               159. On or about June 3, 2016, Bronzelink and Plaintiffs finalized and
23   executed the closing documents for the SHA. Mr. Youssefzadeh executed the closing
24   documents in California.
25               160. Under the SHA, Bronzelink was not supposed to be a mere passive
26   investor in GIP-Cayman; rather, it was supposed to have an independent role in the
27   governance, management and operations of GIP-Cayman. By way of example:
28   //
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 1               (a)   The SHA provided that Bronzelink would control the GIP-Cayman
 2                     Board of Directors. Paragraph 3.2 of the SHA provided that the
 3                     GIP-Cayman Board of Directors shall have nine members. Paragraph 3.3
 4                     provided that Bronzelink is entitled to appoint six members to the
 5                     GIP-Cayman Board (the “Bronzelink Directors”), and that Plaintiffs and
 6                     Pourmand are entitled to appoint three members (the “Common
 7                     Directors”).
 8               (b)   Paragraph 3.5 provided that Bronzelink has the right to designate the
 9                     Chairman of the GIP-Cayman Board of Directors.
10               (c)   Paragraph 3.12 provided that Plaintiffs have the right to select the CEO
11                     of GIP-Cayman, but that Bronzelink had the right to select the Chief
12                     Financial Officer.
13               (d)   Paragraph 6 provided that GIP-Cayman is responsible for securing
14                     Export Credit Agency (“ECA”) or other non-recourse or limited-recourse
15                     project financing in an amount anticipated to be up to US$475,000,000.
16               (e)   Paragraph 8 placed significant restrictions on the ability of Plaintiffs to
17                     transfer their shares in GIP-Cayman.
18               161. After the SHA was signed, DONG YIN continued to conceal and
19   disguise its ownership and control of GIP-Cayman and the Satellite Project. As one
20   example, soon after the closing, in early June 2016, Mr. Youssefzadeh drafted a press
21   release to announce Bronzelink’s investment. On or about June 7, 2016, WONG
22   rejected the idea of issuing a press release at that time. In an email, he stated that he
23   did not want to jeopardize the $25 million line of credit from Amore and, “therefore
24   for the moment being, we should corporate [sic] and listen to the opinion from
25   relevant party in order to facilitate more smooth business corporation [sic] going
26   forward.” WONG’s professed concern that Bronzelink needed to appease Amore was
27   pretextual; Plaintiffs are informed and believe, and based thereon allege, that
28   WONG’s actual concern was to keep the true extent of DONG YIN’s ownership and
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 1   control of Amore and Bronzelink hidden.
 2   K.          Plaintiffs Discover Material Inconsistencies Between the SHA and the
 3               Amore Facility Agreement.
 4               162. In discussions with DONG YIN’s agents and attorneys, including FAN,
 5   Henry Fan and Panahy, about various issues related to the SHA, Plaintiffs repeatedly
 6   asked to see the Amore Facility Agreement. Those requests were consistently rejected
 7   without explanation.
 8               163. In or about mid-2017, after resigning from their employment at GIP,
 9   Plaintiffs by happenstance found and were able to review an electronic copy of the
10   Facility Agreement.
11               164. As a result of that review, Mr. Youssefzadeh and Mr. Javed discovered
12   that the Facility Agreement contained provisions that gave Amore control of
13   Bronzelink and GIP-Cayman, which meant that, in reality, DONG YIN was, all along,
14   in control of Bronzelink and GIP-Cayman. Moreover, some of the other provisions in
15   the Facility Agreement were in direct conflict with the terms of the SHA, precluding
16   Bronzelink from meeting its obligations under the SHA.
17               165. Based on this review, Plaintiffs realized that, despite their promise to
18   limit DONG YIN’s role to that of a lender, MILBANK and Panahy had actually
19   agreed, conspired and schemed with DONG YIN and its agents to obtain control of
20   the Satellite Project. Among other things:
21               (a)   Under the Facility Agreement, Amore has the power to approve the
22                     appointment of four directors to the Bronzelink Board of Directors, and
23                     those same four directors had to be appointed to the GIP-Cayman Board
24                     of Directors. Given that Amore was controlled and dominated by
25                     DONG YIN, this provision effectively gave DONG YIN control over
26                     GIP-Cayman.
27               (b)   The Facility Agreement requires Bronzelink to provide Amore with free
28                     access at all reasonable times to the GIP-Cayman premises, assets, books,
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 1                     accounts, records and senior management. The SHA does not provide
 2                     for such access. Plaintiffs would never have agreed to or allowed such
 3                     access, especially given DONG YIN’s dominance and control over
 4                     Amore, and its affiliation with the PRC.
 5               (c)   The Facility Agreement provides that Amore must approve all
 6                     GIP-Cayman contracts in excess of $1,000,000. There is no such
 7                     restriction in the SHA. Furthermore, that restriction is inconsistent with
 8                     the understanding between Bronzelink and Plaintiffs that GIP-Cayman
 9                     would be a stand-alone company governed by an independent board of
10                     directors.
11               (d)   The Facility Agreement requires GIP-Cayman to allow Amore to engage
12                     a financial advisor, technical consultant, marketing consultant and tax
13                     expert for GIP-Cayman, at GIP-Cayman’s expense. The SHA has no
14                     such provision. Moreover, especially given DONG YIN’s dominance
15                     and control over Amore, Plaintiffs would never have agreed to or allowed
16                     Amore to have such involvement in and influence over the policies,
17                     direction and operations of GIP-Cayman.
18               (e)   Under the Facility Agreement, Bronzelink was required to use reasonable
19                     efforts to prevent GIP-Cayman from entering into any joint venture.
20                     There is no such restriction in the SHA, nor would Plaintiffs have agreed
21                     to or allowed such a restriction. In fact, this secret restriction directly
22                     impacted GIP-Cayman’s ability to enter into a proposed joint venture
23                     with a technology company that Mr. Youssefzadeh and Mr. Javed had
24                     determined was a fundamental element of the Satellite Project’s business
25                     plan. When, on or about June 12, 2017, Mr. Youssefzadeh sent a detailed
26                     memorandum to the GIP-Cayman Board of Directors outlining the
27                     proposed joint venture and asking for permission to proceed, the Board
28                     did not respond. Plaintiffs are informed and believe, and based thereon
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 1                     allege, that the Board failed to act because, under the Facility Agreement,
 2                     Bronzelink could not permit GIP-Cayman to enter into any such joint
 3                     venture.
 4               (f)   Under the Facility Agreement, Bronzelink gave Amore a charge over the
 5                     GIP-Cayman shares owned by Bronzelink. This provision conflicts with
 6                     the SHA, which allows GIP-Cayman to demand that Bronzelink provide
 7                     its shares in GIP-Cayman to an ECA, or alternative lender, as additional
 8                     collateral.
 9               (g)   Under the Facility Agreement, GIP-Cayman is precluded from creating a
10                     stock option pool. The SHA, however, allows GIP-Cayman to create
11                     such a pool for its key employees, which was important if GIP-Cayman
12                     was to attract personnel with the skills, expertise and experience needed
13                     to work on the Satellite Project.
14               (h)   Under the Facility Agreement, GIP-Cayman could only raise additional
15                     funds through ECA financing. But neither the Bronzelink JVA nor the
16                     SHA contain any such limitation. To the contrary, both of those
17                     agreements allow GIP-Cayman to raise funds from either an ECA or an
18                     alternative lending source. Plaintiffs are informed and believe, and based
19                     thereon allege, that this secret restriction in the Facility Agreement was
20                     one reason that the GIP-Cayman Board refused to consider the Citigroup
21                     debt financing proposal (discussed below), because approving that
22                     proposal would have placed Bronzelink in breach of its agreement with
23                     Amore.
24   L.          The Officers and Directors of GIP-Cayman and GIP-USA.
25               166. In accordance with an oral agreement between Plaintiffs and Bronzelink,
26   three of the six directors Bronzelink appointed to the GIP-Cayman Board were to be
27   independent (i.e., not have any affiliation with Bronzelink other than their
28   directorships) and would be satellite industry professionals.
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 1               167. On or about May 31, 2016, Plaintiffs were informed that Bronzelink’s
 2   nominations of its GIP-Cayman Series-A directors consisted of:
 3   (a) FAN; (b) WONG; (c) LIU; (d) Guanhong (Jason) Luo (“Luo”); (e) Julian
 4   Zhongliang Zhao (“Zhao”); and (f) Wang Zheng (“Zheng”).
 5               168. Mr. Javed requested a call with Panahy to ask if these nominees were
 6   independent of, and unaffiliated with, the PRC, and sent a text listing the names of the
 7   Bronzelink directors to Panahy. During a telephone conference on or about May 31,
 8   2016, Panahy, acting as DONG YIN’s counsel, represented to Mr. Javed that: (a) four
 9   of the Bronzelink-nominated directors—LIU, Zheng, Luo and Zhao—were
10   completely independent and unaffiliated with DONG YIN; and (b) since there would
11   be four independent Bronzelink-appointed directors and three Common directors,
12   GIP-Cayman would have solid protection from PRC control and influence. Panahy
13   further represented to Mr. Javed that, although WONG worked for Bronzelink, he was
14   not affiliated with DONG YIN.
15               169. Panahy’s representations were false and misleading. In fact, at all
16   relevant times: (a) FAN, WONG and LIU were agents of DONG YIN, and were
17   acting within the course and scope of their agency and for the sole or primary benefit
18   of DONG YIN; (b) WONG and LIU routinely acted at FAN’s direction and did his
19   bidding; (c) neither WONG nor LIU exercised any meaningful independence in
20   making decisions as members of the GIP-Cayman Board of Directors or with respect
21   to the governance, management and operations of GIP-Cayman and GIP-USA; and
22   (d) WONG was related to Xinyi Dong, an Amore director and high-level DONG YIN
23   executive.
24               170. On or about June 21, 2016, the first GIP-Cayman Board of Directors
25   meeting was held in Hong Kong. The Board appointed Luo as the Chairman of the
26   Board. Pourmand was appointed CEO of GIP-Cayman.
27               171. In fact, prior to the Board meeting, Pourmand had secretly negotiated his
28   compensation as the CEO of GIP-Cayman with FAN, and had received a very
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 1   favorable contract to ensure his loyalty to FAN and ultimately DONG YIN. FAN
 2   negotiated Pourmand’s contract without Plaintiffs’ involvement or approval even
 3   though: (a) the SHA provides that Plaintiffs and Pourmand would collectively
 4   nominate the CEO; and (b) the CEO’s compensation should have been approved by
 5   the GIP-Cayman Board of Directors and/or the GIP-Cayman Compensation
 6   Committee, of which Mr. Youssefzadeh was a member.
 7   M.          MILBANK Becomes GIP-Cayman’s Outside Counsel.
 8               172. On or about July 13, 2016, GIP-Cayman engaged MILBANK as its
 9   outside corporate counsel to advise it about, among other things, regulatory matters.
10   MILBANK accepted that engagement even though it continued to represent
11   DONG YIN in other, purportedly unrelated matters.
12   N.          GIP-USA Is Formed.
13               173. In or about August 2016, GIP-USA was formed as a wholly owned
14   subsidiary of GIP-Cayman. At all relevant times, the GIP-Cayman Board of Directors
15   controlled the direction and governance of GIP-USA, which meant that DONG YIN,
16   through Amore, Bronzelink and GIP-Cayman, controlled GIP-USA.
17               174. After GIP-USA was formed, WONG and LIU, along with Mr. Javed,
18   became members of the GIP-USA Board of Directors. Because the GIP-USA Board
19   consisted of only three members, at all relevant times, DONG YIN, through WONG
20   and LIU, possessed and was able to exercise control over the GIP-USA board.
21   O.          The False Certification to SpaceX and GIP-Cayman’s Export Control
22               Obligations Under the Boeing Contract.
23               175. On or about August 5, 2016, in reliance on the false representations and
24   promises described above, Mr. Javed, on behalf of GIP-Cayman, certified to SpaceX
25   that GIP-Cayman was not “owned or controlled, or acting on behalf of, directly or
26   indirectly, any individuals or entities domiciled, headquartered, incorporated, residing
27   in or otherwise affiliated with [the PRC or other specified countries].” Unbeknownst
28   to Mr. Javed at the time, this certification was false because GIP-Cayman was under
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 1   the dominance and control of DONG YIN. If Mr. Javed had known the true facts, he
 2   would not have made this certification to SpaceX.
 3               176. On or about August 28, 2016, GIP-Cayman entered into a contract with
 4   Boeing to design, develop, manufacture, test and transport the satellite to the launch
 5   site, and to provide launch support and other services for the Satellite Project. The
 6   contract specifically provided that:
 7               (a)   “The Contract Deliverable Data, Satellite, and any other hardware
 8                     (‘Products’) furnished under this Contract are subject the U.S.
 9                     International Traffic in Arms Regulations (the ‘ITAR’) or the U.S.
10                     Export Administration Regulations (the ‘EAR’).”
11               (b)   “The Products furnished under this Contract are subject to the ITAR or
12                     the EAR and will be authorized by the United States Government for
13                     export only to Customer in North Atlantic Treaty Organization or major
14                     non-North Atlantic Treaty Organization ally countries, as recognized at
15                     the time by the USG, or to the Designated Launch Site for launch into
16                     space. Customer represents and warrants that the ultimate end use of the
17                     Products is for commercial purposes. The Products may not be resold,
18                     diverted, transferred, trans-shipped or otherwise disposed of in any other
19                     country or in any other manner, either in their original form or after being
20                     incorporated through an intermediate process into other end items,
21                     without the prior written approval of the United States Government,
22                     which approvals are the sole responsibility of Customer. Additionally,
23                     transferring registration, control or ownership to any other person or
24                     business entity of the Products furnished under this Contract is
25                     considered an export and as such also requires prior written approval
26                     from the United States Government, which approvals are the sole
27                     responsibility of Customer.”
28   //
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 1               177. Mr. Youssefzadeh signed the contract on behalf of GIP-Cayman, not
 2   knowing that GIP-Cayman was under the dominance and control of DONG YIN. If
 3   Mr. Youssefzadeh had known the true facts, he would not have signed this contract.
 4               178. Plaintiffs are informed and believe, and based thereon allege, that if
 5   Defendants had disclosed to Boeing and SpaceX the true relationship between
 6   DONG YIN and the PRC, on the one hand, and GIP-Cayman, GIP-USA and the
 7   Satellite Project, on the other hand, Boeing and SpaceX would never have entered into
 8   contracts with GIP-Cayman to build and launch the satellite, and would never have
 9   given GIP-Cayman and GIP-USA access to satellite and launch technology and data
10   subject to ITAR, the EAR and the PRC Proscription.
11               179. Plaintiffs are further informed and believe, and based thereon allege, that
12   the false and fraudulent representations Defendants caused Plaintiffs and GIP-Cayman
13   to make to SpaceX and Boeing were intended to cause SpaceX and Boeing to transfer
14   satellite and launch technology and data to GIP-Cayman. As a result, DONG YIN,
15   through its control of GIP-Cayman, would then be able to obtain access to that
16   technology and data, in violation of the export control laws, including without
17   limitation, Title 15, Code of Federal Regulations, section 734.13.
18   P.          The Employment Contracts.
19               180. In or about September 2016, Pourmand’s employment agreement was
20   modified. Although he retained the title of CEO, he was stripped of his authority and
21   responsibilities as CEO. The amendment to Mr. Pourmand’s employment agreement
22   states: “The Employee shall not be expected to perform the duties customarily
23   associated with the title of Chief Executive Officer and shall not have the authority to
24   bind the Company as the Chief Executive Officer . . . notwithstanding anything to the
25   contrary in the organizational documents of the Company.” At that time,
26   Mr. Youssefzadeh was asked by FAN, and orally agreed, to act as the de facto CEO of
27   GIP-Cayman and GIP-USA, and assumed the duties, responsibilities and authority of
28   CEO of both companies.
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 1               181. Effective October 1, 2016, Mr. Youssefzadeh entered into parallel written
 2   employment agreements with GIP-Cayman and GIP-USA.
 3               182. Mr. Youssefzadeh’s employment agreement with GIP-USA provided that
 4   he was to perform the duties of GIP-USA’s Chief Technical Officer (“CTO”) and
 5   Chairman of the Management Committee. It provided that he was to render those
 6   services at GIP-USA’s offices in El Segundo, California.
 7               183. Mr. Youssefzadeh’s employment agreement with GIP-USA further
 8   provided that his annual compensation was $500,000, which would automatically be
 9   adjusted upward to $620,000 per year, with a cash bonus, on the date that
10   GIP-Cayman or GIP-USA received debt financing.
11               184. Mr. Youssefzadeh’s employment agreement with GIP-Cayman contained
12   similar provisions, and named him GIP-Cayman’s CTO and Chairman of the
13   Management Committee.
14               185. Mr. Youssefzadeh’s GIP-Cayman employment agreement provided for
15   an additional $250,000 in annual compensation, to be automatically increased to
16   $300,000 per year, with an additional cash bonus, on the date that GIP-Cayman or
17   GIP-USA received debt financing.
18               186. Effective October 1, 2016, Mr. Javed also entered into written
19   employment agreements with GIP-Cayman and GIP-USA.
20               187. Mr. Javed’s employment agreement with GIP-USA provided that he was
21   to perform the duties of GIP-USA’s President and Chief Operating Officer (“COO”).
22   It provided that he was to render those services at GIP-USA’s offices in El Segundo,
23   California.
24               188. Mr. Javed’s employment agreement with GIP-USA further provided that
25   his annual compensation was $400,000, which would be automatically adjusted
26   upward to $500,000 per year, with a cash bonus, on the date that GIP-Cayman or
27   GIP-USA received debt financing.
28   //
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 1               189. Mr. Javed’s employment agreement with GIP-Cayman contained similar
 2   provisions and named him GIP-Cayman’s President and COO. It provided for an
 3   additional $150,000 in annual compensation, to be automatically increased to
 4   $190,000 per year, with a cash bonus, on the date that GIP-Cayman or GIP-USA
 5   received debt financing.
 6   Q.          DONG YIN’s Exercise of Dominance and Control Over the Governance,
 7               Management and Operations of the Satellite Project.
 8               190. Prior to the execution of the SPA and SHA, and even before appointment
 9   of the GIP-Cayman Board of Directors, DONG YIN, through its agents and
10   co-conspirators, began to assert dominance and control over the governance,
11   management and operations of the Satellite Project.
12               191. On or about April 15, 2016, CHANG, acting in his capacity as COAMI’s
13   Executive Director and Co-President, emailed Mr. Javed in California, requesting
14   GIP-Cayman’s detailed operating plan, including schedule of tasks, critical paths,
15   timing and personnel needed, and indicating that Amore was unwilling to grant
16   authorization for Bronzelink to disburse funds without knowing more about the
17   specific uses, milestones and conditions.
18               192. On multiple occasions, including on or about April 18, 27, 29 and May 3,
19   2016, FAN, WONG and Yiu, each separately emailed Mr. Youssefzadeh and
20   Mr. Javed to request a detailed operating plan, including the schedule of tasks, critical
21   paths, timing, personnel needed and milestones for the Satellite Project.
22               193. During a telephone call on or about April 23, 2016, Bronzelink notified
23   Mr. Youssefzadeh and Mr. Javed that FAN would lead the Bronzelink team; WONG
24   would coordinate all Bronzelink related matters; Yiu would be the contact for
25   Bronzelink’s business decisions; and Tang would be the contact for the parties’ legal
26   team. Soon after the call, WONG emailed Mr. Javed, indicating that FAN had
27   appointed WONG as signatory to the GIP-Cayman HSBC bank account, even though
28   FAN lacked the executive powers or authority to do so.
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 1               194. On or about April 27, 2016, FAN emailed Mr. Youssefzadeh and
 2   Mr. Javed, asking that they travel to Hong Kong to meet the following week, and
 3   requesting a detailed work plan (including milestones, timeframe and staff
 4   arrangements), a detailed budget plan and a detailed operation plan for GIP-Cayman.
 5               195. On or about April 27, 2016, CHANG, acting in his capacity as COAMI’s
 6   Executive Director and Co-President, had a telephone conversation with
 7   Mr. Youssefzadeh, who was in Orange County, California, and Mr. Javed, who was in
 8   Los Angeles, California at the time, stating that DONG YIN wished to hire
 9   management consultants that CHANG knew to assist in the operation of GIP-Cayman.
10               196. On or about April 29, 2016, WONG emailed Pourmand, copying
11   Mr. Youssefzadeh and Mr. Javed, indicating that FAN expected to receive the
12   documents and information he had demanded, relating to the work, budget and
13   operational plans, by May 4, 2016, prior to Mr. Youssefzadeh’s and Mr. Javed’s
14   planned visit to Hong Kong.
15               197. On or about May 3, 2016, Tang emailed Pourmand, requesting that the
16   GIP-Cayman team bring the work, budget and operational plans with them to Hong
17   Kong, so that they could be discussed during meetings scheduled for May 9 and 10,
18   2016.
19               198. On or about July 8, 2016, Tang prepared and circulated drafts of charts
20   showing GIP-Cayman’s organizational structure, delineating the respective duties and
21   responsibilities of the GIP-Cayman Board and its executives. The proposed charts
22   required GIP-Cayman executives to seek approval from the DONG YIN controlled
23   Board of Directors for decisions and activities that are typically within the exclusive
24   purview of a company’s executives and managers, including, for example:
25   (a) issuance of press releases, company publications and public statements that do not
26   involve financial matters; (b) entering into equipment leases; (c) maintenance of
27   general ledger and operating expenditures; (d) contact with regulators and other
28   governmental authorities; (e) hiring and termination of staff; (f) computer access;
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 1   (g) authorizing sales and marketing at operational levels; (h) authorizing domestic and
 2   international travel for staff; and (i) authorizing communications with the company’s
 3   bankers and signing checks on behalf of the company.
 4               199. On or about July 15, 2016, FAN travelled to Washington, D.C. to meet
 5   with Mr. Youssefzadeh, Mr. Javed and Pourmand, in advance of holding a
 6   GIP-Cayman Board meeting in Washington, D.C. FAN wanted to inspect and
 7   approve offices that Pourmand had located in Maryland and formalize LIU’s position
 8   as GIP-Cayman’s Controller, which are typically matters handled by the company’s
 9   executives and managers and not by an individual director.
10               200. At the July 18, 2016 GIP-Cayman Board meeting in Washington, D.C.,
11   Mr. Youssefzadeh presented the status of negotiations with Boeing and another
12   contractor, SSL, and recommended that the company sign an LOI with Boeing, which
13   was approved by the Board.
14               201. At the same Board meeting, it was agreed that after execution of the
15   Boeing LOI, $10 million would be transferred from GIP-Cayman’s Hong Kong bank
16   account for capital expenditures. Despite that this was the Board’s decision, WONG
17   took control of the transaction, emailed GIP-Cayman and instructed that the $10
18   million payment instead be made from GIP-Cayman’s HSBC account in the U.S.
19               202. On or about July 29, 2016, after the Boeing LOI was finalized and
20   reviewed by Panahy, Mr. Youssefzadeh requested authorization from Luo, Chairman
21   of the GIP-Cayman Board of Directors, to execute the Boeing LOI. In response, Luo
22   emailed that “[he] would like Mr. FAN/DONG YIN to review/agreed [sic][the Letter
23   of Intent] before we move on.” Later that day, WONG sent an email, copying Terry
24   Long of DONG YIN. In further response to Mr. Youssefzadeh’s request, WONG
25   wrote that “[t]his is to confirm we can move on, you have the agreement from both
26   parties to proceed.”
27               203. FAN, WONG and Yiu came to Los Angeles on or about
28   August 23, 2016, to meet with Mr. Youssefzadeh, Mr. Javed and Pourmand
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 1   individually, followed by a group meeting. During these meetings, FAN and WONG
 2   made several statements revealing that they were acting at DONG YIN’s direction and
 3   on its behalf in matters relating to the Satellite Project. By way of example:
 4               (a)   Even though the GIP-Cayman Board had authorized Mr. Youssefzadeh to
 5                     proceed with finalizing a definitive agreement with Boeing, WONG told
 6                     Mr. Javed that he was reluctant to release the formal authorization to do
 7                     so because of pressure from FAN, who was waiting for the final “go
 8                     ahead” from DONG YIN.
 9               (b)   When Mr. Javed warned FAN that GIP-Cayman was on the verge of
10                     missing a deadline with Boeing, FAN refused to take any action, saying
11                     that he did not have permission from DONG YIN to act.
12               (c)   At every opportunity, FAN sought to interject himself into the day-to-day
13                     operations of GIP-Cayman and GIP-USA, which was inappropriate for
14                     an individual director with no executive or managerial position within the
15                     company. Among other things, FAN and his team wanted to read each
16                     and every document that was being negotiated between GIP-Cayman and
17                     Boeing, and demanded to know every detail of the commercial and
18                     technical negotiations and updates.
19               204. Concerned with FAN’s encroachment into the company’s management
20   and operations, on or about August 24, 2016, Mr. Javed sent an email to Tang,
21   insisting on full compliance with the export control laws.
22               205. On or about September 20, 2016, WONG emailed Mr. Youssefzadeh,
23   Mr. Javed and Pourmand with an agenda for the third GIP-Cayman Board meeting,
24   which was to be held in Hong Kong. WONG requested updates from Pourmand
25   (CEO update); Mr. Javed (business & market plan update) and Mr. Youssefzadeh
26   (technical update).
27               206. On or about October 14, 2016, WONG emailed Mr. Youssefzadeh,
28   Mr. Javed and Pourmand concerning FAN’s and WONG’s plans to visit Los Angeles,
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 1   California, on October 18, 2016, and requesting a meeting to discuss: (a) the
 2   relationship and strategic partnership with Boeing; (b) ECA debt financing; (c) sales
 3   and marketing; (d) the roles and duties of GIP-Cayman’s management team; (e) the
 4   GIP-Cayman business plan; and (f) hiring staff.
 5               207. FAN and WONG visited the GIP-Cayman offices in El Segundo,
 6   California, on or about October 18, 19 and 20, 2016. The purpose of that visit was to
 7   discuss the six matters listed above, even though those matters were within the
 8   purview of GIP-Cayman’s executives and managers and not individual members of
 9   the GIP-Cayman Board of Directors.
10               208. During the months that followed, Mr. Youssefzadeh and Mr. Javed
11   observed that FAN controlled the GIP-Cayman Board of Directors, and that WONG,
12   LIU and other directors routinely acted at his direction and did his bidding, without
13   regard for their duties and responsibilities to GIP-Cayman. By way of example:
14               (a)   On or about October 26, 2016, WONG emailed Mr. Javed, attaching a
15                     revised GIP-Cayman financial model, requesting his input before he sent
16                     it to FAN.
17               (b)   On or about October 26 and 27, 2016, WONG and Mr. Javed exchanged
18                     drafts of the GIP-Cayman internal organization chart by email, which
19                     was subject to review and finalization by FAN.
20               (c)   On or about November 1, 2016, FAN requested that a financial advisor at
21                     Wells Fargo Advisors open an investment account for GIP-Cayman for
22                     cash management purposes. When the advisor asked for clarification,
23                     LIU responded that they would need clarification from FAN.
24               (d)   On or about November 5, 2016, WONG emailed Mr. Javed to request his
25                     input on the GIP-Cayman financial model, stating that he wanted to
26                     present the financial model to FAN for his final review.
27               (e)   On or about November 17, 2016, FAN emailed Mr. Youssefzadeh,
28                     Mr. Javed and Pourmand requesting an update on the meeting in
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 1                     South Africa, and the status of marketing attempts in Ethiopia.
 2               (f)   On or about November 18, 2016, Tang emailed Mr. Javed, requesting
 3                     technical details for Multi-Beam Architecture, Beam Size, Broadcasting,
 4                     Design Process, Capacity Allocation and coverage map, which raised red
 5                     flags for Mr. Javed regarding compliance with U.S. export control laws.
 6               (g)   On or about November 18, 2016, FAN emailed Mr. Javed, suggesting
 7                     creation of a price management department responsible for pricing
 8                     mechanism implementation, control and incentives.
 9               (h)   On or about December 20, 2016, Mr. Youssefzadeh provided WONG
10                     with an update concerning negotiations with SpaceX and Arianespace as
11                     potential launch service providers. WONG thereafter replied by email
12                     that he would “inform Mr. FAN [of] the same.”
13               (i)   On or about December 21, 2016, Peter Lui, GIP-Cayman’s CFO,
14                     forwarded to LIU email exchanges between Mr. Youssefzadeh and
15                     Arianespace relating to launch services. LIU requested that Peter Lui
16                     copy “Tony & Co” on any correspondence between GIP-Cayman and
17                     Arianespace.
18               209. These requests, actions and approvals are normally within the purview of
19   a company’s executives or managers and not individual board members, much less a
20   lender’s attorney and agent such as FAN.
21               210. On or about November 18, 2016, Tang sent an email to Mr. Javed
22   requesting confidential and sensitive technical information regarding the Satellite
23   Project that was subject to ITAR, the EAR and the PRC Proscription. Mr. Javed
24   responded on November 19, 2016, refusing to provide the requested technical data. In
25   his email, Mr. Javed stated as follows:
26               Your questions below has raised a red flag and made Emil quite
                 concerned. He has shared his concerns with Bahram [Pourmand] and I
27               and as such you will not receive any reply from him.
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                 As you are well aware, we all are operating based on the understanding
 1               that Bronzelink is an investor in Global-IP and other than its investment
                 interest it has no intentions to extract technical information which may
 2               violate Global-IP’s [export laws] compliance obligations.
 3               Your questions below for sure has crossed the line. Please confirm to us
                 urgently that NO information from Global-IP is being shared with anyone
 4               outside Bronzelink and Bronzelink is not using the information for any
                 purpose other than monitoring the company’s general progress. Also, in
 5               the future, please refrain from inquiring about information which goes
                 beyond what Global-IP can share publicly.
 6

 7               211. On or about November 20, 2016, Tang responded, falsely assuring
 8   Plaintiffs that the information he had requested was intended to be “used internally for
 9   monitoring the general progress of the company.” Plaintiffs are informed and believe,
10   and based thereon allege, that, in fact, Defendants did not request this information to
11   monitor GIP-Cayman’s progress, but in an attempt to obtain confidential and sensitive
12   technical information in violation of U.S. export control laws and in furtherance of
13   DONG YIN’s plans and efforts to obtain control of the Satellite Project.
14               212. In or about November 2016, GIP-Cayman and GIP-USA hired
15   Chris Chen as their General Counsel. Prior to hiring Chen, FAN and WONG had
16   mandated that while the General Counsel would report to Mr. Javed, he had to be
17   fluent in Chinese (so that they could freely interact with him). After Mr. Javed
18   referred Chen as a qualified candidate, unbeknownst to Mr. Javed, WONG flew Chen
19   to Hong Kong for interviews with DONG YIN representatives before allowing the
20   Board to consider and approve his hiring.
21               213. On or about December 8, 2016, the GIP-Cayman Board of Directors held
22   a meeting at the company’s office in El Segundo, California. At that meeting, WONG
23   requested a two-week delay before any Board resolutions were approved. Plaintiffs
24   are informed and believe, and based thereon allege, that the reason WONG requested
25   this delay was to have time to first present the resolutions to DONG YIN for its
26   approval, before any contemplated Board actions.
27               214. At the December 8, 2016 Board meeting, the Board approved the
28   selection of SpaceX as the launch service provider. The formal approval of the
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 1   SpaceX contract, however, was delayed for three months by FAN and WONG.
 2   Plaintiffs are informed and believe, and based thereon allege, that FAN and WONG
 3   delayed Board approval of the SpaceX contract because they first needed to obtain
 4   DONG YIN’s approval. As a result, the SpaceX contract was not signed until on or
 5   about March 7, 2017.
 6               215. Also at the December 8, 2016 Board meeting, WONG proposed that
 7   Board members be compensated. Mr. Youssefzadeh objected, stating that this was
 8   typically an issue that should be addressed by the Board’s Compensation Committee.
 9   Although WONG had no authority to decide the issue, he overruled Mr. Youssefzadeh
10   and stated that compensation would be paid pursuant to previous agreements between
11   Bronzelink and directors who had contracts.
12               216. On or about January 9, 2017, Luo inquired regarding when GIP-Cayman
13   would pay Board members their fees for 2016. WONG responded that, “[w]e are
14   currently arranging for the payment for the outstanding directors’ fee in 2016.”
15   WONG also emailed Mr. Javed informing him that Luo’s director fees for
16   GIP-Cayman were $35,000 per quarter (or $140,000 annually).
17               217. After reviewing WONG’s email, Mr. Youssefzadeh researched the
18   standard compensation for board members in similarly situated companies. He
19   determined that the proposed compensation for Luo ($140,000 annually) was
20   excessive for a company like GIP-Cayman.
21               218. On or about January 18, 2017, Mr. Youssefzadeh emailed WONG to
22   suggest that non-executive, non-investor directors each receive $2,500 per meeting,
23   while the Chairman would receive $5,000, with these directors also receiving
24   GIP-Cayman stock options. WONG replied that the remuneration package to
25   non-investor directors had been the subject of lengthy negotiations and discussions as
26   part of “[Bronzelink’s] appointment process.” Prior to this disclosure, Plaintiffs were
27   not aware that Bronzelink had separately negotiated compensation agreements with
28   GIP-Cayman Board members.
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 1               219. Plaintiffs are informed and believe, and based thereon allege, that
 2   Bronzelink, acting at DONG YIN’s direction, made secret deals with the GIP-Cayman
 3   Directors, agreeing to dramatically overpay Luo in an attempt to ensure his allegiance
 4   to DONG YIN, rather than to GIP-Cayman, when WONG insisted on the $140,000 in
 5   annual payments to Luo.
 6               220. On or about January 20, 2017, WONG emailed modifications to the
 7   December 8, 2016 GIP-Cayman board minutes to Mr. Javed, removing references to a
 8   discussion regarding technical satellite program updates and that FAN had led
 9   discussions regarding ECA Financing, GIP-Cayman business plan, sales and
10   marketing.
11               221. On or about February 1, 2017, FAN and WONG travelled to California,
12   visiting the GIP-Cayman offices in El Segundo, California. During that visit:
13               (a)   FAN told Mr. Youssefzadeh that he was under pressure from
14                     DONG YIN for GIP-Cayman to obtain more orbital slots;
15               (b)   FAN insisted that he participate in GIP-Cayman’s planning and strategy
16                     discussions and decision-making and advised that he intended to take an
17                     active role in sales and marketing;
18               (c)   FAN and WONG sought to become deeply involved in budgeting and
19                     daily operational matters;
20               (d)   FAN asked to meet privately with senior staff; and
21               (e)   FAN and WONG insisted on meeting privately with LIU.
22               222. On or about February 25, 2017, WONG and Yiu visited the GIP-Cayman
23   and GIP-USA offices in El Segundo, California, on very short notice. WONG and
24   Yiu informed Mr. Youssefzadeh and Mr. Javed that they had instructions from FAN
25   and DONG YIN to terminate GIP-Cayman’s then CFO, Peter Lui. Mr. Youssefzadeh
26   and Mr. Javed explained that only the GIP-Cayman Board could terminate Lui. In
27   response, WONG insisted on calling an immediate telephonic board meeting.
28   However, because a board meeting could not be called on less than five days’ notice,
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 1   he was unsuccessful.
 2               223. Adamant that Peter Lui must be fired immediately, WONG informed
 3   Mr. Youssefzadeh and Mr. Javed that he and FAN would delay authorization for the
 4   SpaceX contract unless Lui was terminated. Eventually, on or about March 1, 2017,
 5   the GIP-Cayman Board terminated Lui as CFO by unanimous written consent. Lui’s
 6   termination left WONG with full and unfettered control of all GIP-Cayman bank
 7   accounts.
 8               224. On or about March 3, 2017, the GIP-Cayman Board held a telephonic
 9   board meeting, at which it reviewed and approved the proposed SpaceX contract.
10               225. On or about March 7, 2017, GIP-Cayman entered into a contract with
11   SpaceX to provide launch services for the satellite. The SpaceX contract provided
12   that, “[p]rovision of all items and information identified in this [Statement of Work]
13   by SpaceX to any non-US parties (including Customer and/or Customer’s Related
14   Third Parties, if applicable) is subject to US export control restrictions imposed by
15   regulatory authorities including the U.S. Department of State. Customer shall be
16   responsible for any U.S. Customs or other export/import compliance with respect to
17   the Payload and any Customer provided hardware . . . .”
18               226. The term, “Related Third Parties” is defined in the SpaceX contract to
19   include GIP-Cayman’s “directors, officers, employees and agents,” as well as “any
20   entity or person with any financial, property or other material interest” in the satellite.
21               227. A GIP-Cayman Board of Directors meeting was held in Hong Kong on
22   April 20 and 21, 2017. A day before that meeting, FAN and WONG requested a
23   private meeting with Mr. Javed at the JW Marriott Hotel in Hong Kong to discuss
24   corporate governance matters. During that meeting, FAN told Mr. Javed that Jason
25   Luo was not the “real” Chairman of the Board; that Luo was just a front man to show
26   to outsiders; and that from the perspective of DONG YIN, who had provided the
27   investment funds, FAN was the real Chairman of the Board and WONG was his
28   subordinate.
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 1               228. On or about April 21, 2017, WONG purported to assume the position of
 2   “Executive Director” of GIP-Cayman, with authority to act on behalf of the
 3   GIP-Cayman Board of Directors, even though the corporate governance documents
 4   did not recognize any such position. Plaintiffs are informed and believe, and based
 5   thereon allege, that FAN and WONG agreed that WONG would become the
 6   Executive Director of GIP-Cayman and, with the support of the other Bronzelink-
 7   appointed directors, installed WONG as the Executive Director in furtherance of
 8   DONG YIN’s plans and efforts to gain and maintain dominance and control over the
 9   governance, management and operations of GIP-Cayman and GIP-USA.
10   R.          The April 25, 2017 Milbank Memo.
11               229. In or about March and April 2017, Mr. Youssefzadeh and Mr. Javed had
12   multiple discussions with Jason Luo, expressing their concerns that GIP-Cayman was
13   not being properly governed by its Board of Directors and that FAN, WONG, LIU
14   and others were violating, and conspiring to violate, U.S. export control laws.
15               230. In or about April 2017, Luo instructed Chen to direct MILBANK to
16   prepare a memorandum analyzing GIP-Cayman’s compliance with U.S. export control
17   laws.
18               231. Panahy, acting ostensibly as counsel for GIP-Cayman, authored the
19   requested memorandum, which was dated April 25, 2017 (the “Milbank Memo” or
20   “Memo”).
21               232. On or about April 27, 2017, Chen emailed the Milbank Memo to the
22   GIP-Cayman Board of Directors, including Mr. Youssefzadeh, Mr. Javed, FAN,
23   WONG and LIU. Mr. Youssefzadeh, Mr. Javed and LIU were all in California at the
24   time they received the Memo.
25               233. The Milbank Memo validated Mr. Youssefzadeh’s and Mr. Javed’s
26   concerns. Among other things:
27               (a)   The Memo explained that “the ITAR and EAR prohibit the transfer or
28                     export (i.e., explicit ineligibility for licensing) of U.S. – source satellites
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 1                     (including components), launch services, and associated technical data to
 2                     certain Foreign Persons, including a comprehensive embargo on all PRC
 3                     persons or entities, persons or entities owned or controlled by PRC
 4                     interests, or parties acting on behalf [sic] PRC interests, directly or
 5                     indirectly, wherever located (together, the ‘PRC Regulatory
 6                     Proscription’).”
 7               (b)   The Memo noted that the penalties for violating ITAR and the EAR can
 8                     be extremely serious: “[f]or U.S. Person, penalties for violation of the
 9                     ITAR and the EAR include: (i) civil penalties of up to $1,094,010 per
10                     violation and denial of export privileges/eligibility; and/or (ii) criminal
11                     penalties of $1,000,000 and up to 10 years imprisonment per violation, as
12                     well as denial of export privileges/eligibility (criminal penalties are
13                     generally applied in cases of knowing and willful non-compliance with
14                     the requirements of ITAR or EAR).”
15               (c)   The Memo cautioned that, “[g]iven the PRC Regulatory Proscription, it is
16                     important for GIP to ensure that it does not, and is not perceived to be,
17                     owned, controlled, or have its day-to-day operations or management
18                     activities substantially influenced by PRC persons or entities, or person
19                     or entities acting on their behalf, directly or indirectly (together, ‘PRC
20                     Influence’). This is particularly relevant to, and a material risk for GIP,
21                     given the following existing factors: (i) Bronzelink is the majority
22                     shareholder of GIP; (ii) the debt facility used to finance the purchase of
23                     Bronzelink’s majority shareholding in GIP is provided by Amore, a
24                     PRC-affiliated entity; and (iii) there are PRC nationals on the Board of
25                     GIP.”
26               (d)   The Memo concluded that these facts “could establish a potential
27                     presumption of PRC Influence on the operations or management
28                     activities of GIP,” and thus, “it is incumbent for GIP to be able to
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 1                     objectively rebut, and demonstrate, that its corporate governance,
 2                     operations and management is not subject to PRC Influence.”
 3               (e)   The Memo warned that the failure to rebut the presumption of PRC
 4                     Influence “would result in a violation of the ITAR and EAR,” and that
 5                     such a violation could have serious “ramifications” for “GIP’s U.S.
 6                     Person officers, directors or other relevant employees,” including “civil
 7                     and/or criminal liability under the ITAR and EAR.”
 8               (f)   The Memo further warned that GIP’s inability to rebut the presumption
 9                     of PRC Influence “would be catastrophic” to GIP-Caymans’ business and
10                     that “any potential provider or arranger of debt capital to GIP, or
11                     potential future GIP equity investor, arranger or underwriter, is very
12                     likely to carefully scrutinize and diligence GIP’s compliance with the
13                     ITAR, EAR and PRC Regulatory Proscription, given the existence and
14                     details of the [Facility Agreement].”
15               234. Although the Milbank Memo referenced the Facility Agreement,
16   MILBANK, having negotiated that Agreement, deliberately failed to disclose the
17   terms of that Agreement to Plaintiffs. This omission made the Milbank Memo
18   materially incomplete and misleading, in that it concealed DONG YIN’s actual
19   control over the Satellite Project through the Secret FA Terms.
20               235. On or about April 30, 2017, Mr. Javed received a telephone call from
21   WONG. During that call, WONG expressed his displeasure at not having been given
22   the opportunity to preview and comment on the Milbank Memo prior to its
23   distribution to the full GIP-Cayman Board. WONG also told Mr. Javed that
24   DONG YIN was very upset after reading the Milbank Memo and was threatening to
25   “close the project.”
26   //
27   //
28   //
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 1   S.          Mr. Youssefzadeh and Mr. Javed Attempt, Unsuccessfully, to Raise and
 2               Address Compliance Issues with the GIP-Cayman Board.
 3               236. On or about May 16, 2017, Mr. Youssefzadeh obtained a proposal for
 4   debt financing for the next stage of the Satellite Project from Citigroup. This was a
 5   major achievement as debt financing was necessary for GIP-Cayman and GIP-USA to
 6   survive as going concerns, given the high cost of building, launching and operating
 7   the Satellite.
 8               237. On or about May 24, 2017, Mr. Youssefzadeh noticed a meeting of the
 9   GIP-Cayman Board of Directors for June 1, 2017, to discuss: (a) whether
10   GIP-Cayman’s corporate governance was in compliance with U.S. export control laws
11   in light of the troubling conclusions of the Milbank Memo, and, if not, what corrective
12   action to take; and (b) the proposal to engage Citigroup to obtain debt financing. The
13   board meeting was noticed as a telephonic meeting, with Mr. Youssefzadeh,
14   Mr. Javed, Chen and LIU participating from locations in Southern California.
15               238. The board meeting did not occur, however. FAN, WONG and LIU,
16   together with other Board members under their control, refused to participate in the
17   meeting, as a result of which there was no quorum for the Board to take action.
18   Jason Luo immediately resigned his position as the Chairman of the GIP-Cayman
19   Board of Directors. In his resignation email, Luo stated: “As a formal [sic] board
20   member and Chairman of the Board, I really would like to encourage all of you taking
21   [sic] your responsibility to continue enhancing the compliance/governance of the
22   company, which is a very critical part of Board responsibility.” Shortly thereafter,
23   Julian Zhao also resigned from the GIP-Cayman Board of Directors.
24               239. WONG told Mr. Javed that FAN and DONG YIN had fired Luo and
25   Zhao because they were not pleased with them. The formal justification given for
26   their removal was that all of the Bronzelink-appointed directors to the GIP-Cayman
27   Board of Directors had one year terms that ended on June 1, 2017. (This was the first
28   time that Mr. Youssefzadeh and Mr. Javed had been informed that all of the
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 1   Bronzelink-appointed directors to the GIP-Cayman Board were under formal contract
 2   to Bronzelink.) Plaintiffs are informed and believe, and based thereon allege, that
 3   these representations were false and misleading, and that, in fact, Luo and Zhao had
 4   resigned because of GIP-Cayman’s unwillingness to address the export control law
 5   issues discussed in the Milbank Memo.
 6               240. On or about June 2, 2017, Mr. Youssefzadeh, in his capacity as acting
 7   CEO, instructed Chen to independently investigate and assess the compliance issues
 8   and warnings reported in the Milbank Memo.
 9               241. On or about the same day, June 2, 2017, Chen, in his capacity as
10   Corporate Secretary, emailed the members of the GIP-Cayman Board of Directors
11   from California, noticing a special telephonic meeting of the GIP-Cayman Board for
12   June 8, 2017, to discuss compliance issues. FAN, WONG and the other Board
13   members under their control, however, refused to participate in the board meeting,
14   once more denying a quorum. Instead, WONG sent an email to Mr. Youssefzadeh
15   and Mr. Javed (in California) and to other GIP-Cayman Board members stating that
16   the terms of the contracts for the Bronzelink-appointed directors had expired, and they
17   were therefore unable to attend the meeting until such time as Bronzelink completed
18   its re-appointments. Plaintiffs are informed and believe, and based thereon allege, that
19   these representations were false and misleading, and that, in fact, FAN, WONG, LIU
20   and the other Bronzelink-appointed Board members did not want to address the
21   compliance issues discussed in the Milbank Memo.
22               242. On or about June 4, 2017, Mr. Youssefzadeh, Mr. Javed and Pourmand
23   sent a letter to Yiu, the purported owner of Bronzelink, and to Bronzelink’s counsel,
24   titled “Notice of Breach.” The letter notified Bronzelink that it was in breach of the
25   SHA on various grounds, including for frustrating efforts to address export control
26   law compliance issues, and its failure to approve the Citigroup debt financing
27   proposal.
28   //
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 1               243. On or about June 5, 2017, WONG and Tang met with Mr. Youssefzadeh
 2   and Mr. Javed at the GIP offices in El Segundo, California. During this meeting,
 3   WONG stated that he was in charge of GIP-Cayman and had the authority to make
 4   decisions about the governance, direction and management of the company.
 5   Additionally, WONG informed Mr. Youssefzadeh and Mr. Javed that there were no
 6   issues with GIP-Cayman’s compliance with U.S. export control laws and that they
 7   should not concern themselves with such matters.
 8               244. Mr. Youssefzadeh and Mr. Javed told WONG that they believed there
 9   were serious compliance issues and that the GIP-Cayman Board of Directors needed
10   to address them immediately. WONG responded by advising Mr. Youssefzadeh and
11   Mr. Javed that they could no longer be both executives and directors of GIP-Cayman.
12   Plaintiffs are informed and believe, and based thereon allege, that WONG was sent to
13   this meeting by FAN, and that WONG told Plaintiffs that they could not remain as
14   both executives and directors at FAN’s direction, to pressure them to drop the
15   compliance problems they had uncovered.
16               245. The resignations of Jason Luo and Julian Zhao created two open
17   positions on the GIP-Cayman Board of Directors. On or about June 13, 2017, the
18   open positions were filled with two new members: (a) Henry Fan, who had previously
19   worked as an outside consultant for FAN and/or DONG YIN; and (b) Hai Ming
20   Zhang, who had previously been a paid advisor to Bronzelink. These appointments
21   further cemented DONG YIN’s control of GIP-Cayman, GIP-USA and the Satellite
22   Project.
23               246. On or about June 14, 2017, FAN held a telephone call via Skype with
24   Mr. Youssefzadeh and Mr. Javed, who participated in the call from Washington, D.C.
25   During the telephone conference, FAN echoed WONG and declared that GIP-Cayman
26   had no export control law compliance issues. In response, Mr. Youssefzadeh and
27   Mr. Javed stated their disagreement, reiterating that it was apparent that there were
28   serious compliance problems. FAN replied by reiterating WONG’s prior demand that
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 1   Mr. Youssefzadeh and Mr. Javed resign as either executives or directors of
 2   GIP-Cayman, because they could no longer hold both positions.
 3   T.          The Chen Memo.
 4               247. On or about May 30, 2017, Mr. Youssefzadeh, in his capacity as acting-
 5   CEO, instructed Chen to independently investigate and assess the corporate
 6   governance and compliance issues discussed in the Milbank Memo.
 7               248. In response, on or about June 14, 2017, Chen sent Mr. Youssefzadeh a
 8   memorandum (the “Chen Memo”) stating his conclusions following his independent
 9   investigation and review of the issues raised in the Milbank Memo. Chen’s
10   conclusions were reported to the GIP-Cayman Board of Directors, including FAN,
11   WONG and LIU
12               249. The Chen Memo confirmed all of Mr. Youssefzadeh and Mr. Javed’s
13   previously expressed concerns about DONG YIN’s excessive interference with the
14   governance, management and operations of GIP-Cayman and the resulting potential
15   for violations of U.S. export control laws.
16               250. Based on Chen’s “independent legal review and assessment of the current
17   state of corporate governance [of GIP-Cayman],” and “in light of the U.S. regulatory
18   considerations outlined in [the Milbank Memo],” the Chen Memo found that, among
19   other things:
20                    It was “apparent to all members of Company management that most (if
21                     not all) of the Series A directors nominated by Bronzelink do not
22                     function independently; but rather, they all act based on the instructions
23                     and/or influence or guidance of Mr. Shiwen Fan, a PRC national, and/or
24                     his close associate, Mr. Tony Wong.”;
25                    “It has come to light that four of the [Amore-nominated, Bronzelink-
26                     appointed] Series A directors all serve on the board of directors of
27                     Bronzelink and most of the Series A director[s], including Mr. Jason Luo
28                     and Mr. Julian Zhao both who recently resigned from the Board, all had
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 1                    or have written contracts with Bronzelink directly concerning their
 2                    service on [the GIP-Cayman] Board.”;
 3                   “Mr. Fan, Mr. Wong and other members of Bronzelink have repeatedly
 4                    attempted to exert influence and/or control through intimidation and
 5                    other tactics on members of management to unilaterally demand certain
 6                    Company operational information and demand revisions to Board
 7                    meeting minutes and resolutions, all without proper Board action or
 8                    authority.”
 9                   “[A]fter the distribution of the Milbank Memo to the Board at the request
10                    of the then Chairman of the Board, Mr. Wong had expressed displeasure
11                    to management that he did not have an opportunity to preview and
12                    comment on the Milbank Memo prior to full Board distribution and
13                    discredited the content of the Milbank Memo.”
14                   “On numerous occasions it was made clear to certain members of
15                    management that the Series A directors, led by Mr. Fan, made their
16                    Board-level decision[s] based on direct input and instruction from
17                    Bronzelink’s lender, a PRC-affiliated entity.”
18               251. Based on these findings, the Chen Memo concluded that GIP-Cayman
19   cannot “objectively demonstrate that its corporate governance, operations and
20   management is not subject to PRC Influence,” and that “if the Company does not
21   promptly implement structural and effective changes in its corporate governance and
22   the current course of conduct by Bronzelink and its appointed directors is not
23   promptly remediated, the continuing exertion or attempted exertion of influence
24   and/or control on the Company’s Board, operations and management by a PRC person
25   and persons representing PRC interests may very well lead to [violations of U.S.
26   export control laws].”
27               252. Based on Chen’s observations of GIP-Cayman’s operations, the Chen
28   Memo recommended that “the Company promptly undertake[] an audit to assess the
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 1   security of its U.S. export-controlled information and materials to confirm that no
 2   unauthorized disclosures or transfers have occurred, and determine if any changes or
 3   enhancements of the Company’s applicable policies and procedures are necessary.”
 4   The Chen Memo further recommended that “the Company’s shareholders
 5   immediately undertake actions to implement structural and meaningful changes and
 6   protective measures in the Company’s corporate governance, with the advice of
 7   outside counsel and/or third-party professional experts, that can ensure the Company’s
 8   ability to objectively demonstrate that its corporate governance, operations and
 9   management is not subject to PRC influence.”
10               253. Chen did not analyze or otherwise consider the effect of the Secret FA
11   Terms or the Secret Charge because they had been concealed from him by MILBANK
12   and Panahy and were not discussed in the Milbank Memo.
13   U.          The GIP-Cayman Board Continues to Rebuff Mr. Youssefzadeh’s and
14               Mr. Javed’s Attempts to Raise and Address Compliance and
15               Financing Issues.
16               254. Immediately following the issuance of the Chen Memo, on or about
17   June 14, 2014, Mr. Youssefzadeh once again noticed a meeting of the GIP-Cayman
18   Board of Directors to discuss the same two agenda items he had attempted to raise
19   previously: lack of compliance with export control laws and the proposal to engage
20   Citigroup to obtain debt financing. This time, he noticed the meeting for June 22,
21   2017, and invited Panahy, as GIP-Cayman’s outside counsel, to attend the meeting
22   telephonically. The Board meeting was noticed as a telephonic meeting. WONG also
23   separately noticed a telephonic meeting for the same date.
24               255. On or about June 22, 2017, Mr. Youssefzadeh and Mr. Javed called in on
25   the company conference bridge to participate in the board meeting that
26   Mr. Youssefzadeh had noticed. Chen, Pourmand and Panahy also called in. FAN,
27   WONG and the other directors under their control failed to call in on the company
28   conference bridge, and while LIU called into the meeting, she quickly disconnected.
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 1   As a result, Mr. Youssefzadeh, Mr. Javed and Chen were forced to declare that there
 2   was no quorum and cancel the meeting.
 3               256. Immediately thereafter, WONG noticed a GIP-Cayman Board meeting
 4   for June 29, 2017, in Hong Kong. His agenda included: (a) appointing himself as
 5   Chairman of the GIP-Cayman Board; (b) accepting the resignations of
 6   Mr. Youssefzadeh and Mr. Javed (who did not have offers to resign outstanding);
 7   (c) the removal of Chen as the Board Secretary; and (d) the reappointment of
 8   Pourmand as the GIP-Cayman CEO. WONG transmitted this agenda directly and
 9   through Chen to Mr. Youssefzadeh’s and Mr. Javed’s offices in El Segundo,
10   California, as well as to the other GIP-Cayman directors.
11   V.          Mr. Youssefzadeh and Mr. Javed are Constructively Discharged.
12               257. On or about June 26, 2017, Mr. Youssefzadeh resigned his positions as
13   CTO and Chairman of the Management Committees of GIP-Cayman and GIP-USA.
14   That same day, Mr. Javed resigned his positions as President and COO of
15   GIP-Cayman and GIP-USA. Their resignations were effective August 16, 2017.
16               258. Both Mr. Youssefzadeh and Mr. Javed had no alternative but to resign
17   from these positions, or else risk becoming knowing participants in Defendants’
18   conspiracy to violate U.S. export control laws.
19               259. In his resignation letter, which was sent to the GIP-Cayman Board of
20   Directors, Mr. Youssefzadeh stated his belief that GIP-Cayman “cannot demonstrate
21   compliance with the export control rules of the United States.” He also noted that he
22   had communicated this problem to the GIP-Cayman Board of Directors, but that,
23   instead of addressing it, the Board had “stonewalled” in an effort to cover-up its
24   wrongdoing and silence him, Mr. Javed and Chen.
25               260. In his resignation letter, which was also sent to the GIP-Cayman Board of
26   Directors, Mr. Javed similarly expressed concern with the Board’s refusal to address t
27   compliance problems. He further observed that, “WONG has taken full control of the
28   Company and has paralyzed the management structure and its authority,” and is
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 1   “apparently under the control of PRC person[s] and PRC related parties.”
 2               261. Neither FAN, WONG, LIU, nor any other GIP-Cayman Board members
 3   denied or otherwise expressed disagreement with Mr. Youssefzadeh’s and Mr. Javed’s
 4   statements in their resignation letters.
 5               262. On or about August 9, 2017, Pourmand sent letters to Mr. Youssefzadeh
 6   and Mr. Javed, accepting their resignations and noting that their “separation date and
 7   final date of employment” was August 16, 2017.
 8               263. Chen resigned as General Counsel, Senior Vice President and Secretary
 9   of GIP-Cayman and GIP-USA on the same day that Mr. Youssefzadeh and Mr. Javed
10   submitted their resignations, June 26, 2017. Chen’s resignation became effective
11   July 25, 2017.
12   W.          The Cover Up Continues.
13               264. On or about July 10, 2017, WONG assembled the GIP-Cayman Board of
14   Directors in Hong Kong and nominated himself as Chairman of the Board. Before
15   WONG put his nomination to a vote, Mr. Youssefzadeh asked for WONG’s
16   qualifications, other than being a relative of a DONG YIN executive. No answer was
17   forthcoming. Over the objections of Mr. Youssefzadeh and Mr. Javed, the
18   DONG YIN-approved, Bronzelink-appointed directors voted to appoint WONG as
19   Chairman of the Board.
20               265. The Board then considered the re-appointment of Pourmand as
21   GIP-Cayman CEO. Mr. Youssefzadeh objected on the grounds that, pursuant to the
22   SHA, Plaintiffs controlled the decision of who should be appointed CEO. In
23   response, FAN instructed WONG to adjourn the meeting, to be reconvened on
24   July 17, 2017.
25               266. Plaintiffs are informed and believe, and based thereon allege, that FAN
26   and WONG agreed that WONG would become the Chairman of the Board of GIP-
27   Cayman and Pourmand the CEO, and with the support of the other Bronzelink-
28   appointed directors, caused WONG and Pourmand to be installed in those positions.
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 1   Plaintiffs are further informed and believe, and based thereon allege, that these actions
 2   were in furtherance of DONG YIN’s plan and efforts to gain and maintain control of
 3   GIP-Cayman, GIP-USA and the Satellite Project.
 4               267. In a private meeting during a break in the July 10, 2017 Board of
 5   Directors meeting, FAN told Mr. Youssefzadeh and Mr. Javed that he and
 6   DONG YIN intended to maintain full control over all matters related to the Satellite
 7   Project. FAN asserted that the Board of Directors was supposed to simply follow his
 8   lead and to raise their hands and vote.
 9               268. On or about July 13, 2017, Boeing requested MILBANK to provide a
10   letter of assurance that GIP-Cayman was compliant with all matters related to U.S.
11   export control laws. On or about July 14, 2017, Panahy rejected Boeing’s request,
12   declining on behalf of GIP-Cayman to provide such assurances “as a matter of policy
13   and professional responsibility.”
14               269. On or about July 15, 2017, Mr. Youssefzadeh and Mr. Javed emailed
15   WONG a detailed list of questions concerning the relationships between DONG YIN
16   and Bronzelink and its shareholders and officers, for purposes of determining whether
17   GIP-Cayman and GIP-USA were in compliance with ITAR and the EAR.
18               270. On or about July 16, 2017, WONG responded by indicating that
19   Mr. Youssefzadeh and Mr. Javed’s questions were “the very same type of questions
20   [Bronzelink‘s] ITAR lawyer is addressing in his detailed review of Bronzelink,” and
21   that “the most proper way forward is for our ITAR lawyer to respond on these points
22   to your ITAR lawyer.” In fact, Plaintiffs never received the promised response,
23   notwithstanding multiple inquiries.
24               271. On or about July 17, 2017, FAN and WONG put Pourmand’s
25   appointment as CEO to a vote. The GIP-Cayman Board approved him over the
26   objections of Mr. Youssefzadeh and Mr. Javed.
27               272. On or about July 18, 2017, Boeing sent a letter to Mr. Javed, informing
28   him that MILBANK had refused to provide the requested letter of assurance and
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 1   requesting that “an authorized Global IP official provide Boeing with written
 2   confirmation that you are compliant with all applicable export control laws and
 3   regulations, including EAR and ITAR.”
 4               273. In response to Boeing’s letter, on or about July 20, 2017, Pourmand
 5   falsely stated that “GIP is fully committed to compliance with the Export
 6   Administration Regulations (‘EAR’) and the International Traffic in Arms
 7   Regulations (‘ITAR’).”
 8               274. With the appointments of WONG as Chairman of the GIP-Cayman
 9   Board, Pourmand as CEO and Henry Fan and Hai Ming Zhang as directors,
10   DONG YIN cemented its dominance and control over the governance, management
11   and operations of GIP-Cayman, GIP-USA and the Satellite Project.
12   X.          DONG YIN Alters and Falsifies the Official Minutes from the
13               GIP-Cayman Board of Directors Meetings.
14               275. To maintain and continue to conceal its total control of GIP-Cayman,
15   DONG YIN, through its agents WONG and LIU, systematically altered and falsified
16   GIP-Cayman corporate records, including board minutes. By way of example:
17               (a)   On or about January 20, 2017, WONG emailed alterations to the minutes
18                     of the December 8, 2016 GIP-Cayman board meeting to Mr. Javed,
19                     removing references to discussions regarding technical satellite program
20                     updates, and to FAN’s role in leading discussions concerning ECA
21                     financing, the GIP-Cayman business plan and sales and marketing.
22                     Plaintiffs are informed and believe, and based thereon allege, that
23                     WONG sought to alter these corporate records to hide evidence of
24                     DONG YIN’s control of GIP-Cayman and to avoid any questions about
25                     whether the export control laws were violated when DONG YIN and its
26                     agents received technical information and data concerning the Satellite
27                     Project.
28   //
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 1               (b)   On or about April 20 and 21, 2017, a GIP-Cayman board meeting was
 2                     held in Hong Kong, during which WONG was purportedly appointed
 3                     “Executive Director” for the specific purpose of facilitating
 4                     communications between the GIP-Cayman Management Committee and
 5                     the Board of Directors concerning various operational and management
 6                     matters. It was noted in the draft minutes that WONG was not an officer
 7                     of GIP-Cayman, and that the title did not bestow any additional authority
 8                     on him. These limitations, however, were not reflected in the final
 9                     version of the minutes prepared by LIU and adopted by the Board after
10                     July 2017.
11               (c)   The final version of the minutes of the April 2017 board meeting was
12                     altered by LIU, to falsely state that WONG had been authorized to
13                     require Chen, as the Board Secretary, to submit draft minutes to WONG
14                     for his modifications and “comment” prior to circulation to the other
15                     Board members, including Mr. Youssefzadeh and Mr. Javed.
16               (d)   During the July 7, 2017 GIP-Cayman board meeting, Pourmand was
17                     appointed GIP-Cayman’s CEO by the DONG YIN-controlled board
18                     members, in disregard of Plaintiffs’ veto rights. In his closing
19                     statements, Pourmand denied that GIP-Cayman had any compliance
20                     problems, stating that it was “Bronzelink’s God given right” to do as it
21                     pleased. These remarks were omitted from the formal minutes that LIU
22                     prepared.
23               276. On or about September 13, 2017, the GIP-Cayman Board of Directors
24   approved the minutes of their April and July 2017 board meetings, as altered and
25   falsified as described above.
26   Y.          DONG YIN Attempts to Purchase Plaintiffs’ Silence.
27               277. At WONG’s request, Mr. Youssefzadeh and Mr. Javed met two
28   DONG YIN consultants, Michael Altwein and Pin Fen Miao, on or about
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 1   November 16, 2017, at the GIP-USA offices in El Segundo, California. The
 2   consultants informed Mr. Youssefzadeh and Mr. Javed that DONG YIN wanted them
 3   to remain involved in GIP-Cayman and would reward them if they did not pursue the
 4   export control law compliance issues. Altwein specifically asked Mr. Youssefzadeh
 5   and Mr. Javed what it would take for them to stay with the company and back off the
 6   compliance issues. Mr. Youssefzadeh and Mr. Javed understood this to be an offer to
 7   financially reward them if they agreed to ignore DONG YIN’s export control law
 8   violations. They declined this offer and terminated the meeting.
 9   Z.          Summary of Money and Property Lost and Stolen.
10               278. Defendants’ wrongful conduct caused Plaintiffs to suffer losses of their
11   money and their property, including, without limitation:
12               (a)   Control of the Satellite Project that they had spent years developing;
13               (b)   A 75% ownership interest in GIP-Cayman, the parent corporation of
14                     GIP-USA and Dub Dub (including 47.25% of GIP-Cayman that had been
15                     previously owned by Plaintiffs);
16               (c)   The benefits of the contracts they had negotiated with Boeing and
17                     SpaceX;
18               (d)   The benefits of the insurance terms that they had negotiated;
19               (e)   Confidential and proprietary reports, studies, designs, analyses and other
20                     documents and information that Plaintiffs prepared, or had prepared, at
21                     their expense, including
22                     (i)     Plaintiffs’ design of the 7.7 ton state-of-the-art satellite;
23                     (ii)    Plaintiffs’ confidential business plan; and
24                     (iii)   Plaintiffs’ confidential marketing studies.
25               (f)   Plaintiffs’ intellectual property, including the Global-IP trademark; and
26               (g)   The opportunity for Plaintiffs to obtain a share of the projected
27                     US$1.5 billion or more in anticipated profits from the Satellite Project
28                     when completed and the satellite is operational.
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 1                                    FIRST CAUSE OF ACTION
 2                                     (For Conspiracy to Defraud)
 3                                (By Plaintiffs Against All Defendants)
 4               279. Plaintiffs repeat and reallege paragraphs 1 through 278 of this SAC as if
 5   fully alleged herein.
 6   A.          Formation and Operation of the Conspiracy.
 7               280. Beginning in or about December 2015, and continuing until the present,
 8   DONG YIN, FAN, WONG, LIU, CHANG, COAMI and MILBANK, together with
 9   COSEIG, Amore, Bronzelink, Yiu, Panahy and others known and unknown to
10   Plaintiffs, and each of them, conspired and agreed to:
11               (a)   Make false and misleading representations regarding important facts,
12                     knowing that the representations were false or misleading and intending
13                     that Plaintiffs would rely upon them, as described further in this SAC,
14                     including, but not limited to, in paragraphs 97-99, 102, 107, 110-111,
15                     115, 117, 120, 123, 141-142, 150, 159, 169-170, 213, 286 and 351;
16               (b)   Make false promises regarding important matters with no intention of
17                     performing those promises, intending that Plaintiffs would rely upon
18                     them, as described further in this SAC, including, but not limited to, in
19                     paragraphs 101, 103, 110, 117, 122 and 286;
20               (c)   Conceal and withhold from Plaintiffs important facts that Defendants had
21                     a duty to disclose, knowingly and with the intent to deceive Plaintiffs, as
22                     described further in this SAC, including, but not limited to, in
23                     paragraphs 119, 128-139, 162, 172, 221, 234, 253, 275-276, 290 and 334;
24                     and
25               (d)   Obtain ownership and control of Plaintiffs’ property comprising the
26                     Satellite Project by theft, including theft by trick and by false pretenses,
27                     as described further in this SAC, including, but not limited to, in
28                     paragraphs 154-156, 166, 205, 230, 233, 239-246, 240-252, 264-274,
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 1                     299, 313 and 350.
 2               281. Plaintiffs acted reasonably in relying upon the false and misleading
 3   representations, false promises and concealed and withheld facts in relinquishing
 4   ownership and control of the Satellite Project, including 75% of their ownership
 5   interest in GIP-Cayman, and the property comprising that Project, including
 6   confidential and sensitive reports, studies, analyses, designs, data, intellectual
 7   property, contracts, rights, title and interests, as described further in this SAC,
 8   including, but not limited to, in paragraphs 154-156, 166, 205, 230, 233, 239-246,
 9   240-252, 264-274, 299, 313 and 350.
10   B.          Wrongful Acts in Furtherance of the Conspiracy.
11               282. On or about the dates indicated below, DONG YIN, FAN, WONG, LIU,
12   CHANG, COAMI and MILBANK, together with COSEIG, Amore, Bronzelink, Yiu,
13   Panahy and others known and unknown to Plaintiffs, and each of them, committed,
14   caused and aided and abetted the following acts, among others, in furtherance of and
15   to accomplish the objectives of the conspiracy:
16               Act No. 1: In or about October 2015, Ivan Chow falsely represented to
17   Mr. Youssefzadeh and Mr. Javed that DONG YIN did not own or control COSEIG.
18               Act No. 2: On or about December 3, 2015, Ivan Chow falsely represented to
19   Mr. Youssefzadeh and Mr. Javed that COSEIG had no desire or intention of becoming
20   involved in GIP-Cayman operations.
21               Act No. 3: On or about December 4, 2015, in reliance on the false and
22   fraudulent representations and promises of DONG YIN’s agents, Mr. Youssefzadeh
23   signed the COSEIG JVA on behalf of STM Atlantic.
24               Act No. 4: On or about December 4, 2015, in reliance on the false and
25   fraudulent representations and promises of DONG YIN’s agents, Mr. Youssefzadeh
26   signed the COSEIG JVA on behalf of himself.
27   //
28   //
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 1               Act No. 5: On or about December 4, 2015, in reliance on the false and
 2   fraudulent representations and promises of DONG YIN’s agents, Mr. Javed signed the
 3   COSEIG JVA on behalf of himself.
 4               Act No. 6: In or about early December 2015, after reviewing the COSEIG
 5   JVA, Panahy telephoned Mr. Youssefzadeh and Mr. Javed, stated that he could help
 6   ensure compliance with the export control laws, and suggested that MILBANK
 7   represent DONG YIN in the transaction to make sure that DONG YIN knew and
 8   complied with the limits on its participation as a lender to COSEIG.
 9               Act No. 7: On or about December 16, 2015, Ivan Chow emailed Mr. Javed,
10   falsely representing that COSEIG’s sole shareholder and director was Pok Kit Chow,
11   when, in fact, Pok Kit Chow was merely the nominal owner of COSEIG and acting on
12   behalf of DONG YIN.
13               Act No. 8: On or about January 28, 2016, Ivan Chow emailed
14   Mr. Youssefzadeh, Mr. Javed and Pourmand, on behalf of FAN, that COSEIG’s
15   $250 million financial proposal had been formally approved by DONG YIN, creating
16   the false and misleading impression that COSEIG and DONG YIN were independent,
17   unrelated entities, when, in fact, COSEIG was controlled and dominated by
18   DONG YIN.
19               Act No. 9: Between in or about late January and early February 2016, Panahy
20   told Mr. Javed that COSEIG would be swapped out in the JVA for another, yet to be
21   identified company, and falsely promising that DONG YIN would have no control or
22   influence over GIP-Cayman.
23               Act No. 10: On or about February 16, 2016, CHANG, acting in his capacity as
24   COAMI’s Executive Director and Co-President, falsely represented to
25   Mr. Youssefzadeh, Mr. Javed and Pourmand that after the closing: (a) DONG YIN
26   would have no control over GIP-Cayman; (b) it had no intention of controlling or
27   seeking to influence GIP-Cayman; and (c) it was relying on Mr. Youssefzadeh and
28   Mr. Javed to run the business.
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 1               Act No. 11: On or about February 23, 2016, FAN, Henry Fan and their
 2   attorneys disclosed for the first time the identity of the new company, Bronzelink, to
 3   Mr. Youssefzadeh, Mr. Javed and others, falsely representing that Bronzelink was an
 4   independent, stand-alone entity with no affiliation to DONG YIN.
 5               Act No. 12: On or about February 25, 2016, in reliance on the false and
 6   fraudulent representations and promises of DONG YIN’s agents, Mr. Youssefzadeh
 7   signed the Bronzelink JVA on behalf of STM Atlantic.
 8               Act No. 13: On or about February 25, 2016, in reliance on the false and
 9   fraudulent representations and promises of DONG YIN’s agents, Mr. Youssefzadeh
10   signed the Bronzelink JVA on behalf of himself.
11               Act No. 14: On or about February 25, 2016, in reliance on the false and
12   fraudulent representations and promises of DONG YIN’s agents, Mr. Javed signed the
13   Bronzelink JVA on behalf of himself.
14               Act No. 15: On or about March 9, 2016, Amore appointed four individuals to
15   its Board of Directors, all of whom were closely affiliated with DONG YIN or
16   COAMI, in furtherance of its plan and efforts to gain and exercise dominance and
17   control over the governance, management and operation of GIP-Cayman.
18               Act No. 16: On or about March 15, 2016, Amore and Bronzelink executed the
19   Facility Agreement, but did not disclose its terms to Plaintiffs.
20               Act No. 17: On or about March 11, 2016, Amore and Yiu entered into the
21   Secret Charge, giving Amore the ability to remove Yiu from his position at
22   Bronzelink at any time, with or without cause, but concealed the existence of that
23   document from Plaintiffs.
24               Act No. 18: On or about March 15, 2016, Panahy, acting as DONG YIN’s
25   counsel, emailed Mr. Youssefzadeh and Mr. Javed: (a) stating that MILBANK was
26   DONG YIN’s counsel and thus could not represent Bronzelink, confirming the false
27   and misleading impression that DONG YIN and Bronzelink were independent, stand-
28   alone companies; (b) confirmed that the Facility Agreement had been signed, but
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 1   concealed and failed to disclose that material terms of the Facility Agreement were in
 2   conflict with the intended Bronzelink SHA; and (c) likewise intentionally and
 3   knowingly failed to disclose the terms of the Share Charge.
 4               Act No. 19: On or about March 28, 2016, Panahy, acting as DONG YIN’s
 5   counsel, responded to a request for written confirmation that DONG YIN was
 6   providing financing to Bronzelink, stating, “[g]iven our stated concerns regarding the
 7   role of DY as a lender, and the need to attenuate PRC interests in both BL and GIP,
 8   having a letter from DY or its counsel ‘on the record’ does not serve the interests of
 9   any of the parties to this transaction.”
10               Act No. 20: On or about April 5, 2016, Panahy, acting as DONG YIN’s
11   counsel, provided his comments to the SPA, representing that he had intended to align
12   the conditions precedent set forth in the SPA with the terms of the Facility Agreement,
13   but failing to disclose that other material terms of the SPA were contrary to,
14   inconsistent with, or undermined by the Facility Agreement.
15               Act No. 21: On or about April 5, 2016, both David Zhang of DONG YIN and
16   Panahy, acting as DONG YIN’s counsel, stated that DONG YIN understood that any
17   PRC control or influence, directly or indirectly, would be in violation of U.S. laws,
18   falsely representing and promising that DONG YIN had no intention or plan of
19   exerting control over GIP-Cayman.
20               Act No. 22: On April 15, 2016, CHANG, acting in his capacity as COAMI’s
21   Executive Director and Co-President, emailed Mr. Javed, who was in California,
22   stating that: “[W]e are unable to ask Bronzelink to dispense funds without a much
23   more detailed operating plan. For this we would need, including but not limited to a
24   schedule of tasks and critical path to be met, timing and the personnel involved. We
25   can’t disperse funds without knowing specific uses and the milestones and condition
26   to be reached before each payment is made.”
27               Act No. 23: On or about May 11, 2016, FAN executed the SPA, the SHA and
28   the First Amendment to the SHA on behalf of Bronzelink.
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 1               Act No. 24: On or about May 11, 2016, in reliance on the false and fraudulent
 2   representations and promises of DONG YIN’s agents, Mr. Youssefzadeh signed the
 3   SPA, the SHA and the SHA Amendment on behalf of STM Atlantic.
 4               Act No. 25: On or about May 11, 2016, in reliance on the false and fraudulent
 5   representations and promises of DONG YIN’s agents, Mr. Youssefzadeh signed the
 6   SPA, the SHA and the SHA Amendment on behalf of himself.
 7               Act No. 26: On or about May 11, 2016, in reliance on the false and fraudulent
 8   representations and promises of DONG YIN’s agents, Mr. Javed signed the SPA, the
 9   SHA and the SHA Amendment on behalf of himself.
10               Act No. 27: On or about May 11, 2016, Yang Zeng of DONG YIN falsely
11   represented to Mr. Javed that DONG YIN was merely a lender to Bronzelink, and
12   that, after the closing, DONG YIN would not have any control over or seek to
13   influence GIP-Cayman governance, direction, management, or operations.
14               Act No. 28: In or about May, 2016, FAN, WONG, LIU and Zhang were
15   appointed to the 5-member Board of Directors of Bronzelink.
16               Act No. 29: On or about May 31, 2016, Panahy, acting as DONG YIN’s
17   counsel, falsely represented to Mr. Javed that: (a) four of the Bronzelink-appointed
18   directors—LIU, Zheng, Luo and Zhao—were completely independent of and had no
19   affiliation to DONG YIN; (b) since there would be four independent Bronzelink-
20   appointed directors and three Common directors, GIP-Cayman would have solid
21   protection from PRC control and influence; and (c) although WONG worked for
22   Bronzelink, he was not affiliated with DONG YIN.
23               Act No. 30: On or about June 2, 2016, FAN (a) falsely represented and
24   promised to Mr. Javed that DONG YIN and Bronzelink were completely different
25   entities and were not related; (b) falsely represented and promised that after the
26   closing, DONG YIN would not have control over or any say in GIP-Cayman’s
27   direction and operations; and (c) falsely represented and promised Mr. Javed that,
28   after the closing, Bronzelink would have an independent Board of Directors that
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 1   would make all of the decisions free of DONG YIN’s influence.
 2               Act No. 31: On or about June 3, 2016, in reliance on the false and fraudulent
 3   representations and promises of DONG YIN’s agents, Mr. Youssefzadeh signed the
 4   closing documents for the SHA on behalf of STM Atlantic.
 5               Act No. 32: On or about June 3, 2016, in reliance on the false and fraudulent
 6   representations and promises of DONG YIN’s agents, Mr. Youssefzadeh signed the
 7   closing documents for the SHA on behalf of himself.
 8               Act No. 33: On or about June 3, 2016, in reliance on the false and fraudulent
 9   representations and promises of DONG YIN’s agents, Mr. Javed signed the closing
10   documents for the SHA on behalf of himself.
11               Act No. 34: On or about June 3, 2016, Bronzelink caused HSBC Bank to
12   execute a wire transfer of $25 million from Hong Kong to GIP-Cayman’s HSBC
13   account in California.
14               Act No. 35: On or about June, 3, 2016, FAN, WONG, LIU and Zhang were
15   appointed by Bronzelink to the GIP-Cayman Board of Directors.
16               Act No. 36: On or about July 29, 2016, after the Boeing LOI was finalized,
17   Luo, as the Chairman of the GIP-Cayman Board, deferred the decision to execute the
18   LOI, stating in an email that “[he] would like Mr. FAN/DONG YIN to review/agreed
19   [sic][the Letter of Intent] before we move on.”
20               Act No. 37: On or about July 29, 2016, WONG responded to Luo’s email,
21   copying Terry Long of DONG YIN, and stating that “[t]his is to confirm we can move
22   on, you have the agreement from both parties to proceed.”
23               Act No. 38: On or about November 18, 2016, Tang emailed Mr. Javed
24   requesting confidential and sensitive technical information about the Satellite Project.
25               Act No. 39: On or about November 20, 2016, Tang falsely assured Plaintiffs
26   that the sensitive technical information he had requested was intended to be “used
27   internally for monitoring the general progress of the company.”
28   //
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 1               Act No. 40: Beginning in or about January 2017, Luo was paid $140,000
 2   annually for serving as a GIP-Cayman director to buy his loyalty.
 3               Act No. 41: On or about January 20, 2017, WONG emailed alterations to the
 4   minutes of the December 8, 2016 GIP-Cayman Board of Directors meeting to
 5   Mr. Javed, removing references to a discussion concerning technical satellite program
 6   updates and to FAN having led the discussions about ECA financing, the
 7   GIP-Cayman business plan, and sales and marketing.
 8               Act No. 42: On or about April 21, 2017, WONG purported to assume the
 9   position of “Executive Director” of GIP-Cayman, with authority to act on behalf of
10   the GIP-Cayman Board of Directors, even though the corporate governance
11   documents did not recognize any such position.
12               Act No. 43: On or about April 27, 2017, Panahy caused Chen to send the
13   Milbank Memo to the GIP-Cayman Board of Directors, although that Memo neither
14   addressed nor disclosed the Secret FA Terms or the Secret Charge.
15               Act No. 44: On or about April 27, 2017, WONG telephoned Mr. Javed to
16   express his displeasure at not having been given an opportunity to preview and
17   comment on the Milbank Memo prior to its distribution to the GIP-Cayman Board of
18   Directors.
19               Act No. 45: In preparing the final version of the minutes of the April 2017
20   GIP-Cayman Board meeting, LIU altered them to falsely state that WONG had been
21   authorized to require Chen, as the Board Secretary, to submit draft minutes to WONG
22   for his modifications and “comment” prior to circulation to the other Board members.
23               Act No. 46: On or about May 18, 2017, during a phone call amongst WONG,
24   Luo and Chen, WONG threatened to have Chen fired if Chen, as the Board Secretary,
25   did not write the board minutes the way WONG wanted them written, or did not send
26   the minutes to WONG to review them prior to sending them to the Board.
27   //
28   //
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 1               Act No. 47: On or about May 24, 2017, Mr. Youssefzadeh noticed a special
 2   meeting of the GIP-Cayman Board of Directors, but WONG responded that all of the
 3   Bronzelink-appointed directors were unavailable.
 4               Act No. 48: On or about May 25, 2017, FAN sent an email to Mr. Javed,
 5   falsely denying that WONG was his proxy.
 6               Act No. 49: On or about May 30, 2017, FAN sent an email to Mr. Javed,
 7   copying the other members of the GIP-Cayman Board of Directors, in which he
 8   falsely denied that governance of the Board was extremely defective.
 9               Act No. 50: On or about June 2, 2017, WONG again thwarted
10   Mr. Youssefzadeh’s efforts to call a special meeting of the GIP-Cayman Board of
11   Directors to discuss the company’s lack of compliance with U.S. export control laws.
12               Act No. 51: On or about June 5, 2017, WONG and Tang met with
13   Mr. Youssefzadeh and Mr. Javed, at which time WONG falsely stated there were no
14   issues concerning GIP-Cayman’s compliance with the export control laws, and told
15   Mr. Youssefzadeh and Mr. Javed that they should not concern themselves with such
16   issues.
17               Act No. 52: On or about June 13, 2017, Bronzelink selected Henry Fan and Hai
18   Ming Zhang to fill the vacancies on the GIP-Cayman Board of Directors, both of
19   whom had allegiances to and took their direction from DONG YIN.
20               Act No. 53: On or about June 14, 2017, Panahy, ostensibly as counsel for GIP-
21   Cayman, caused Chen to omit any mention of the Secret FA Terms and Secret Charge
22   from the Chen Memo by concealing and withholding that information.
23               Act No. 54: On or about June 14, 2017, FAN held a telephone call via Skype
24   with Mr. Youssefzadeh and Mr. Javed, during which he falsely stated that there were
25   no export control law compliance issues.
26               Act No. 55: On or about June 20, 2017, WONG sent an email to Mr. Javed,
27   copying Mr. Youssefzadeh and others, falsely denying that his role and actions as a
28   GIP-Cayman director were subject to PRC influence.
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 1               Act No. 56: On or about June 22, 2017, FAN, WONG and other GIP-Cayman
 2   directors under their control refused to participate in a Board of Directors meeting that
 3   Mr. Youssefzadeh had noticed to discuss, among other things, compliance with
 4   U.S. export control laws.
 5               Act No. 57: On or about July 10, 2017, at a GIP-Cayman Board meeting,
 6   WONG was appointed Chairman of the Board over the objections of
 7   Mr. Youssefzadeh and Mr. Javed, with all six of the Bronzelink-appointed directors
 8   voting in favor of WONG’s appointment.
 9               Act No. 58: At the July 10, 2017 GIP-Cayman Board meeting, Pourmand was
10   appointed the CEO of GIP-Cayman, over the objection and veto of Mr. Youssefzadeh
11   and Mr. Javed, with all six of the Bronzelink-appointed directors voting in favor of
12   Pourmand’s appointment.
13               Act No. 59: In a private meeting during a break in the July 10, 2017
14   GIP-Cayman Board of Directors meeting, FAN told Mr. Youssefzadeh and Mr. Javed
15   that he and DONG YIN wanted to keep full control over all matters related to the
16   Satellite Project, and Board members were supposed to simply follow his lead and
17   raise their hands and vote.
18               Act No. 60: On or about July 18, 2017, at a GIP-Cayman Board of Directors
19   meeting called by the Bronzelink-appointed directors, WONG indicated that since the
20   issue of compliance with U.S. export control laws was not on the agenda, it would not
21   be discussed.
22               Act No. 61: In preparing the minutes of the July 18, 2017 GIP-Cayman Board
23   meeting, LIU omitted all reference to discussions concerning compliance with U.S.
24   export control laws or questions about DONG YIN’s affiliation with Bronzelink.
25               Act No. 62: On July 20, 2017, Pourmand sent a letter to Boeing, falsely stating
26   that, “GIP is fully committed to compliance with the Export Administration
27   Regulations (‘EAR’) and the International Traffic in Arms Regulations (‘ITAR’).”
28   //
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 1               Act No. 63: On or about September 4, 2017, LIU distributed the minutes that
 2   she had prepared of the April 21, 2018, July 11, 2018 and July 18, 2017 GIP-Cayman
 3   Board meetings, which were falsified to omit any mention of the Board’s refusal to
 4   discuss export control law compliance issues beyond Pourmand’s denial that there
 5   were any such issues.
 6               Act No. 64: On or about September 13, 2017, the Bronzelink-appointed
 7   directors approved and adopted the altered and falsified minutes of the April and
 8   July 2017 GIP-Cayman Board meetings.
 9   C.          Resulting Damages.
10               283. As a direct and proximate result of the conspiracy to defraud, Plaintiffs
11   were damaged, and continue to incur damages, in an amount to be determined at trial.
12               284. In engaging in the conspiracy to defraud Plaintiffs, Defendants acted
13   fraudulently, oppressively, maliciously and with a willful and conscious disregard of
14   Plaintiffs’ rights. Accordingly, Plaintiffs are entitled to exemplary and punitive
15   damages pursuant to California Civil Code section 3294.
16                                  SECOND CAUSE OF ACTION
17                                             (For Fraud)
18                               (By Plaintiffs Against All Defendants)
19               285. Plaintiffs repeat and reallege paragraphs 1 through 284 of this SAC as if
20   fully alleged herein.
21   A.          Misrepresentations and False Promises.
22               286. Beginning in or about July 2015, and continuing until the present,
23   Defendants, and each of them, made and caused others to make the following false
24   and misleading representations and false promises, among others, to Plaintiffs,
25   knowing that they were false and misleading and with the intention that Plaintiffs
26   would rely upon them:
27                                  [As to U.S. Export Control Laws.]
28               (a)   That DONG YIN intended to comply with the U.S. export control laws,
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 1                     when, in fact, DONG YIN always planned and intended to obtain
 2                     confidential and sensitive satellite and launch technology and data and
 3                     ownership and control of the Satellite in violation of those laws;
 4               (b)   That DONG YIN intended to comply with the U.S. export control laws,
 5                     when, in fact, DONG YIN was conspiring to violate those laws with
 6                     FAN, WONG, LIU, COAMI, CHANG, MILBANK and others;
 7                            [As to DONG YIN’s Role in the Governance,
 8                           Management and Operations of GIP-Cayman.]
 9               (c)   That DONG YIN did not intend to exercise control and influence over
10                     GIP-Cayman, when, in fact, DONG YIN always planned and intended to
11                     control, dominate and direct the governance, management and operations
12                     of GIP-Cayman;
13               (d)   That DONG YIN did not intend to have any direct dealings with
14                     GIP-Cayman, when, in fact, DONG YIN always planned and intended to
15                     place its agents on the GIP-Cayman Board of Directors to gain and
16                     maintain dominance and over, and be able to direct, the governance,
17                     management and operations of GIP-Cayman;
18               (e)   That DONG YIN was relying on the founders, including
19                     Mr. Youssefzadeh and Mr. Javed, to manage and operate GIP-Cayman
20                     after the closing, when, in fact, it always planned and intended that its
21                     agents would control and direct the governance, management and
22                     operations of GIP-Cayman;
23               (f)   That four of the Bronzelink-appointed members of the GIP-Cayman
24                     Board of Directors would be independent of DONG YIN, when, in fact,
25                     there were never four independent Bronzelink-appointed members and
26                     Defendants never intended that the Bronzelink-appointed members
27                     would be independent of DONG YIN;
28   //
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 1               (g)   That Bronzelink-appointed directors WONG, LIU and Zheng were
 2                     independent of and unaffiliated with DONG YIN, when, in fact, each of
 3                     them was an agent and acting at the direction and in the interests of
 4                     DONG YIN;
 5               (h)   That the GIP-Cayman Board of Directors would not be under the
 6                     influence and control of the PRC, when, in fact, the PRC planned and
 7                     intended to control, dominate and direct the GIP-Cayman Board of
 8                     Directors, through DONG YIN, Amore, Bronzelink, Yiu, FAN, WONG,
 9                     LIU and others;
10                                 [As to COSEIG and its Relationship
11                                          With DONG YIN.]
12               (i)   That DONG YIN did not own or control COSEIG, when, in fact,
13                     COSEIG was under the control, dominance and direction of DONG YIN;
14               (j)   That COSEIG was an independent company 100% owned by
15                     Pok Kit Chow, when, in fact, Pot Kit Chow was merely a nominal owner
16                     acting on behalf of DONG YIN;
17               (k)   That Pot Kit Chow was a wealthy businessman and investor from
18                     Hong Kong, when, in fact, he was neither wealthy nor a bona fide
19                     investor;
20               (l)   That DONG YIN’s only role in the transaction between Plaintiffs and
21                     COSEIG would be as a lender to COSEIG, when, in fact, that was a
22                     pretext and COSEIG was always under the control, dominance and
23                     direction of DONG YIN;
24                                       [As to Bronzelink and its
25                                   Relationship With DONG YIN.]
26               (m)   That Bronzelink was an independent, stand-alone entity that did not have
27                     any affiliation with DONG YIN, when, in fact, that was a pretext and
28                     Bronzelink was always under the control, dominance and direction of
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 1                     DONG YIN;
 2               (n)   That Bronzelink would have an independent Board of Directors that
 3                     would make all decisions free of DONG YIN’s control and influence,
 4                     when, in fact, the Bronzelink Board consisted of agents of DONG YIN
 5                     and was always under the control and direction of DONG YIN;
 6               (o)   That Bronzelink’s execution and performance of its obligations under the
 7                     SHA would “not violate . . . any agreement or instrument to which it is
 8                     subject,” when, in fact, the execution and performance of its obligations
 9                     under the SHA violated the Secret FA Terms;
10               (p)   That Bronzelink was an independent entity that had “the power to
11                     execute [and] perform its obligations under and enter into all transactions
12                     contemplated by [the SHA],” when, in fact, under the Secret FA Terms,
13                     Bronzelink could not perform all of its obligations and enter into all of
14                     the transactions contemplated by the SHA;
15               (q)   That upon demand Bronzelink would provide its shares in GIP-Cayman
16                     as collateral to support a financing arrangement with an ECA or another
17                     lender, when, in fact, Bronzelink could not provide its shares in
18                     GIP-Cayman as collateral because it had already given Amore (and hence
19                     DONG YIN) a secret charge over them; and
20                                      [As to Project Financing.]
21               (r)   That GIP-Cayman would have the ability to secure additional financing
22                     from a lender other than an ECA, when, in fact, under the Secret FA
23                     Terms, Bronzelink had agreed that GIP-Cayman could only raise
24                     additional funds through financing provided by an ECA.
25               287. All of these false and misleading representations and false promises, and
26   each of them, were important because they would have influenced a reasonable
27   person’s judgment or conduct, and Defendants knew that they were likely to influence
28   Plaintiffs’ judgment and conduct.
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 1               288. Plaintiffs, and each of them, would have acted differently if they had
 2   known that these representations and promises were false.
 3   B.          Concealment of Material Facts.
 4               289. At all relevant times, Defendants, and each of them, owed Plaintiffs a
 5   duty of disclosure by virtue of the existence of one or more of the following
 6   circumstances:
 7               (a)   To the extent Defendants made any disclosures to Plaintiffs, they
 8                     disclosed only some facts, but intentionally withheld or caused others to
 9                     withhold other facts, making the disclosures misleading;
10               (b)   Defendants intentionally withheld, or caused others to withhold,
11                     important facts that were known to them, and which Plaintiffs could not
12                     have discovered on their own; and
13               (c)   Defendants actively concealed and caused others to conceal important
14                     facts from Plaintiffs, or acted to prevent Plaintiffs from discovering such
15                     facts.
16               290. Beginning in or about July 2015, Defendants, and each of them,
17   intentionally concealed, withheld and failed to disclose, and caused others to conceal,
18   withhold and fail to disclose, the following facts, with the intent to deceive Plaintiffs:
19                                   [As to DONG YIN’s Relationships
20                                    With COSEIG and Bronzelink.]
21               (a)   At all relevant times, DONG YIN exercised dominance and control over
22                     COSEIG;
23               (b)   At all relevant times, Pot Kit Chow was merely the nominal owner of
24                     COSEIG acting on behalf of DONG YIN;
25               (c)   At all relevant times, DONG YIN exercised dominance and control over
26                     Bronzelink;
27   //
28   //
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 1                            [As to DONG YIN’s Role in the Governance,
 2                           Management and Operations of GIP-Cayman.]
 3               (d)   DONG YIN never intended to be merely a lender to COSEIG or
 4                     Bronzelink, but rather planned and intended to acquire, exercise and
 5                     maintain control over the governance, management and operations of
 6                     GIP-Cayman through its dominance and control of COSEIG and
 7                     Bronzelink;
 8               (e)   FAN was appointed to the GIP-Cayman Board of Directors so that
 9                     DONG YIN could dominate, control and direct the governance,
10                     management and operations of GIP-Cayman;
11               (f)   At all relevant times, WONG, LIU and Zheng were agents of
12                     DONG YIN acting under FAN’s control and direction;
13                          [As to The Secret FA Terms and Secret Charge.]
14               (g)   The Facility Agreement between Bronzelink and Amore gave Amore the
15                     power to approve four of the five directors to the Bronzelink Board of
16                     Directors;
17               (h)   Bronzelink was required to appoint the four directors approved by Amore
18                     to the GIP-Cayman Board of Directors;
19               (i)   The Facility Agreement requires Bronzelink to provide Amore with free
20                     access at all reasonable times to the GIP-Cayman premises, assets, books,
21                     accounts and records;
22               (j)   The Facility Agreement provides that Amore has the right to meet with
23                     the GIP-Cayman senior management upon request;
24               (k)   The Facility Agreement requires GIP-Cayman to obtain Amore’s
25                     approval for any contracts in excess of $1,000,000;
26               (l)   The Facility Agreement gives Amore the right to engage a financial
27                     advisor, technical consultant, marketing consultant and tax expert for
28                     GIP-Cayman, at GIP-Cayman’s expense;
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 1               (m)   The Facility Agreement requires Bronzelink to use its control of
 2                     GIP-Cayman to prevent GIP-Cayman from entering into any joint
 3                     ventures;
 4               (n)   The Facility Agreement requires Bronzelink to use its control of
 5                     GIP-Cayman to prevent GIP-Cayman from obtaining debt financing
 6                     through any lender other than an ECA;
 7               (o)   The Facility Agreement requires Bronzelink to use its control of
 8                     GIP-Cayman to prevent GIP-Cayman from creating a stock option pool.
 9               (p)   The Secret Charge gives Amore the ability to remove Yiu, with or
10                     without cause, in the event Bronzelink breaches any provision of the
11                     Facility Agreement or the Secret Charge.
12               (q)   As part of the Secret Charge, Yiu provided (i) a signed “Share Transfer
13                     Form” in favor of Amore, which provided that in the Event of Default, all
14                     of Yiu’s shares in Bronzelink would be sold, transferred or assigned to
15                     Amore; (ii) a signed “Proxy,” giving Amore his proxy to vote on his
16                     behalf at any meeting of the Bronzelink shareholders, or to execute a
17                     written resolution as the sole shareholder of Bronzelink; (iii) a signed but
18                     undated Letter of Resignation and Release; (iv) a signed “Authority to
19                     Date Letter of Resignation and Release,” irrevocably authorizing Amore
20                     to date and submit the Letter of Resignation and Release” on behalf of
21                     Yiu; (v) a signed “Undertaking” from Bronzelink to register transfers of
22                     the charged shares to Amore; and (vi) an irrevocable letter of instruction
23                     to Bronzelink’s registered agent.
24               291. All of these facts, and each of them, were important in that they would
25   have influenced a reasonable person’s judgment or conduct, and Defendants knew that
26   their disclosure was likely to influence Plaintiffs’ judgment and conduct.
27               292. Plaintiffs, and each of them, would have acted differently if they had
28   known of these undisclosed facts.
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 1   C.          Resulting Damages.
 2               293. As a direct and proximate result of Defendants’ false and misleading
 3   representations, false promises and concealment and withholding of important
 4   information, Plaintiffs were damaged, and continue to incur damages, in an amount to
 5   be determined at trial.
 6               294. In making these false and misleading representations and false promises,
 7   and in concealing, withholding and not disclosing these facts, Defendants acted
 8   fraudulently, oppressively, maliciously and with a willful and conscious disregard of
 9   Plaintiffs’ rights. Accordingly, Plaintiffs are entitled to exemplary and punitive
10   damages pursuant to California Civil Code section 3294.
11                                   THIRD CAUSE OF ACTION
12                        (For Violation of California Penal Code Section 496)
13                                 (By Plaintiffs Against DONG YIN)
14               295. Plaintiffs repeat and reallege paragraphs 1 through 294 of this SAC as if
15   fully alleged herein.
16               296. California Penal Code section 496(c) provides, in relevant part, that
17   “[a]ny person who has been injured by a violation of subdivision (a) . . . may bring an
18   action for three times the amount of the actual damages, if any, sustained by the
19   plaintiff, cost of suit, and reasonable attorney’s fees.”
20               297. California Penal Code section 496(a) provides, in relevant part, that
21   “[e]very person who receives any property that has been stolen or that has been
22   obtained in any manner constituting theft . . . knowing the property to be so stolen or
23   obtained, or who conceals, . . . withholds, or aids in concealing . . . or withholding any
24   property from the owner, knowing the property to be so stolen or obtained, [is guilty
25   of a criminal offense].”
26               298. California Penal Code section 484 defines “theft” to include: (a) theft by
27   trick, which involves obtaining possession of another’s property with his or her
28   consent by fraud or deceit; and (b) theft by false pretenses, which involves obtaining
                                               99
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 1   possession and ownership of another’s property by false or fraudulent representations
 2   or promise.
 3               299. In or about June 2016, DONG YIN and its agents stole and received the
 4   following property from Plaintiffs by fraud, deceit and false pretenses, as described in
 5   this SAC: control of the Satellite Project; the tangible and intellectual property
 6   comprising the Satellite Project; a 47.25% ownership interest in GIP-Cayman
 7   previously owned by Plaintiffs; and the confidential and proprietary information,
 8   documentation and data developed as part of the Satellite Project.
 9               300. In obtaining and receiving this stolen property, DONG YIN and its
10   agents acted knowingly with the intent to deprive Plaintiffs of their property, to
11   receive stolen property, and to conceal, withhold and aid in the concealment and
12   withholding of property stolen from Plaintiffs.
13               301. As a direct and proximate result of these violations of California Penal
14   Code section 496(a), Plaintiffs have been injured in an amount to be determined at
15   trial.
16                                  FOURTH CAUSE OF ACTION
17                                   (For Civil RICO in Violation of
18                    Title 18, United States Code, Sections 1962(b) and 1964(c))
19                                 (By Plaintiffs Against DONG YIN)
20               302. Plaintiffs repeat and reallege paragraphs 1 through 301 of this SAC as if
21   fully alleged herein.
22               303. Title 18, United States Code, section 1962(b) provides, in relevant part,
23   that “[i]t shall be unlawful for any person through a pattern of racketeering
24   activity . . . to acquire or maintain, directly or indirectly, any interest in or control of
25   any enterprise . . . .”
26               304. Title 18, United States Code, section 1961(4) defines the term
27   “enterprise” to include “any individual, partnership, or other legal entity, and
28   any . . . group of individuals associated in fact although not a legal entity.”
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 1               305. Title 18, United States Code, section 1964(c), provides, in relevant part,
 2   that “[a]ny person injured in his business or property be reason of a violation of
 3   section 1962 of this chapter may sue thereafter . . . and shall recover threefold the
 4   damages he sustains and the cost of the suit, including a reasonable attorney’s
 5   fee . . . .”
 6               306. At all relevant times, each Plaintiff was a “person” within the meaning of
 7   Title 18, United States Code, sections 1961(3) and 1964(c).
 8               307. At all relevant times, DONG YIN, FAN, WONG, LIU, COAMI,
 9   CHANG, COSEIG, Amore, Bronzelink, Yiu, GIP-Cayman, GIP-USA, Dub Dub,
10   MILBANK and Panahy were each a “person” within the meaning of Title 18, United
11   States Code, section 1961(3).
12   A.          The “Victim Enterprise.”
13               308. At all relevant times, STM Atlantic, STM Group, Emil Youssefzadeh,
14   Umar Javed, GIP-Cayman, GIP-USA and Dub Dub were a group of persons
15   associated together for the common purpose of generating legitimate income, revenue
16   and profits by developing and pursuing completion of the Satellite Project, and
17   constituted an association-in-fact enterprise within the meaning of Title 18,
18   United States Code, section 1961(4) (the “Victim Enterprise”).
19               309. At all relevant times, the Victim Enterprise was engaged in, and its
20   activities affected, interstate and foreign commerce in that, among other things, it was
21   involved in acts and transactions occurring in, among other places, California,
22   Washington, D.C., the Cayman Islands and Hong Kong.
23   B.          The Racketeering Acts.
24               310. Beginning in or about July 2015, and continuing until the present,
25   DONG YIN, together with Amore and Bronzelink, acquired and maintained, directly
26   and indirectly, an interest in and/or control of the Victim Enterprise through a pattern
27   of racketeering activity, as described below, in violation of Title 18, United States
28   Code, section 1962(b).
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 1               1.    Wire Fraud.
 2               311. Title 18, United States Code, section 1343 provides in relevant part that,
 3   “[w]hoever, having devised or intending to devise any scheme or artifice to defraud,
 4   or for obtaining money or property by means of false or fraudulent pretenses,
 5   representation, or promises, transmits or causes to be transmitted by means of wire,
 6   radio, or television communication in interstate or foreign commerce, any writings,
 7   signs, signals, pictures, or sounds for the purpose of executing such scheme or artifice
 8   [is guilty of a criminal offense].”
 9               312. Beginning in or about July 2015, and continuing until the present,
10   DONG YIN, together with COAMI, CHANG, COSEIG, Amore, Bronzelink and
11   MILBANK, and each of them, acting through their agents, including FAN, WONG,
12   LIU, Yiu, Panahy and others, knowingly and with intent to defraud, devised,
13   participated in and executed a scheme and artifice to defraud Plaintiffs and to obtain
14   their money and property by means of materially false and fraudulent pretenses,
15   representations and promises and the concealment of material facts, as described
16   further in this SAC, including, but not limited to, in paragraphs 97-99, 101-102, 107,
17   110-111, 115, 117, 119-120, 122-123, 128-139, 141-142, 150, 154-156, 159, 162,
18   166, 169-170, 172, 205, 213, 221, 230, 233-234, 239-253, 264-276, 286, 290, 299,
19   313, 334 and 351.
20               313. On or about the dates set forth below, for purposes of carrying out such
21   scheme or artifice, DONG YIN, together with COAMI, CHANG, COSEIG, Amore
22   and Bronzelink and MILBANK, and each of them, acting through their agents,
23   including FAN, WONG, LIU, Yiu, Panahy and others, caused the following
24   transmissions by wire or radio communication in interstate and foreign commerce,
25   among others, in violation of Title 18, United States Code, section 1343:
26   ///
27   ///
28   ///
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 1
      Racketeering
                            Date              Description of Wire Transmission
 2        Act
          One           Oct. 5, 2015  Ivan Chow sends an email to Mr. Youssefzadeh,
 3
                                      stating that he was the newly appointed sole
 4                                    representative for Geng Zhiyuan and Yang Zeng of
                                      DONG YIN for purposes of the Global IP
 5
                                      transaction.
 6           Two        Early         After reviewing the COSEIG JVA, Panahy
                        December      telephones Mr. Youssefzadeh and Mr. Javed and
 7
                        2015          states that he could help ensure compliance with
 8                                    U.S. export control laws if MILBANK represented
                                      DONG YIN in the COSEIG transaction.
 9
            Three       Dec. 16, 2015 Ivan Chow sends an email to Mr. Javed,
10                                    misrepresenting that COSEIG’s sole shareholder
11
                                      and director was Pok Kit Chow.
             Four       Jan. 28, 2016 Ivan Chow sends an email to Mr. Youssefzadeh,
12                                    Mr. Javed and Pourmand, on behalf of FAN,
13
                                      misrepresenting that COSEIG’s $250 million
                                      financial proposal had been formally approved by
14                                    DONG YIN.
15               Five   Jan. – Feb.   Panahy, acting as DONG YIN’s counsel,
                        2016          telephones Mr. Javed in California, and falsely
16                                    promises that DONG YIN would have no control
17                                    or influence over GIP-Cayman.
                 Six    Feb. 16, 2016 In a telephone conference, CHANG, acting in his
18                                    capacity as COAMI’s Executive Director and
19                                    Co-President, falsely represents to
                                      Mr. Youssefzadeh, Mr. Javed and Pourmand that
20                                    after the closing: (1) DONG YIN would have no
21                                    control of GIP-Cayman; (2) DONG YIN had no
                                      intention of controlling or influencing
22                                    GIP-Cayman; and (3) DONG YIN was relying on
23                                    Mr. Youssefzadeh, Mr. Javed and Pourmand to run
                                      the business.
24

25

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 1    Racketeering
                           Date               Description of Wire Transmission
          Act
 2       Seven         Mar. 15, 2016 Panahy, acting as DONG YIN’s counsel, sends an
 3                                   email to Mr. Youssefzadeh and Mr. Javed,
                                     furthering the false impression that Bronzelink was
 4                                   an independent, stand-alone, and legitimate
 5                                   investment vehicle by stating that his law firm was
                                     DONG YIN’s counsel and could not act for
 6                                   Bronzelink.
 7           Eight     Mar. 28, 2016 Panahy, acting as DONG YIN’s counsel, sends an
                                     email responding to a request for written
 8                                   confirmation that DONG YIN was providing
 9                                   financing to Bronzelink, stating, “[g]iven our stated
                                     concerns regarding the role of DY as a lender, and
10                                   the need to attenuate PRC interests in both BL and
11                                   GIP, having a letter from DY or its counsel ‘on the
                                     record’ does not serve the interests of any of the
12                                   parties to this transaction.”
13           Nine      Apr. 3, 2016 Henry Fan sends an email to Mr. Youssefzadeh and
                                     Mr. Javed, among others, attaching drafts of the
14                                   SPA and SHA.
15               Ten   Apr. 5, 2016 Panahy, acting as DONG YIN’s counsel, sends an
                                     email providing his comments to the SPA, and
16
                                     falsely representing that he had aligned the
17                                   conditions precedent in the SPA with the terms of
                                     the Facility Agreement between Amore and
18
                                     Bronzelink.
19          Eleven     May 31, 2016 In a telephone call between Panahy and Mr. Javed,
                                     Panahy, acting as DONG YIN’s counsel, falsely
20
                                     represents that: (1) four of the Bronzelink-
21                                   appointed directors are completely independent of
                                     and unaffiliated with DONG YIN; (2) with four
22
                                     independent Bronzelink-appointed directors,
23                                   GIP-Cayman would have solid protection from
                                     PRC influence and control; and (3) although
24
                                     WONG worked for Bronzelink, he is not affiliated
25                                   with DONG YIN.
26

27

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 1    Racketeering
                         Date                Description of Wire Transmission
          Act
 2      Twelve       Jun. 2, 2016    In a telephone call from FAN to Mr. Javed, FAN
 3                                   falsely represents that: (1) DONG YIN and
                                     Bronzelink are two completely different entities
 4                                   and were unrelated; (2) after the closing,
 5                                   DONG YIN would not have control of or any say
                                     in any GIP-Cayman matters; and (3) after the
 6                                   closing, Bronzelink would have an independent
 7                                   Board of Directors that would make all of its
                                     decisions free of DONG YIN’s influence.
 8        Thirteen   Jun. 7, 2016    WONG emails Mr. Youssefzadeh and Mr. Javed to
 9                                   state that a press release they wanted to issue about
                                     the Bronzelink transaction must be held to avoid
10                                   any “unnecessary interference” from outsiders.
11        Fourteen   Jun 24, 2016    Panahy sends a letter to Mr. Youssefzadeh,
                                     Mr. Javed and Pourmand via email confirming that
12                                   MILBANK could now represent GIP-Cayman on
13                                   corporate, satellite system, launch services, launch,
                                     in-orbit insurance procurement, financing and
14                                   regulatory matters.
15         Fifteen   Jul. 8, 2016    Tang circulates by email a draft of GIP-Cayman’s
                                     authority/delegation chart, which indicates that the
16
                                     GIP-Cayman Board is authorized to approve and
17                                   oversee activities typically approved and overseen
                                     by the company’s executives and managers.
18
           Sixteen   Jul. 29, 2016   Jason Luo emails Mr. Youssefzadeh that “[he]
19                                   would like Mr. Fan/DONG YIN to review/agreed
                                     [sic][the LOI with Boeing] before we move on.”
20
         Seventeen   July 29, 2016   WONG responds to Luo’s email with his own
21                                   email, indicating that “you have the agreement
                                     from both parties to proceed,” copying Terry Long
22
                                     of DONG YIN.
23        Eighteen   Nov. 1, 2016    WONG emails Mr. Javed requesting the updated
24
                                     Business Plan for GIP-Cayman by the following
                                     day.
25        Nineteen   Nov. 5, 2016    WONG emails Mr. Javed requesting his input on
26
                                     the GIP-Cayman financial model so he could
                                     present it to FAN for his final review.
27

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 1    Racketeering
                          Date              Description of Wire Transmission
          Act
 2      Twenty        Nov. 18, 2016 Tang emails Mr. Javed requesting technical details
 3                                  for Multi-Beam Architecture, Beam Size,
                                    Broadcasting, Design Process, Capacity Allocation
 4                                  and coverage map.
 5      Twenty-one    Jan. 9, 2017  WONG emails Mr. Javed directing him to have
                                    LIU pay director fees of $35,000 per quarter to
 6                                  Jason Luo and $2,500 per quarter to Julian Zhao
 7                                  from GIP-Cayman accounts.
        Twenty-two    Jan. 20, 2017 WONG emails the December 8, 2016 GIP-Cayman
 8                                  board minutes to Mr. Javed, altering the minutes
 9                                  by, among other things, removing references about
                                    a discussion regarding technical satellite program
10                                  updates.
11    Twenty-three    Feb. 25, 2017 FAN, WONG and LIU vote by email to terminate
                                    Peter Lui’s employment as GIP-Cayman’s CFO,
12                                  leaving WONG in full control of GIP-Cayman’s
13                                  bank accounts.
       Twenty-four    Apr. 25, 2017 Panahy, acting ostensibly as GIP-Cayman’s
14
                                    counsel, emails the Milbank Memo to Chen for
15                                  distribution to the GIP-Cayman Board of Directors,
                                    omitting any discussion of the Secret FA Terms
16
                                    and the Secret Charge, both of which MILBANK
17                                  helped to negotiate.
        Twenty-five   May 24, 2017 WONG sends an email denying a quorum for a
18
                                    special meeting of the GIP-Cayman Board of
19                                  Directors noticed by Mr. Youssefzadeh to discuss
                                    (1) the Milbank Memo and corporate governance;
20
                                    and (2) the Citigroup debt offering.
21      Twenty-six    Jun. 1, 2017  WONG sends an email again denying a quorum for
                                    a special meeting of the GIP-Cayman Board of
22
                                    Directors noticed by Mr. Youssefzadeh to discuss
23                                  (1) the Milbank Memo and corporate governance;
24
                                    and (2) the Citigroup debt offering.
      Twenty-seven    Jun. 2, 2017  WONG sends an email refusing to identify the
25                                  GIP-Cayman directors appointed by Bronzelink.
26

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 1    Racketeering
                                 Date               Description of Wire Transmission
          Act
 2    Twenty-eight          Jun. 14, 2017    Chen emails the Chen Memo to the GIP-Cayman
 3                                           Board of Directors, omitting any discussion of the
                                             Secret FA Terms and the Secret Charge as a result
 4                                           of MILBANK and Panahy having concealed and
 5                                           withheld that information from him,
                                             Mr. Youssefzadeh and Mr. Javed.
 6        Twenty-nine       Sep. 4, 2017     LIU circulates the minutes of the April 21, 2018.
 7                                           July 11, 2018 and July 18, 2017 GIP-Cayman
                                             Board meetings by email to Mr. Youssefzadeh,
 8                                           Mr. Javed, WONG, FAN, Pourmand, Henry Fan
 9                                           and Zhang Hai Min, omitting mention of the
                                             Board’s refusal to address compliance issues.
10          Thirty          Sep. 13, 2017    During a telephonic meeting of the GIP-Cayman
11                                           Board of Directors, the Board approves the altered
                                             minutes of the July 18, 2017 board meeting, which,
12                                           among other things, omits mention of the Board’s
13                                           refusal to address compliance issues.
14               2.    International Money Laundering.
15               314. Title 18, United States Code, section 1956(a)(2) provides in relevant part
16   that, “[w]hoever transports, transmits, or transfers . . . funds . . . to a place in the
17   United States from or through a place outside the United States . . . [¶] [w]ith the
18   intent to promote the carrying on of specified unlawful activity [is guilty of a criminal
19   offense].”
20               315. On or about June 3, 2016, in violation of Title 18, United States Code,
21   section 1956(a)(2)(A ), DONG YIN and Bronzelink, knowingly conducted and
22   conspired to conduct the wire transfer of $25,000,000 from a place outside the
23   United States (Bronzelink’s Hong Kong bank account) to a place in the United States
24   (GIP-Cayman’s HSBC bank account in California), with the intent to promote the
25   carrying on of Specified Unlawful Activity, namely, wire fraud in violation of
26   Title 18, United States Code, section 1343, as described above.
27   //
28   //
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 1   C.          Injury to Business and Property.
 2               316. By reason of the foregoing violations of Title 18, United States Code,
 3   section 1962(b), Plaintiffs have been injured in their business and property in an
 4   amount to be determined at trial.
 5                                    FIFTH CAUSE OF ACTION
 6                            (For Civil RICO Conspiracy in Violation of
 7                     Title 18, United States Code, Sections 1962(d) and 1964(c))
 8                               (By Plaintiffs Against All Defendants)
 9               317. Plaintiffs repeat and reallege paragraphs 1 through 316 of this SAC as if
10   fully alleged herein.
11               318. Title 18, United States Code, section 1962(d) provides, in relevant part,
12   that “[i]t shall be unlawful for any person to conspire to violate any of the provisions
13   of subsection[] . . . (b) . . . of this section [1962].”
14               319. Beginning in or about July 2015, and continuing until the present,
15   DONG YIN, FAN, WONG, LIU, COAMI, CHANG and MILBANK, together with
16   COSEIG, Amore and Bronzelink, and each of them, knowingly and willfully
17   conspired and agreed to:
18               (a)   Violate Title 18, United States Code, section 1962(b), by DONG YIN
19                     acquiring and maintaining, directly and indirectly, an interest in or
20                     control of the Victim Enterprise through the pattern of racketeering
21                     activity described in the Fourth Cause of Action; and
22               (b)   Commit two or more of the racketeering acts of wire fraud and money
23                     laundering described in the Fourth Cause of Action, knowing of the
24                     essential nature and scope of the Victim Enterprise and intending for
25                     DONG YIN to acquire or maintain an interest in or control of it.
26               320. GIP-Cayman joined the conspiracy in or about June 2016, and GIP-USA
27   joined the conspiracy in or about August 2016, when DONG YIN assumed control of
28   them.
                                               108
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 1               321. By reason of the foregoing violations of Title 18, United States Code,
 2   section 1962(d), Plaintiffs have been injured in their business and property, in an
 3   amount to be determined at trial.
 4                                    SIXTH CAUSE OF ACTION
 5                                   (For Civil RICO in Violation of
 6                    Title 18, United States Code, Sections 1962(c) and 1964(c))
 7                               (By Plaintiffs Against All Defendants)
 8               322. Plaintiffs repeat and reallege paragraphs 1 through 321 of this SAC as if
 9   fully alleged herein.
10               323. Title 18, United States Code, section 1962(c) provides, in relevant part,
11   that “[i]t shall be unlawful for any person employed by or associated with any
12   enterprise . . . to conduct or participate, directly or indirectly, in the conduct of such
13   enterprise’s affairs through a pattern of racketeering activity.”
14   A.          The Criminal Enterprise.
15               324. At all relevant times, DONG YIN, COSEIG, Amore and Bronzelink were
16   a group of persons associated for the common purpose of defrauding Plaintiffs of their
17   ownership interests in and control of the Satellite Project, and constituted an
18   association-in-fact enterprise within the meaning of Title 18, United States Code,
19   section 1961(4) (the “Criminal Enterprise”). GIP-Cayman joined the Criminal
20   Enterprise in or about June 2016, and GIP-USA joined the Criminal Enterprise in or
21   about August 2016, when DONG YIN assumed control of them.
22               325. At all relevant times, the Criminal Enterprise was engaged in, and its
23   activities affected, interstate and foreign commerce as alleged in the Fourth Cause of
24   Action.
25   B.          The Racketeering Acts.
26               326. Beginning in or about July 2015, and continuing until the present,
27   DONG YIN, FAN, WONG, LIU, COAMI, CHANG and MILBANK, together with
28   COSEIG, Amore, Bronzelink, Yiu, Panahy and subsequently GIP-Cayman and
                                               109
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 1   GIP-USA, and each of them, being employed by or associated with the Criminal
 2   Enterprise, conducted and participated in the conduct of the affairs of the Criminal
 3   Enterprise, directly and indirectly, through a pattern of racketeering activity that
 4   included the acts of wire fraud and money laundering described in the Fourth Cause of
 5   Action, in violation of Title 18, United States Code, section 1962(c).
 6   C.          Injury to Business and Property.
 7               327. By reason of the foregoing violations of Title 18, United States Code,
 8   section 1962(c), Plaintiffs have been injured in their business and property, in an
 9   amount to be determined at trial.
10                                   SEVENTH CAUSE OF ACTION
11                             (For Civil RICO Conspiracy in Violation of
12                     Title 18, United States Code, Sections 1962(d) and 1964(c))
13                                (By Plaintiffs Against All Defendants)
14               328. Plaintiffs repeat and reallege paragraphs 1 through 327 of this SAC as if
15   fully alleged herein.
16               329. Beginning in or about July 2015, and continuing until the present,
17   DONG YIN, FAN, WONG, LIU, COAMI, CHANG and MILBANK, together with
18   COSEIG, Amore, Bronzelink, Yiu and Panahy, and each of them, knowingly and
19   willfully conspired and agreed to:
20               (a)   Violate Title 18, United States Code, section 1962(c), by conducting the
21                     affairs and participating in the conduct of the affairs of the Criminal
22                     Enterprise, directly and indirectly, through the pattern of racketeering
23                     activity described in the Fourth Cause of Action; and/or
24               (b)   Commit two or more of the racketeering acts of wire fraud and money
25                     laundering described in the Fourth Cause of Action, knowing of the
26                     essential nature and scope of the Criminal Enterprise and intending to
27                     participate in it.
28   //
                                                110
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 1               330. GIP-Cayman joined the conspiracy in or about June 2016, and GIP-USA
 2   joined the conspiracy in or about August 2016, when DONG YIN assumed control of
 3   them.
 4               331. By reason of the foregoing violations of Title 18, United States Code,
 5   section 1962(d), Plaintiffs have been injured in their business and property, in an
 6   amount to be determined at trial.
 7                                  EIGHTH CAUSE OF ACTION
 8                      (For Interference with Prospective Business Advantage)
 9                                 (By Plaintiffs Against DONG YIN)
10               332. Plaintiffs repeat and reallege paragraphs 1 through 331 of this SAC as if
11   fully alleged herein.
12               333. In or about February 2016, Plaintiffs entered into an economic
13   relationship with Bronzelink, in which Bronzelink would substitute for COSEIG and
14   enter into a transaction to provide financing for the Satellite Project in exchange for
15   equity in GIP-Cayman and other consideration, as described above. That economic
16   relationship was substantially likely to result in economic benefits to Plaintiffs,
17   including a share of the projected US$1.5 billion or more in anticipated profits when
18   the Satellite Project was successfully completed.
19               334. In or about March 2016, DONG YIN caused Amore to enter into the
20   Facility Agreement with Bronzelink, which contained provisions (the Secret
21   FA Terms) that were contrary to and inconsistent with DONG YIN’s representations
22   and promises to Plaintiffs, and which prevented Bronzelink from providing the
23   benefits that Plaintiffs were substantially certain to receive under their intended
24   transaction with Bronzelink. Specifically, the Facility Agreement:
25               (a)   Gives DONG YIN, through Amore, access to and control over
26                     GIP-Cayman and the Satellite Project;
27               (b)   Undermines Plaintiffs’ ability to obtain additional financing necessary to
28                     complete the Satellite Project by preventing GIP-Cayman from obtaining
                                               111
                              [PROPOSED] SECOND AMENDED COMPLAINT
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 1                     financing through any source other than an ECA; and
 2               (c)   Places limitations and restrictions on the operations of GIP-Cayman that
 3                     were never disclosed to Plaintiffs and to which Plaintiffs would never
 4                     have agreed.
 5               335. In entering into the Facility Agreement, and at all relevant times prior to
 6   on or about June 3, 2016, DONG YIN knew of Plaintiffs’ prospective economic
 7   relationship with Bronzelink.
 8               336. In entering into the Facility Agreement, DONG YIN intended to interfere
 9   with Plaintiffs’ economic relationship with Bronzelink, or knew that its conduct was
10   substantially certain to interfere with that relationship.
11               337. In fact, DONG YIN did interfere with Plaintiffs’ economic relationship
12   with Bronzelink. In particular, although Bronzelink entered into the SPA and the
13   SHA on or about May 10, 2016, its performance under those contracts has been
14   undermined and substantially diminished by its contrary and inconsistent obligations
15   to DONG YIN and Amore under the Facility Agreement.
16               338. As a direct and proximate result of DONG YIN’s knowing and
17   intentional interference with Plaintiffs’ prospective economic relationship with
18   Bronzelink, Plaintiffs have suffered damages in an amount to be determined at trial.
19               339. In addition, beginning in or about October 2016, both Mr. Youssefzadeh
20   and Mr. Javed received substantial income for the work they were performing for
21   GIP-Cayman and GIP-USA, and had been promised increased compensation and
22   bonuses from GIP-Cayman and GIP-USA when those companies obtained debt
23   financing.
24   //
25               340. At all relevant times, DONG YIN knew that Mr. Youssefzadeh and
26   Mr. Javed were receiving substantial income from, and had been promised increased
27   compensation and bonuses by, GIP-USA and GIP-Cayman.
28               341. Between in or about October 2016 and August 2017, DONG YIN, acting
                                               112
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 1   through its agents FAN, WONG, LIU and others known and unknown to Plaintiffs,
 2   intentionally engaged in wrongful conduct that: (a) interfered with
 3   Mr. Youssefzadeh’s and Mr. Javed’s receipt of future income, increased compensation
 4   and bonuses by creating intolerable working conditions that forced them to resign
 5   their executive positions at and stop working for GIP-Cayman and GIP-USA; and (b)
 6   caused GIP-Cayman and GIP-USA to refuse to consider and approve the Citigroup
 7   debt financing proposal or otherwise obtain debt financing, thus depriving
 8   Mr. Youssefzadeh and Mr. Javed of the opportunity and ability to receive the salary
 9   increases and bonuses they would otherwise have realized if the debt financing had
10   been obtained.
11               342. In engaging in this conduct, DONG YIN at all times intended to interfere
12   with Mr. Youssefzadeh’s and Mr. Javed’s receipt of future income, increased
13   compensation and bonuses from GIP-Cayman and GIP-USA, or knew that its conduct
14   was substantially certain to interfere with these opportunities.
15               343. In fact, DONG YIN did interfere with Mr. Youssefzadeh’s and
16   Mr. Javed’s receipt of future income, increased compensation and bonuses from
17   GIP-Cayman and GIP-USA by, among other things, forcing them to resign their
18   executive positions with GIP-Cayman and GIP-USA and preventing GIP-Cayman and
19   GIP-USA from pursuing debt financing through Citigroup.
20               344. As a direct and proximate result of DONG YIN’s conduct,
21   Mr. Youssefzadeh and Mr. Javed have suffered damages including, without limitation,
22   emotional distress, in an amount to be determined at trial.
23               345. By engaging in the conduct described in this cause of action, DONG YIN
24   acted fraudulently, oppressively, maliciously and with a willful and conscious
25   disregard of Plaintiffs’ rights. Accordingly, Plaintiffs are entitled to exemplary and
26   punitive damages pursuant to California Civil Code section 3294.
27

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 1                                     NINTH CAUSE OF ACTION
 2                       (For Violation of California Unfair Competition Law,
 3                      California Business & Professions Code Section 17200)
 4                               (By Plaintiffs Against All Defendants)
 5               346. Plaintiffs repeat and reallege paragraphs 1 through 345 of this SAC as if
 6   fully alleged herein.
 7               347. California’s Unfair Competition Law, California Business and
 8   Professions Code section 17200, et seq. (the “UCL”), creates a statutory private right
 9   of action for “unfair competition,” which is defined to include “any unlawful, unfair
10   or fraudulent business act or practice . . . .”
11               348. Beginning in or about October 2015, and continuing until the present,
12   Defendants, and each of them, engaged in unlawful, unfair and fraudulent business
13   acts and practices in violation of the UCL, as described more fully above.
14               349. Defendants, and each of them, engaged in, aided and abetted and
15   conspired to commit the following unlawful business acts and practices, among others,
16   in violation of the UCL:
17               (a)   Willfully violating ITAR and the EAR, in violation of Title 22,
18                     United States Code, section 2778 and Title 50, United States Code,
19                     section 4610;
20               (b)   Conspiring to violate ITAR and the EAR, in violation of Title 18,
21                     United States Code, section 371;
22               (c)   Committing wire fraud, in violation of Title 18, United States Code,
23                     section 1343;
24               (d)   Engaging in international money laundering, in violation of Title 18,
25                     United States Code, section 1956(a)(2);
26   //
27               (e)   Violating and conspiring to violate RICO, in violation of Title 18,
28                     United States Code, sections 1962(b), (c) and (d);
                                               114
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 1               (f)   Obtaining and receiving stolen property, in violation of California
 2                     Penal Code section 494(a); and
 3               (g)   Engaging in the tort of deceit, in violation of California Civil Code
 4                     section 1709.
 5               350. Defendants, and each of them, also engaged in, aided and abetted and
 6   conspired to commit the following unfair business practices, among others, in
 7   violation of the UCL:
 8               (a)   Causing Amore to enter into the Facility Agreement with Bronzelink that
 9                     gave DONG YIN, through Amore, the ability to place its agents on the
10                     Board of Directors of GIP-Cayman and GIP-USA; gave DONG YIN
11                     secret control of GIP-Cayman, GIP-USA and the Satellite Project;
12                     interfered with Plaintiffs’ ability to obtain the additional financing
13                     necessary to complete the Satellite Project; and placed limitations and
14                     restrictions on the operations of GIP-Cayman that were never disclosed
15                     to Plaintiffs and to which Plaintiffs never agreed;
16               (b)   Placing agents of DONG YIN on the Board of Directors of GIP-Cayman;
17               (c)   Placing agents of DONG YIN on the Board of Directors of GIP-USA;
18               (d)   Concealing from Plaintiffs that WONG, LIU and others were agents of
19                     DONG YIN acting under FAN’s control and direction;
20               (e)   Causing GIP-Cayman to enter into an employment agreement with
21                     Pourmand without Plaintiffs’ say or approval and which paid Pourmand
22                     far in excess of his value;
23               (f)   Causing GIP-Cayman to enter into contracts to compensate the
24                     Amore-approved, Bronzelink-appointed directors on the GIP-Cayman
25                     and GIP-USA Boards of Directors without obtaining the approval of the
26                     GIP-Cayman Compensation Committee;
27

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 1               (g)   Overcompensating Jason Luo, the Chairman of the GIP-Cayman Board
 2                     of Directors, without the approval of the GIP-Cayman Compensation
 3                     Committee;
 4               (h)   Permitting FAN and WONG, as individual GIP-Cayman directors, to
 5                     make business decisions and exercise authority typically reserved for the
 6                     company’s executives and managers;
 7               (i)   Permitting FAN and WONG to make business decisions independent of
 8                     the GIP-Cayman Board of Directors as a whole, which FAN and WONG
 9                     did not have the authority to make as individual directors;
10               (j)   Appointing WONG Executive Director of GIP-Cayman without the
11                     authority to do so;
12               (k)   Retaliating against Mr. Youssefzadeh and Mr. Javed for questioning
13                     whether the PRC, through DONG YIN, controlled GIP-Cayman in
14                     violation of U.S. export control laws;
15               (l)   Causing the resignations of Jason Luo and Julian Zhao as directors of
16                     GIP-Cayman;
17               (m)   Replacing Luo and Zhao as directors of GIP-Cayman with agents of
18                     DONG YIN, who were under the control of and took their direction
19                     exclusively from FAN;
20               (n)   Causing WONG to be appointed Chairman of the GIP-Cayman Board of
21                     Directors;
22               (o)   Reappointing Pourmand as CEO, over Mr. Youssefzadeh’s and
23                     Mr. Javed’s objections and veto;
24               (p)   Refusing to convene duly noticed meetings of the GIP-Cayman Board of
25                     Directors to discuss and address the issue of whether GIP-Cayman’s
26                     corporate governance, management and operations were in compliance
27                     with U.S. export control laws;
28   //
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 1               (q)   Refusing to convene duly noticed meetings of the GIP-Cayman Board of
 2                     Directors to consider and resolve whether to engage Citigroup to obtain
 3                     the next tranche of debt financing;
 4               (r)   Forcing Mr. Youssefzadeh and Mr. Javed to resign as executives of
 5                     GIP-Cayman and GIP-USA;
 6               (s)   Forcing Chen to resign as General Counsel of GIP-Cayman and
 7                     GIP-USA;
 8               (t)   Altering and falsifying minutes of GIP-Cayman Board of Director
 9                     meetings;
10               (u)   Preparing records of GIP-Cayman Board of Director meetings that
11                     omitted material information and made the records false and misleading;
12               (v)   Offering to pay Plaintiffs for not pursuing the issue of whether
13                     DONG YIN was in violation of U.S. export control laws;
14               (w)   Gaining, exercising and maintaining dominance and control over the
15                     governance, management and operations of GIP-Cayman by false and
16                     fraudulent representations and the concealment of material facts;
17               (x)   Gaining, exercising and maintaining dominance and control over the
18                     governance, management and operations of GIP-USA by false and
19                     fraudulent promises;
20               (y)   Gaining, exercising and maintaining dominance and control over the
21                     Satellite Project by false and fraudulent representations and promises and
22                     the concealment of material facts; and
23               (z)   Concealing and disguising DONG YIN’s control of GIP-Cayman,
24                     GIP-USA and the Satellite Project and its access to confidential and
25                     sensitive satellite and launch technology and data subject to U.S. export
26                     control laws.
27               351. Defendants, and each of them, also engaged in, aided and abetted and
28   conspired to commit the following fraudulent business acts and practices, among
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 1   others, in violation of the UCL:
 2               (a)   Falsely representing that DONG YIN’s role in the COSEIG and
 3                     Bronzelink transactions was solely as a lender and limited to providing
 4                     indirect debt financing for the Satellite Project;
 5               (b)   Falsely representing to Plaintiffs that DONG YIN did not intend to
 6                     exercise control or exert influence over GIP-Cayman’s governance,
 7                     management and operations;
 8               (c)   Falsely representing to Plaintiffs that DONG YIN did not intend to have
 9                     any direct dealings with GIP-Cayman;
10               (d)   Falsely representing to Plaintiffs that DONG YIN was relying on
11                     Mr. Youssefzadeh and Mr. Javed and Pourmand to run GIP-Cayman after
12                     the closing;
13               (e)   Falsely representing to Plaintiffs that the Bronzelink-appointed directors
14                     WONG, LIU and Yang Zheng were completely independent of and not
15                     affiliated with DONG YIN;
16               (f)   Falsely representing to Plaintiffs that DONG YIN did not own or control
17                     COSEIG;
18               (g)   Falsely representing to Plaintiffs that COSEIG was an independent
19                     company owned by a wealthy Hong Kong investor, Pok Kit Chow;
20               (h)   Falsely representing to Plaintiffs that Bronzelink was an independent,
21                     stand-alone and legitimate investment vehicle that did not have any
22                     affiliation with DONG YIN; and
23               (i)   Falsely representing to Plaintiffs in the SHA that Bronzelink had “the
24                     power to execute [and] perform its obligations under and enter into all
25                     transactions contemplated by [the SHA].”
26               352. Plaintiffs have lost money and property as a direct and proximate result
27   of Defendant’s unfair, unlawful and fraudulent business acts and practices. As a
28   result, Plaintiffs are entitled to restitutionary disgorgement in an amount to be
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 1   determined at trial.
 2               353. In addition, Plaintiffs are entitled to injunctive relief, enjoining
 3   Defendants, and each of them, from engaging in such further unlawful, unfair and
 4   fraudulent business acts and practices. The requested injunctive relief will benefit the
 5   general public as it will prevent Defendants from transferring confidential and
 6   sensitive satellite and launch technology and data to the PRC, and will prevent
 7   DONG YIN from obtaining control ownership and of the Satellite, in violation of
 8   ITAR, the EAR and the PRC Proscription.
 9                                    TENTH CAUSE OF ACTION
10                                       (For Unjust Enrichment)
11                                  (By Plaintiffs Against DONG YIN)
12               354. Plaintiffs repeat and reallege paragraphs 1 through 353 of this SAC as if
13   fully alleged herein.
14               355. The Satellite Project was the culmination of Mr. Youssefzadeh’s and
15   Mr. Javed’s combined four decades of experience in the satellite industry. Between
16   2008 and 2016, they invested thousands of hours and millions of dollars in developing
17   and pursuing the Satellite Project. As a direct result of Plaintiffs’ hard work and
18   multi-million-dollar investment, the Satellite Project became a viable enterprise with
19   an estimated profit potential of US$1.5 billion or more over the life of the Satellite,
20   and with the potential for the development, fabrication, launch and operation of
21   additional communication satellites.
22               356. As a consequence, DONG YIN has received valuable benefits from
23   Plaintiffs in the form of ownership and control of the Satellite Project, including
24   contracts, rights, titles and interests; intellectual property; confidential and proprietary
25   information, documentation and data; and a 75% interest in GIP-Cayman, of which
26   47.25% previously belonged to Plaintiffs. Furthermore, DONG YIN obtained these
27   benefits by unjust and inequitable means, including false and fraudulent
28   representations and promises, the concealment of material facts, and theft by trick and
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 1   false pretenses. DONG YIN has been, and is being, unjustly enriched by its retention
 2   of those benefits.
 3               357. Plaintiffs are entitled to be compensated for the value of the benefits that
 4   DONG YIN has received and is retaining unjustly, in an amount to be determined at
 5   trial.
 6                                       PRAYER FOR RELIEF
 7               Wherefore, Plaintiffs pray for judgment against Defendants, as follows:
 8   As to the First Cause of Action for Conspiracy to Defraud:
 9               1.    For compensatory and special damages;
10               2.    For injunctive relief; and
11               3.    For punitive and exemplary damages.
12   As to the Second Cause of Action for Fraud:
13               1.    For compensatory and special damages; and
14               2.    For punitive and exemplary damages.
15   As to the Third Cause of Action for Violation of
16   California Penal Code Section 496:
17               1.    For compensatory and special damages;
18               2.    For the trebling of those damages; and
19               3.    For Plaintiffs’ reasonable costs, including reasonable attorney’s fees.
20   As to the Fourth Cause of Action for Civil RICO – Victim Enterprise:
21               1.    For compensatory and special damages;
22               2.    For the trebling of those damages;
23               3.    For punitive and exemplary damages; and
24               4.    For Plaintiffs’ reasonable costs, including reasonable attorney’s fees.
25   As to the Fifth Cause of Action RICO Conspiracy –Victim Enterprise:
26               1.    For compensatory and special damages;
27               2.    For the trebling of those damages;
28               3.    For punitive and exemplary damages; and
                                                120
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 1               4.   For Plaintiffs’ reasonable costs, including reasonable attorney’s fees.
 2   As to the Sixth Cause of Action Civil RICO – Criminal Enterprise:
 3               1.   For compensatory and special damages;
 4               2.   For the trebling of those damages;
 5               3.   For punitive and exemplary damages; and
 6               4.   For Plaintiffs’ reasonable costs, including reasonable attorney’s fees.
 7   As to the Seventh Cause of Action for RICO Conspiracy – Criminal Enterprise:
 8               1.   For compensatory and special damages;
 9               2.   For the trebling of those damages;
10               3.   For punitive and exemplary damages; and
11               4.   For Plaintiffs’ reasonable costs, including reasonable attorney’s fees.
12   As to the Eighth Cause of Action for Interference with
13   Prospective Business Advantage:
14               1.   For compensatory and special damages; and
15               2.   For punitive and exemplary damages.
16   As to the Ninth Cause of Action for Violation of the UCL:
17               1.   For restitutionary disgorgement; and
18               2.   For injunctive relief.
19   As to the Tenth Cause of Action for Unjust Enrichment:
20               1.   To be compensated for the value of any and all benefits conferred by
21                    Plaintiffs that DONG YIN has unjustly received and retained.
22   //
23   //
24   //
25   //
26   //
27   //
28   //
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 1   For All Causes of Action:
 2               1.   For prejudgment interest at the maximum rate permitted by law;
 3               2.   For costs of suit; and
 4               3.   For such other and further relief as the Court may deem just and proper.
 5

 6
     Dated: July 9, 2018                       ISAACS | FRIEDBERG LLP

 7
                                           By: /s/ Jerome H. Friedberg
 8                                             JEFFREY B. ISAACS, ESQ.
 9                                             JEROME H. FRIEDBERG, ESQ.
                                               PAIGE SHEN, ESQ.
10                                             ROBERT GOOKIN, ESQ.
11                                             Attorneys for Plaintiffs STM Atlantic N.V.,
                                               STM Group, Inc., Emil Youssefzadeh and
12                                             Umar Javed
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 1                                  DEMAND FOR JURY TRIAL
 2               Plaintiffs STM Atlantic N.V, STM Group, Inc., Emil Youssefzadeh and
 3   Umar Javed hereby request a jury trial on all issues properly triable to a jury.
 4

 5   Dated: July 9, 2018                       ISAACS | FRIEDBERG LLP
 6

 7                                       By:    /s/ Jerome H. Friedberg
 8                                             JEFFREY B. ISAACS, ESQ.
                                               JEROME H. FRIEDBERG, ESQ.
 9                                             PAIGE SHEN, ESQ.
10                                             ROBERT GOOKIN, ESQ.

11                                             Attorneys for Plaintiffs STM Atlantic N.V.,
                                               STM Group, Inc., Emil Youssefzadeh and
12                                             Umar Javed

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